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                                             SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                           ~en n n-en nen nE LA CORTE)
                                         (CITACION JUDICIAL)                                                                      ii Wv
      NOTICE TO DEFENDANT:                                                                                                     A r~
      (AVISO AL DEMANDADO):                                                                                              :~>o.~ '~ :, ~
      THALES AVIONICS, INC., a Delaware corporation; THALES S.A., a public                                               ~~ ;~: o a
                                                                                                                         :,..,~.;..~~
      joint stoc company orgamze un er t e aws o      an TEAN-MARC
                                                     rce;                                                                  ~, o,d ;a ~•
      BUDIN, an individual; and DOES 1 through 20, inclusive,                                                            ~ r 4`~ ^'E
                                                                                                                         Z
      YOU ARE BEING SUED BY PLAINTIFF:                                                                                       , ~~
      (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                e~;p;"© '~~~
                                                                                                                         4         - 0 r_

       WAMAR INTERNATIONAL, LLC, a California limited liability                                                          -~en,   •:~I : _l7
       company,                                                                                                                         A7
       NOTICE! You have been sued. The court may decide against you without your being heard un!ess you respond within 30 days. Read the information
       below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fi!e a written response at this court and have a copy
                                                                                                                                                                   I
       served on the plaint!ff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
       case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
       On!ine Self-He!p Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the fi!ing fee, ask
       the court clerk for a fee waiver form. If you do not fi!e your response on time, you may !ose the case by defau!t, and your wages, money, and property
       may be taken without further warning from the court.
          There are other lega! requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attomey
       referral service. If you cannot afford an attorney, you may be eligib!e for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the Californ!a Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-He!p Center
       (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
       costs on any sett!ement or arbitration award of $10,000 or more in a civil case. The court's tien must be paid before the court wili dismiss the case.
       IAVISOI Lo han demandado. SI no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea fa infol7naci6n a
       continuaci6n.
         Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papefes legales para presentar una respuesta por escrito en esta
       corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
       en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
-.-    Puede encontrar estos formularios de la corte y mas fnformaci6n en el Centro de Ayuda de /as Cortes de California (www.sucorte.ca.gov), en la
       biblioteca de /eyes de su condado o en /a corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
       que le d6 un formulario de exencl6n de pago de cuotas.. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
       podra qultar su sueldo, dlnero y bienes sln mas advertencia.
         Nay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
       remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
       programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
       (www.lawhelpca!ifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
       colegio de abogados /ocales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
       cualqulerrecuperaci6n de $10,000 6 m6s de valorrecibida mediante un acuerdo o una concesf6n de arbitraje en un caso de derecho civil. Tiene que
       pagar e1 gravamen de la corte antes de que /a corte pueda desechar el caso.
      The name and address of the court is:                                                                    CASE NUMBER:
      (El nombre y direccibn de la corte es):                                                                  tNdmeno dei ca5°l:
                                                                                                                  30-2018-01031861-CU-BC-CXC
      Orange County Superior Court, Civil Complex Center
      751 West Santa Ana Blvd., Santa Ana, CA 92701
      The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
      (EI nombre, fa d1recci6n y el numero de telcfono del abogado del demandante, o del demandante que no tiene abogado, es :
      Joseph E. Thomas, Thomas Whitelaw & Kolegraff LLP, 18101 Von Karman Ave., Ste. 230, I rvine, CA 92612, (949~ 679-6400
      Arthur H. Barens, Law Offices of Arthur H. Barens, 10209 Santa Monica Blvd., Los Angeles, CA 90067, (310) 557-0444
      DATE:                                                                         Clerk, by                                      ,                         Deputy
      (Fecha) 11/08/18                    fl$vtd H. Yamasaki, caerkaf tfde Caurit   (Secretario)                               ~''Zt~~'                     (Adjunto)
      (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
      (Para prueba de entrega de esta citati6n use e/ formulario Proof of Service of Summons, (POS-090)).
                                        NOTICE TO THE PERSON SERVED: You are served .
       [SEAL]
                                       1. 0 as an individual defendant.
                                       2. 0 as the person sued under the fictitious name of (specify):
                                  y

                                          g, ® on behalf of (specify): THALES AVIONICS, INC., A DELAWARE CORPORATION

                                               under: ® CCP 416.10 (corporation)              0 CCP 416.60 (minor)
                      p ..                           ~ CCP 416.20 (defunct corporation)       ~ CCP 416.70 (conservatee)
                                                     0 CCP 416.40 (association or partnership) ~ CCP 416.90 (authorized person)
                                                    = other (specify):
                                          4. = by personal delivery on (date):
      Form Adopted for Mandalory Use                                                                                                Coda of Clvil Procedure §§ 412.20, 465
        Judlcial Council of California
                                                                               SUMMONS
                                                                                                                                                     www.courtinfo.ca.gov
       SUM-100 [Rev. July 1, 20091
I
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                                     SUPERIOR COURT OF CALIFORNIA
                                          COUNTY OF ORANGE

                             ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                    INFORMATION PACKAGE


    NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

    Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the
    ADR Information Package along with the complaint and/or cross-complaint.

                                      California Rules of Court — Rule 3.221
                             Information about Alternative Dispute Resolution (ADR)

    (a) Each court shall make available to the plaintiff, at the time of filing of the complaint,
    an ADR Information Package that includes, at a minimum, all of the following:

        (1) General .information about the potential advantages and disadvantages of ADR
        and descriptions of the principal ADR processes.

        (2) Information about the ADR programs available in that court, including citations to
        any applicable local court rules and directions for contacting any court staff
        responsible for providing parties with assistance regarding ADR.

        (3) Information about the availability of local dispute resolution programs funded
        under the Dispute Resolutions Program Act (DRPA), in counties that are
        participating in the DRPA. This information may take the form -of a list of the
        applicable programs or directions for contacting the county's DRPA coordinator.

        (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR
        process.

    (b) A court may make the ADR Information Package available on its website as long as
    paper copies are also made available in the clerk's office.

    (c) The plaintiff must serve a copy of the ADR Information Package on each defendant
    along with the complaint. Cross-complainants must serve a copy of the ADR
    Information Package on any new parties to the action along with the cross-complaint.




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                                   SUPERIOR COURT OF CALIFORNIA
                                        COUNTY OF ORANGE

                                                ADR Information
    Introduction.

    Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
    The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
    resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
    a trial. ADR can also give people more opportunity to determine when and how their dispute will be
    resolved.

    BENEFITS OF ADR.

    Using ADR may have a variety of benefits, depending on the type of ADR process used and the
    circumstances of the particular case. Some potential benefits of ADR are summarized below.

    Save Time. A dispute often can be settled or decided much sooner with ADR; often in a' matter of
    months;-even weeks, while bringing a lawsuit to trial can take a year or more.                        -

    Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
    they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses. .

    Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
    shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
    their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
    fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
    allow the parties to choose an expert in a particular field to decide the dispute.

    Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
    example, an experienced mediator can help the parties effectively communicate their needs and point of
    view to the other side. This can be an important advantage where the parties have a relationship to
    preserve.

    Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
    happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
    find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
    advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
    outcome.

    Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as
    problem-solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to
    produce happier clients and thus generate repeat business from clients and referrals of their friends and
    associates.

    DISADVANTAGES OF ADR.

    ADR may not be suitable for every dispute.

    Loss of protections. If ADR is binding, the parties normally give up most court protections, including a
    decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
    appellate court.

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        Less discovery. There generally is less opportunity to find out about the other side's case with ADR
        than with litigation. ADR may not be effective if it takes place before the parties have sufficient
        information to resolve the dispute.

        Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
        through ADR, the parties may have to put time and money into both ADR and a lawsuit.

        Effect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
        time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
        a dispute is in an ADR process.

        TYPES OF ADR IN CIVIL CASES.

        The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
        conferences.

        Arbitration. In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
        each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
        of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
-       means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
        Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that t_he
_       parties are free to request a trial if they do not accept the arbitrator's decision.

            Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
            want another person to decide the outcome of their dispute for them but would like to avoid the
            formality, time, and expense of a trial. It may also be appropriate for complex matters where the
            parties want a decision-maker who has training or experience in the subject matter of the dispute.

            Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
            their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
            arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
            evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
            more favorable result at trial than in arbitration, there may be penalties.

        Mediation. In mediation, an impartial person called a"mediator" helps the parties try to reach a mutually
        acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
        communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
        with the parties.

            Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
            parties have a relationship they want to preserve. So when family members, neighbors, or business
            partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
            emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
            them communicate with each other in an effective and nondestructive manner.

            Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
            parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
            parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
            the parties have a history of abuse or victimization.

        Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
        person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
        each party's evidence and arguments and about how the dispute could be resolved. The evaluator is


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    often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
    parties typically use it as a basis for trying to negotiate a resolution of the dispute.

        Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
        appropriate in cases in which there are technical issues that require special expertise to resolve or
        the only significant issue in the case is the amount of damages.

        Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
        appropriate when there are significant personal or emotional barriers to resolving the dispute.

    Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
    of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
    "settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
    not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
    case and in negotiating a settlement. Settlement conferences are appropriate in any case where
    settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
    for trial.

    ADDITIONAL INFORMATION.

    In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types      _
-   of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try    `
    a combination of ADR types. The important thing is to try, to find the type or types of ADR that are most
    likely to resolve your dispute.

    To locate a dispute resolution program or neutral in your community:
        •    Contact the California Department of ConsumerAffairs, Consumer Information Center, toll free, at
             1-800-852-5210
        •    Contact the Orange County Bar Association at (949) 440-6700
        •    Look in the telephone directories under "Arbitrators" or "Mediators"

    Low cost mediation services are provided under the Orange County Dispute Resolution Program Act
    (DRPA). For information regarding DRPA, contact:
        •    Waymakers (949) 250-4058

    For information on the Superior Court of California, County of Orange court ordered arbitration program,
    refer to Local Rule 360.

    The Orange County Superior Court ofFers programs for Civil Mediation and Early Neutral Evaluation
    (ENE). For the Civil Mediation program, mediators on the Court's panel have agreed to accept a fee of
    $300 for up to the first two hours of a mediation session. For the ENE program, members of the Court's
    panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
    information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
    programs is available on the Court's website at www.occourts.org.




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  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name & Address):                                               FOR COURTUSE ONLY




  Telephone No.:                                   Fax No. (Optional):
  E-Mail Address (Optional):
  ATTORNEY FOR (Name):                                       Bar No:
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
  JUSTICE CENTER:
  ❑ Central — 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
  ❑ Civil Complex Center — 751 W. Santa Ana Blvd., Santa Ana, CA 92701-4512
  ❑ Harbor — Newport Beach Facility — 4601 Jamboree Rd., Newport Beach, CA 92660-2595
  ❑ North —1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500

  PLAINTIFF/PETITIONER:
  DEFENDANT/RESPONDENT:
                                                                                               CASE NUMBER:
     ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


 Plaintiff(s)/Petitioner(s),



 and defendant(s)/respondent(s),                                                                                                        '



 agree to the following dispute resolution process:

 ❑    Mediation

 ❑    Arbitration (must specify code)
                    ❑ Under section 1141.11 of the Code of Civil Procedure
                    ❑ Under section 1280 of the Code of Civil Procedure

 ❑    Neutral Case Evaluation

 The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
 was referred, whichever is sooner.

 ❑ I have an Order on Court Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to
 provide pro bono services.

 ❑    The ADR Neutral Selection and Party List is attached to this Stipulation.

 We understand that there may be a charge for services provided by neutrals. We understand that participating in
 an ADR process does not extend the time periods specified in California Rules of Court, rule 3.720 et seq.


 Date:
                                  (SIGNATURE OF PLAINTIFF OR ATTORNEY)                  (SIGNATURE OF PLAINTIFF OR ATTORNEY)


 Date:
                                 (SIGNATURE OF DEFENDANT OR ATTORNEY)              (SIGNATURE OF DEFENDANT OR ATTORNEY)




                       ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
 Approved for Optional Use                                                                       Califomia Rules of Court, rule 3.221
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  ✓ Plaintiff must serve a copy of these Guidelines with the Summons and Cornplaint.




                                         GUIDELINES

                            ALL COMPLEX CIVIL DEPARTMENTS



    Welcome to the Complex Civil Litigation Program. Orange County Superior Court is
    one of six courts designated by the California Judicial Council as pilot project courts to
    handle solely complex civil litigation. These pilot courts were established to apply case
    management principles to improve the effective administration of justice by reducing the
    time and expense normally associated with the litigation of complex civil cases. It has
    been our experience that these principles make it easier to prepare these cases for trial
    by providing a more orderly framework for the pre-trial phase of the litigation.

    The result is a greater opportunity for early case resolution through mediation and
    settlement, and improving the way complex cases are tried by encouraging the use of
    technology.

    Counsel's familiarity with the applicable California Rules of Court ("Local Rules'], Local
    Rules — Superior Court of California, County of Orange, and these Guidelines is
    expected. The Guidelines should answer most procedural questions and assist you in
    feeling comfortable in our courtrooms.




                        COURTROOM DEMEANOR, CONDUCT AND ETIQUETTE

    Counsel are expected to adhere to the provisions of the California Attorney Guidelines
    of Civility and Professionalism. (State Bar of the State of California, adopted July 20,
    2007, attached to these Guidelines as Appendix 1.)
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    I. GENERAL MATTERS

         1. When issued by the court, the provisions of the Case Management Order in the
            particular action shall govern over these Guidelines. Procedural matters not
            provided for in these Guidelines or in a Case Management Order shall be
            governed by the pertinent provisions of the California statutes, the California
            Rules of Court, and the California Standards of Judicial Administration. The
            purpose of these Guidelines is to supplement but not contradict the, law
            governing civil procedure.

         2. The Superior Court of California, County of Orange has established a system
            for e-filing in accordance with Code of Civil Procedure §1010.6 and California
            Rules of Court, rule 2.250 et seq. AII papers filed in complex civil cases must
            be electronically filed unless a party has been specifically excused by the Court
            from the requirement, pursuant to the Local Rules — Superior Cou►t of
            California, County of Orange ("local rules"), rule 308. To register for the
            program         and     to    obtain     additional    information,    go     to:
            www.occourts.org/complexcivil/.

         3. Cross-complainants must serve a copy of these guidelines and give notice of
            any scheduled hearings and depositions at the time the cross-complaint is
            served.

         4. Information about filing requirements or fees is available on the court's Internet
            home page at: http://www.occourts.org, or by telephone at (657) 622-5314.
            The local rules are available on the court's public internet home page.

         5. Telephone appearances are conducted through CourtCall, pursuant to the
            provisions of California Rules of Court, Rule 3.670. Parties are encouraged to
            seek further information concerning guidelines and protocols from CourtCall at
            (310) 342-0888 or (888) 88-COURT.

    II. Initial Case Management Conference:

    The Initial Case Management Conference shall take place in conformance with the
    requirements set forth in California Rules of Court, rule 3.750. The Initial Case
    Management Conference is generally scheduled approximately 90 days after the action
    is filed. Plaintiff is required to give notice of this conference date to all other parties.
    Thereafter, Status Conferences shall be set in consultation with the Court, according to
    the needs of the parties.

    III. Case Management Conference and Status Conference Statements:

    The judges of the Civil Complex Center have determined that Judicial Council form CM-
    110, Civil Case Management Statement required by California Rules of Court, Rule
    3.725(c) for some civil cases, is inadequate to provide the judges the information they
    need when determining how a particular complex case should be managed. Form CM-
    110 should not be used in any action designated or provisionally designated as
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    complex. Instead, the parties shall file with the court either a Case Management
    Conference Statement or a Status Conference Statement as described below.

    Counsel must file an updated Conference Statement for each Case Management or
    Status Conference. The Conference Statement is due no later than 5 court days prior
    to the hearing.

    A Status Conference Statement may be filed as an alternative to the Case Management
    Conference Statement when appropriate. A Status Conference Statement is generally
    less detailed than a Case Management Conference Statement and is to be used to
    advise the court of progress or developments in the case which have occurred since the
    last review hearing.

    A joint statement of the parties is preferred by the court whenever possible.

    IV. CASE MANAGEMENT ORDERS:

    Case Management Orders are not required in all cases, but they may be helpful in
    cases where the sequencing and timing of key events is necessary in the management
    of the litigation and preparation of the case for trial. However, even if a Case
    Management Order is not necessary in a particular case, all complex cases must be
    managed by counsel, or the court, orboth.

    The goal of case management is to bring about a just resolution as speedily and
    economically as possible. To be effective, case management should be tailored to the
    needs of the particular litigation and to the resources available; make-work activity
    should be avoided. The parties or the court should develop and monitor an effective
    plan for the orderly conduct of pretrial and trial proceedings. A case management plan
    should prescribe a series of procedural steps, with firm dates, giving direction and order
    to the case as it progresses through pretrial proceedings to summary disposition or trial.
    The setting of interim time limits and deadlines is often a necessary part of an effective
    case management plan.

    V. LAW AND MOTION:

            Meet and Confer: This court adopts the view that pre-filing conferences
            between counsel may be useful in avoiding useless or unnecessary motions.
            Therefore, prior to the hearing of any motion, petition or application, ezcept
            applications to appear pro hac vice and motions to withdraw as counsel of
            record, all counsel and parties appearing in propria persona shall confer in a
            good faith attempt to eliminate the necessity of the hearing or resolve as many
            disputes as possible.

            Counsel for the moving party shall arrange the conference to meet and confer
            and, at least 3 calendar days before the hearing, file with the court a statement
            entitled "Meet and Confer," summarizing the issues remaining in dispute and
            the respective positions taken.
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          2. Tentative Rulings: Members of the Complex Civil Panel may publish tentative
             law and motion rulings by any system described in Local Rule 382.

          3. OfF Calendars and Continuances: In order to promote judicial economy and
             avoid wasting court resources, counsel for moving parties must notify the
             courtroom clerk as soon as possible if any matter will be taken off calendar.
             Stipulations between the parties to continue a matter must be approved by the
             court.

     VI. Ex PARTE APPLICATIONS:

          1. The court's consideration of an ex parte application will not interFere with or
             delay any trial in progress. The moving party is expected to adhere to the
             provisions of California Rules of Court, Rule 3.1200 — 3.1207. AII papers
             necessary to the determination of the application, including any proposed
             pleading, motion or order, must be submitted with the ex parte application.
             Counsel should contact the courtroom clerk to verify any specific deadlines for
             the submission of moving papers or other preferences applicable to that
             department. Counsel may also contact the courtroom clerk to inquire if oral
     _-      argument will be permitted, or if the court.will rule based on the application and
             any written opposition.

          2. The application shall include a declaration of Notice of Ex Parte Hearing and a
             proposed order; and shall state in the notice the irreparable harm, immediate
             danger or other basis for ex parte relief that will result if the requested relief is
             not granted until a regularfy noticed motion may be heard.

     VII. MANDATORY SETTLEMENT CONFERENCES ("MSC'S"):

     Compliance with Local Rule 316 is required.

     AII of the judges at the Civil Complex Center are willing to help another judge in the
     settlement of a complex case depending upon the judge's available calendar. If the
     parties agree to have a mandatory settlement conference conducted by a judge other
     than the assigned judge, the parties should first determine the other judge's availability
     before asking the assigned judge to order the settlement conference. However, it is not
     presumed that the judge to whom a case is assigned should not conduct the mandatory
     settlement conferences in his or her cases. If a party objects to the trial judge's
     participation in the MSC, the party must advise the judge or the courtroom clerk of its
     objection prior to the setting of the MSC. Counsel are advised to check with the court to
     determine its preference in this regard.

     VIII. Pre-trial Conferences

          1. A Pre-trial Conference may be scheduled 30-90 days before trial for the
             purpose of determining the readiness of the parties and      resolving procedural
             issues concerning the trial. The goal of the Pre-trial Conference is to make the
             trial proceed as predictably and smoothly as possible.             The Pre-trial
Case 8:18-cv-02217-DOC-KES Document 1-1 Filed 12/13/18 Page 11 of 100 Page ID #:16


            Conference is not a substitute for the Issues Conference required by
            Local Rule 317.


         2. At the Pre-trial Conference, counsel should be prepared to state whether his or
            her client will be using the electronic presentation of evidence at the trial. Using
            electronic equipment to present evidence at trial requires preparation,
            organization and cooperation by the parties. The court expects that the parties
            will work together in devising a protocol for the pre-marking of exhibits by using
            prefixes or a super-numeration system to designate the proponent of the
            evidence. Where there are multiple pages to a single exhibit, each page should
            be bates-stamped. Counsel should contact the courtroom clerk to determine if
            the trial judge has a specific preference for how exhibits should be marked.

         3. In a case where it is reasonable to presume voluminous documents will be
            produced during discovery, counsel are urged to agree upon a protocol for the
            pre-marking of exhibits at the earliest time possible, preferably before the
            initiation of discovery and delivery to a document depository. It is less
          _- expensive to mark and index voluminous doc_uments as they are d_eposited
          _ than when it is done on the eve of trial.

         4. Counsel are required to cooperate throughout the trial so that one party's
            electronic exhibits are available to the other" side to display during cross-
            examination.

         5. The electronic version of documents, photographs, charts or other
            demonstrative evidence may be substituted for the actual exhibit at trial upon
            the stipulation of the parties and order of the court.- This guideline is not meant
            to alter the rules of discovery or the obligation of a party to make available the
            original of a document for inspection by another party through discovery or at
            the Issues Conference.

         6. Physical exhibits and documents are not required to be presented in a
            digitalized format. However, evidence which has not been presented in
            electronic form customarily will be ordered by the court returned at the end of
            the appeal period to the party which offered it. Before trial commences, counsel
            will be asked to sign a stipulation for the return and maintenance of the exhibits.
            Plaintiffwill maintain joint exhibits unless the court orders otherwise.

     IX. Use of the Court's Evidence Presentation Systems

            On-Site Electronic Evidence Presentation Systems: Every courtroom has
            the capability of being equipped with court-based evidence presentation
            systems for use by the parties. Counsel are strongly encouraged to take
            advantage of the benefits of the electronic presentation of evidence when in
            trial at the Civil Complex Center to enhance the orderly and effective
            presentation of evidence, reduce concerns about the custody and security of
            exhibits, and reduce the work and expense associated with the tagging, storing
            and transporting of exhibits. In an appropriate case, the court may require the
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             use of an electronic evidence presentation system. Electronic evidence
             presentation systems must be compatible with the court's infrastructure (video
             distribution amplifier, wiring, conduit, floor receptacles and connectors).

          2. Electronic Evidence Standard Format: Counsel presenting evidence that is
             exclusively electronic in form must present the evidence in PDF file format and
             stored on CD-R. Whenever evidence is presented electronically, the physical
             custody of exhibits by the clerk is replaced by the electronic record of the
             exhibits. Evidence must be in sequential order with the exception of JPEG and
             MPEG files which shall be stored on separate discs. Counsel may also prepare
             electronic evidence using alternate non-proprietary formats subject to the
             approval of the court. The compact discs (CDs) must be labeled as follows:

             Case #
             Case Name
             Exhibits       to
             (Original or Backup copy)

             The''courtroom
                .._-        clerk will maintain
                                        ---- -  an updated exhibit
                                                              _._._ . list. When evidence__.is
             electronically presented at_.. the trial, the court may require counsel to
             periodically submit to the clerk an up-to-date CD containing exhibits received
             into evidence.

             It is counsels' responsibility to identify and track redactions, modifications, and
             substitution of exhibits. Counsel are expected to be prepared to submit an up-
             to-date evidence CD with all redactions, modifications, and substitutions, as
             well as impeachment documents used, upon the courtroom clerk's request.

             Impeachment exhibits are not pre-marked. However, counsel are responsible
             for having the document electronically recorded upon being offered into
             evidence (exhibit numbers may be reserved for this purpose).

             If the jury will be provided the evidence in- electronic format for its deliberation,
             the parties are required to meet and confer and submit the final joint exhibit list
             containing only those exhibits received into evidence. The CD used by the
             jurors must include the joint exhibit list and the electronically stored exhibits
             which have been entered into evidence. Submission of the joint evidence CD
             also serves as a stipulation that all exhibits presented in electronic form to the
             jury are complete and correct. Any disagreement must be brought to the
             attention of the court at the earliest reasonable time. Counsel must lodge two
             (2) evidence CDs of all exhibits received into evidence.

     X. TRIALS - MOTIONS IN LIMINE
     Counsel should attempt to resolve evidentiary disputes at the Local Rule 317 Issues
     Conference before resorting to filing a motion in limine. It is frequently more productive
     of court time, and the client's money for counsel to informally address at the Issues
     Conference the issues which could be raised in motions in limine and, instead of a
     motion, present a stipulation to the court on uncontested issues. Matters of day-to-day
                                                  6
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     trial logistics and common professional courtesy should not be the subject of motions in
     limine. These are matters of common professional courtesy that should be accorded
     counsel in all trials. See, Kelly v. New West Federal Savings (1996) 49 Cal.App.4tn
     659,671.



                                                                     APPENDIX 1
                                  California Attorney Guidelines of Civility and Professionalism
                                                         (Abbreviated, adopted July 20, 2007)


     INTRODUCTION. As officers of the court with responsibilities to the administration of justice, attomeys have an obligation to be professional
     with clients, other parties and counsel, the courts and the public. This obligation includes civility, professional integrity, personal dignity,
     candor, diligence, respect, courtesy, and cooperation, all of which are essential to the fair administration of justice and conflict resolution.

     These are guidelines for civility. The Guidelines are offered because civility in the practice of Law promotes both the effectiveness and the
     enjoyment of the practice and economical client representation. The legal profession must strive for the highest standards of attomey behavior
     to elevate and enhance our service to justice. Uncivil or unprofessional conduct not only disserves the individual involved, it demeans the
     profession as a whole and our system ofjustice.

     These voluntary Guidelines foster a level of civility and professionalism that exceed the minimum requirements of the mandated Rules of
     Professional Conduct as the best practices of civility in the practice of law in Califomia. The Guidelines are not intended to supplant these or
     any other rules or laws that govem attorney conduct. Since the Guidelines are not mandatory mles of professional conduct, nor mles of practice,
     nor standards of care, they are not to be used as an independent basis for disciplinary charges by the State. Bar or claims of professional
     negligence.

     The Guidelines are intended to complement codes of professionalism adopted by bar associations in California. Individual attomeys are
     encouraged to make these guidelines their personal standards by taking the pledge that appears at the end. The Guidelines can be applicable to
     all lawyers regardless of practice area. Attomeys are encouraged to comply with both the spirit and letter of these guidelines, recognizing that
     complying with these guidelines does not in any way denigrate the attomey's duty of zealous representation.



     SECTION 1. The dignity, decomm and courtesy that have traditionally characterized the courts and legal profession of civilized nations are not
     empty formalities. They are essential to an atmosphere that promotes justice and to an attomey's responsibility for the fair and impartial
     administration of justice.

     SECTION 2. An attomey should be mindful that, as individual circumstances permit, the goals of the profession include improving the
     administration of justice and contributing time to persons and organizations that cannot afford legal assistance.

     An attomey should encourage new members of the bar to adopt these guidelines of civility and professionalism and mentor them in applying
     the guidelines.

     SECTION 3. An attomey should treat clients with courtesy and respect, and represent them in a civil and professional manner. An attomey
     should advise current and potential clients that it is not acceptable for an attomey to engage in abusive behavior or other conduct unbecoming
     a member of the bar and an officer of the court.

     As an officer of the court, an attomey should not allow clients to prevail upon the attomey to engage in uncivil behavior.

     An attomey should not compromise the guidelines of civility and professionalism to achieve an advantage.

     SECTION 4. An attomey's communications about the legal system should at all times reflect civility, professional integrity, personal dignity,
     and respect for the legal system. An attomey should not engage in conduct that is unbecoming a member of the Bar and an officer of the court.

     Nothing above shall be construed as discouraging the reporting of conduct that fails to comply with the Rules of Professional Conduct.

     SECTION 5. An attomey should be punctual in appearing at trials, hearings, meetings, depositions and other scheduled appearances.

     SECTION 6. An attomey should advise clients that civility and courtesy in scheduling meetings, hearings and discovery are expected as
     professional conduct.

     In considering requests for an extension of time, an attomey should consider the client's interests and need to promptly resolve matters, the
     schedules and willingness of others to grant reciprocal extensions, the time needed for a task, and other relevant factors.

     Consistent with existing law and court orders, an attomey should agree to reasonable requests for extensions of time that are not adverse
     to a client's interests.
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     SECTTON 7. The timing and manner of service of papers should not be used to the disadvantage of the party receiving the papers.

     SECTION 8. Written materials directed to counsel, third parties or a court should be factual and concise and focused on the issue to be decided.




                                                                            8
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     SECTION 9. Attorneys are encouraged to meet and confer early in order to explore voluntary disclosure, which includes identification of issues,
     identification of persons with knowledge of such issues, and exchange of documents.

     Attomeys are encouraged to propound and respond to formal discovery in a manner designed to fully implement the purposes of the
     Califomia Discovery Act.                              '

     An attomey should not use discovery to harass an opposing counsel, parties or witnesses. An attomey should not use discovery to delay the
     resolution of a dispute.

     SECTION 10. An attomey should consider whether, before filing or pursuing a motion, to contact opposing counsel to attempt to informally
     resolve or limit the dispute.

     SECTION 11. It is important to promote high regard for the profession and the legal system among those who are neither attomeys nor litigants.
     An attomey's conduct in dealings with nonparty witnesses should exhibit the highest standards of civility.

     SECTION 12. In a social setting or otherwise, an attomey should not communicate ex parte with a judicial officer on the substance of a case
     pending before the court, unless permitted by law.

     SECTION 13. An attomey should raise and explore with the client and, if the client consents, with opposing counsel, the possibility of settlement
     and alternative dispute resolution in every case as soon possible and, when appropriate, during the course of litigation.

     SECTION 14. To promote a positive image of the profession, an attomey should always act respectfully and with dignity in court and assist the
     court in proper handling of a case.

     SECTION 15. An attomey should not take the default of an opposing party known to be represented by counsel without giving the party advance
     waming.

     SECTION 16. An attomey should avoid even the appearance of bias by notifying opposing counselor an unrepresented opposing party of any
     close, personal relationships between the attomey and a judicial officer, arbitrator, mediator or court-appointed expert and allowing a reasonable
     opportunity to object.                             _

     SECTION 17. An attomey should respect the privacy rights of parties and non-parties.

     SECTION 18. An attomey should negotiate and conclude written agreements in a cooperative manner and with informed authority of the client.

     In addition to other applicable Sections of these Guidelines, attomeys engaged in a transactional practice have unique responsibilities because
     much of the practice is conducted without judicial supervision.

     SECTION 19. In addition to other applicable Sections of these Guidelines, in family law proceedings an attomey should seek to reduce emotional
     tension and trauma and encourage the parties and attomeys to interact in a cooperative atmosphere, and keep the best interests of the children in
     mind.

     SECTION 20. In addition to other applicable Sections of these Guidelines, criminal law practitioners have unique responsibilities. Prosecutors are
     charged with seeking justice, while defenders must zealously represent their clients even in the face of seemingly overwhelming evidence of
     guilt. In practicing criminal law, an attomey should appreciate these roles.

     SECTION 21. Judges are encouraged to become familiar with these Guidelines and to support and promote them where appropriate in court
     proceedings.



     ATTORNEY'S PLEDGE. I commit to these Guidelines of Civility and Professionalism and will be guided by a sense of integrity, cooperation
     and fair play.

     I will abstain from rude, dismptive, disrespectful, and abusive behavior, and will act with dignity, decency, courtesy, and candor with opposing
     counsel, the courts and the public.

     As part of my responsibility for the fair administration of justice, I will inform my clients of this commitment and, in an effort to help promote the
     responsible practice of law, I will encourage other attomeys to observe these Guidelines.




                                                                                                                                     (Rev. May 4, 2010)
Case 8:18-cv-02217-DOC-KES Document 1-1 Filed 12/13/18 Page 16 of 100 Page ID #:21


 ATTORNEY OR PARTY wITHOUT ATTORNEY Name State 8arnumtre~ and address):                                                           FOR COURT USE ONLY
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   Thoinas Whitelaw & Kolegraff LLP
   18101 Von Karman Avenue, Suite 230, Irvine, C:A 92612                                                      E LE              kO M1 I~LL'Y FI L`E D. ~
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE                                                                   C I e,rk rsf tFi e 5 u p e r.'i o r C~ t~ rf`•
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      MAILING ADDRESS:
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       BRANCH NAME: Civ1I COTllpIeX Center
  CASE NAME:
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     (Amount           (Amount                                                                            JUDGE: j u dge                       G I e n d a 5 arl d e rs
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     exceeds $25,000)  $25,000 or less)                       • (Cal. Rules of Court, ruie 3.402)           DEPT:

                                            ltems 9-6 below must be cotnpteted (see instructions on page 2).
1. Check one box beiow for the case type that best describes this case:
   Auto Tort                                   Contract.                                           Provisionally Complex Civil Litigation
   ~ Auto (22)                                 0'Breach     of contract/warranty (06)              (Cal. Rules of Court, rufes 3:400-3.403)
   0 Uninsured mototist (46)                   F-1.Rule 3.740 coliections (09)                     0 Anfitrustlrrade regulation (03)
    Other PUPDIWD (Personai InjurylProperty                0 Other. coliections {09)               ~ Construction defect (10)
    DamagetWrongful Death) Tort                            0 Insurance coverage (18)               0 Mass tort (40).
    ~ Asbestos (04)                                        0 Other contract {37)                   ~ Securities litigation (28)
    ~ Product liabifity (24)                               Reai Property                           ~ EnvironmentaUToxic tort (30),
    0 Medicai malpractice (45)                             Q Eminent domain/inverse                ~ Instirance coverage ciaims arising from the
    Q Other PI/PD/WD (23)                                        c.ondemnation (14)                    above listed provisionally complex case
                                                           ~ Wrongful eviction (33)                    types (41)
    Non-PI/PDM1D (Other) Tort
    ~ Business tort/unfair business practice (07)          ~ Other reai property (26)              Enforcement of Judgment
    ~ Civil rights (08)                                    Uniawfui Detainer                       = Enforcement ofjudgment (20)
    ~ Defamation (13)                                      ~ Commercia[ (31)                       Miscellaneous Civil Complaint
    ~ Fraud (16)                                           0 Residential (32)                      ~ RICO (27)
    ~ Intellectual property (19)                           0 Drugs (38)                            ~ Other complaint (not specified above) (42)
    0. Professional negligence (25).                       Judicial Revlew                         Miscellaneous Civil Petition
    0 Other non-PIIPDIWD tort (35)                         ~ Asset forfeiture (05)                 ~ Partnership and corporate governance (21.)
    Employment                                             ~ Petition re: arbitration award (11)   ~ Other petition (nat specified above) (43)
    Q Wrongful termination (36)                            0 VVrit of mandate (02)
    n Other emlovment 1151                                 n Other iudicial reviewY391
2. This case ULI is                   I—I is. not    complex under ruie 3.400 of the California Rules of Court. If the case is compiex, mark the
     factors requiring exceptional judicial management:
        ✓ Large number of separately represented paities
     a. ~                                                                    d. ~✓Large number of witnesses
        ✓ Extensive motion practice raising difficuit or novei e• E::] Coordination with reiated actions pending in one or more courts
     b. 0
          issues that wiil be time-consuming to resoive                 in other counties, states, or countries, or in a federal court
     c, ✓0 Substantial arriount of documentary evidence                      f. ✓
                                                                                ~ Substantial postjudgmentjudicial superVision

3. Rernedies sought (check a11 that appty): a.EZI monetary b.✓~ nonmonetary; deciaratory or injunctive retief c. 0 punitive
4. Number of causes of action (specify): 14 (see Attachment No. 4).
5. This case F7 is                    F-71 is not a ciass action suit.
6. If there are any known reiated cases, ffie and serve a notice of reiated cas~:,(You mayuse fArm CM-015.)
 Date:. November 8, 2018
loseph E. Thomas
                                  fTYPE OR PRINT


  • Plaintiff must fiie this cover sheet with the first paper fiied in the action 6r-proceeding (except smail ciaims cases or cases fiied
    under the Probate Code, Family Code, or Welfare and Institutions Code). (.Cal. Rules of Court, ruie 3.220.) Failure to fiie may resuit
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by locai court ruie.
  • If this: case is compiex under ruie 3.400 et seq, of the California Rules of Court,, yo.0 must serve a copy of this cover sheet.on ail
     other parties to the action or proceeding.
  • .Uniess this is a colle,ctions case under ruie 3.740 or a compiex case, this cover sheet.wiil be used for statistieai purposes onl~(.
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Form Adopted for Mandatory Usa                              CIVtL CASE CQVER SHEET                             Cal. Rutes of Court, rules 2.30, 3.220, 3:400-8.403, 3.740;
  Judicial Council of Califomia                                                                                         Cal. Standards of Judlcial Administralion, std. 3.10
  CM-010 [Rev. July 1, 20071                                                                                                                         www.courfinfo:ca.gov
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    Case 8:18-cv-02217-DOC-KES Document 1-1 Filed 12/13/18 Page 17 of 100 Page ID #:22


                                                                                                                                           MC-025
           SHORT TITLE:                                                                                 CASE NUMeER:


                Wamar International, LLC v. Thales Avionics, Inc., et al.
                                                                    ATTACHMENT (IUumber):       4
                                                 (This Attachment may be used with any Judicial Council form.)
          4. Number of causes of action (specify):

        1. Breach of Contract;
        2. Intentional Misrepresentation;
        3. Negligent Misrepresentation;
        4. Intentional Misrepresentation;
        5. Breach of Implied Covenant;
        6. Restitution/Unjust Enrichment;
        7. Intentional Interference with Contractual Relations;
        8. Intentional Interference with Prospective Economic Relations;
        9. Conspiracy to Commit Fraud;
        10.Aiding and Abetting Intentional Misrepresentation;
        11.Aiding and Abetting Breach of Implied Covenant; and
        12.Quantum Meruit;
      - 13. RICO
        14. Declaratory Relief                                 :




          (If the item that this Attachment concerns is made under penalty of perjury, all statements in this           Page    1     of       1
          Attachment are made under penalty of perjury.)
                                                                                                                       (Add pages as required)
          Fomt Approved for Opllonal Use                                                                                         www.courtinfo.ca.gov
            Judlclal Council of Califomla                         . ATTACHMENT
            MC-025 [Rev. July 1, 20091                           to Judicial Council Form
Case 8:18-cv-02217-DOC-KES Document 1-1 Filed 12/13/18 Page 18 of 100 Page ID #:23

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      10
               Attorneys for Plaintiff WAMAR              =
     -11 INTERNATIONAL, LLC

      12                         SUPERIOR COURT OF THE STATE OF CALIFORNIA .

      13                         COUNTY OF ORANGE, CENTRAL JUSTICE CENTER
                                                              CASE NO. 30-2018-01 031861-CI1-BC-CXC
      14       WAMAR INTERNATIONAL, LLC, a
               California limited liability company,          COMPLAINT FOR'           Jud9e Glenda SaMders
           I


      15                                                      (1) BREACH OF CONTRACT;
                              Plaintiff,                      (2) INTENTIONAL
      16                                                           MISREPRESENTATION;
                        vs.                                   (3) NEGLIGENT
      17                                                           MISREPRESENTATION;
         THALES AVIONICS, INC., a Delaware                    (4) INTENTIONAL
      18 corporation; THALES S.A., a public joint                  MISREPRESENTATION;
         stock company organized under the laws of            (5) BREACH OF IMPLIED COVENANT;
      19 France; JEAN-MARC BUDIN, an individual;              (6) RESTITUTION/UNJUST
         and DOES 1 through 20, inclusive,                         ENRICHMENT;
      20                                                      (7) INTENTIONAL INTERFERENCE
                              Defendants.                          WITH CONTRACTUAL
      21                                                           RELATIONS;
                                                              (8) INTENTIONAL INTERFERENCE
      22                                                           WITH PROSPECTIVE ECONOMIC
                                                                   RELATIONS;
      23                                                      (9) CONSPIRACY TO COMMIT FRAUD;
                                                              (10) AIDING AND ABETTING
      24                                                           INTENTIONAL
                                                                   MISREPRESENTATION;
      25                                                      (11) AIDING AND ABETTING BREACH
                                                                   OF IMPLIED COVENANT;
      26                                                      (12) QUANTUM MERUIT;
                                                              (13) RICO
      27                                                      (14) DECLARATORY RELIEF

      28                                                      DEMAND FOR JURY TRLAL

               193117                                                                                          CX-101
                                                       COIVIPLAINT
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     ~1             Plaintiff WAMAR INTERNATIONAL LLC hereby alleges, on knowledge as to itself, but
       2 I otherwise on information and belief, as follows:

       3                                              I. PARTIES

       4            1.    Plaintiff WAMAR INTERNATIONAL LLC (hereinafter referred to as "Wamar")

       5   is a California limited liability company, having its registered office in Simi Valley, CA, and is

       6   duly qualified to conduct business in the State of California.

       7            2.    The President and Chief Executive Officer of Wamar is a United States citizen and

       8 I is the majority owner of Wamar's ultimate parent company.

       9            3.    Wamar and its principal have extensive experience, practice and expertise in the

      10 aviation business worldwide.

      11            4.    Defendant THALES AVIONICS, INC. (hereinafter referred to as "Thales

      12 Avionics") is a corporation organized and existing under the laws of the state of Delaware, having

      13 its principal place of business in Irvine, California.
      14            5.    Upon information and belief, Thales Avionics specializes in the supply, delivery,

      15 installation and maintenance of in-flight entertainment systems (hereinafter collectivelyreferred to

      16 as "IFE systems") for large commercial airlines on a global basis. IFE systems provide airline

      17 passengers with the ability to watch movies/TV on seat-back screens, listen to music, access Wi-Fi

      18 and more. Typically an airline operator will select a provider for the installation of IFE system

      19 onto newly purchased aircraft, and at a later time add connectivity and other technologies to the

      20 system. The connectivity technology adds features such as passenger internet access. The IFE

      21 systems and the connectivity technology may be provided by the same company or by different

      22 companies.

      23            6.    Defendant THALES S.A. (hereinafter referred to as "Thales S.A.") is a public joint

      24 stock company organized and existing under the international laws of France.
      25            7.    Upon information and belief, Thales S.A. is the parent company of Thales

      26 Avionics, with Thales Avionics being a wholly-owned subsidiary of Thales S.A. Thales S.A. is .
      27 25.8% owned by the government of France.
      28            8.    Upon information and belief, Thales S.A. is also the parent company of The Thales
           193117                                             1
                                                        COIvIPLAINT
Case 8:18-cv-02217-DOC-KES Document 1-1 Filed 12/13/18 Page 20 of 100 Page ID #:25




       1 Group of companies, a$19 billion dollar per year enterprise with operations in 56 countries.
       2            9.     Thales Group is a worldwide group of companies that have roles in aerospace,
       3 transport, defense, and security domains.
       4            10.    Thales International Middle East & Western Asia SAL (hereinafter referred to as
       5 "Thales SAL"), is a company organized and existing under the laws of Lebanon, recorded at the

       6 Beirut Commercial Register - Offshore companies special register number 1805913 - having its

       7 registered office located in- Beirut, Lebanon.

       8            11.    Thales SAL operates within the Thales Group in the Middle East.

       9            12.    Thales International Western Countries B.V. (hereinafter referred to as "Thint

      10 WECO") is a company organized and existing under the Law of The Netherlands, having its

      11 registered address in Luchthaven Schiphol, The Netherlands.

      12            13.    Thint WECO operates within the Thales Group in Western European and Middle
      13 East countries.

      14            14.    Thales AMEWA FZE (hereinafter referred to as "Thales AMEWA") is a company

      15 organized and existing under the laws of The United Arab Emirates, having its registered address

      16 in the Dubai Airport Free Zone, United Arab Emirates (hereinafter referred to as "U.A.E.")

      17            15.    Thales AMEWA operates within the Thales Group in Africa, the Middle East and

      18 Western Asia.

      19            16.    In some cases, various Thales Group entities or personnel acted in concert to

      20 benefit not only Thales Avionics or Thales S.A. specifically, but the Thales Group generally, such

      21 that it is impossible to limit the Thales Group personnel or the Thales Group beneficiaries to a

      22 single Thales Group company. This Complaint simply refers to "Thales" in such generalized

      23 instances.
      24            17.    Defendant JEAN-MARC BUDIN ("Budin") is an individual.
      25            18.    Upon information and belief Budin is Thales S.A.'s Senior Vice President - Middle
      26 East, Africa & India. Budin was in frequent communication with Wamar senior management
      27 throughout the time period covered by this complaint, giving direction to Wamar and receiving
      28 updates from Wamar.
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       1             19. TABA GENERAL TRADING & INVESTMENT COMPANY LLC (hereinafter
       2 referred to as "TABA") is a limited liability company, an American-owned business, with a U.S.

       3 taxpayer identification number, organized and existing under the Law of Jordan, having its
       4 registered office in Amman, Jordan.

       5             20.   TABA operates within the Wamar Group in the Middle East.

       6             21.   TABA's Chief Executive Officer is the sole owner of TABA.

       7             22.   TABA and its principal have extensive experience, practice and expertise in the

       8 I aviation business worldwide.

       9             23.   Wamar is ignorant of the true names and a capacity of defendants sued herein as

      10 DOES 1 through 20, inclusive, and therefore sues these defendants by such fictitious names.

      11 Wamar will amend this Complaint to allege their true names and capacities when ascertained. _

      12             24.   On information and belief, Wamar alleges that all defendants are, in some manner,

      13 partially or equally responsible for the acts and omissions alleged in this Complaint that caused
      14 Wamar's injuries and damages.

      15             25.   On information and belief, Wamar alleges that at all times each defendant was the

      16 I alter ego, joint venturer, agent, servant, employee, partner, or surety of the other defendants and

      17 was acting within the scope of such venture, agency, employment, partnership, or suretyship, with

      18 the knowledge, consent, or ratification of each of the other defendants in doing the things alleged

      19 in this Complaint.

      20                                   II. VENUE AND JURISDICTION

      21             26.   Venue is proper in this Court under California Code of Civil Procedure § 395 et

      22 seq. because the contracts which are the subject of this complaint were made in Orange County,

      23 California, and Wamar's and Thales Avionics' principal places of business are in Orange County,
      24 I California.
      25             27.   This Court has jurisdiction over Thales S.A. because the contracts which are the

      26 subject of this complaint were made in Orange County, California and Thales S.A. subjected itself
      27 to this Court's jurisdiction when it made material false representations to Wamar in Orange
      28 I County, California and conspired with Thales Avionics to commit fraud against Wamar.

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       1            28.   This Court has jurisdiction over Budin because he subjected himself to this Court's

       2 I jurisdiction when he made material false representations to Wamar in Orange County, California

       3 I and conspired with Thales Avionics and Thales S.A. to commit fraud against Wamar.

       4                                    III. FACTUAL BACKGROUND

       5 I Introductory Statement

       6            29.   For at least 7 years Thales violated its own internal compliance rules, and possibly

       7 I even US and French compliance regulations and laws. It did so for money. Lots of money. But

       8   suddenly, at the end of 2017, Thales got spooked by its mounting compliance violations, and

       9 began trying to re-write the facts to avoid the severe consequences for its actions. First, it forced

      10 its long-time senior compliance officer out of Thales, paying him an enormous "golden parachute"
           to have him quietly leave the company. Then, Thales engaged in a desperate conspiracy to cover-

      12 up its malfeasance at the expense of Wamar and Taba. But Thales cannot so easily wipe the slate

      13 clean. It is indisputable that Thales directed Taba (owned by Wamar senior management) to act as

      14 a business consultant to obtain airline contracts worth billions, and agreed to pay Taba a fee for its
      15 successes. And it is also indisputable that Thales directed Wamar (also owned by Wamar senior

      16 management) to act as an in-country Key Industrial Partner (KIP), and agreed to pay Wamar a fee

      17 for its successes. Thales directed Taba and Wamar to work on the same projects, knowing full well

      18 that its internal compliance rules, and possibly U.S. and French laws, forbid using Wamar senior

      19 managelrient in both capacities.

      20            30.   Defendant Jean-Marc Budin is central to both (1) directing the compliance

      21 violations, and (2) managing the cover-up. It was Mr. Budin that orchestrated the efforts to entice

      22
           both Wamar and Taba to work for Thales on the same projects. As a key executive of Thales, he
      23
           would have been fully aware that he was violating internal Thales compliance rules, and possibly
      24
           U.S. and French laws, by directing Wamar senior management to act both as a business consultant
      25
           and a KIP for the same project. But he did so because he knew that Wamar and Taba could
      26
      27 deliver billions in value to Thales, which they did. Mr. Budin's violations not only put him at risk
      28 of discipline within Thales, but Mr. Budin's actions may put Thales in the crosshairs of French
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      1 I and US compliance regulators, and expose Thales to governmental sanctions, and fines, a press

      2 disaster, and a resulting loss of significant business. With this level of risk, Mr. Budin is now in

       31
            full cover-up mode.
       4
                      31.   Prior to engaging Wamar, Thales, despite its intricate web of worldwide operating
       5
            companies, was incapable of establishing any meaningful IFE systems business in the Middle East
       6
            region. In fact, its competitor Panasonic had the Middle Eastern IFE systems business secured,
       7
            leaving Thales powerless to gain any foothold in the lucrative Middle East IFE systems market.
       8
            On the rare occasion when Thales managed to win an IFE systems contract, they were nafve and
       9
            ineffective in performing, which resulted in inevitably losing the business. Thales was a total
      10
            mess in the Middle East.
      11
                      32.   Wamar's principal is a U.S. citizen of Jordanian descent who has conducted
      12
            substantial business in the Middle East for over 40 years. Wamar's senior management is known
      13
            for having developed substantial personal relationships within the aviation industry in general
      14
            throughout the world, and in the Middle East in particular, as well as with significant national
      15
            leaders worldwide.
      16
                      33.   Thales and Budin were fully aware of Wamar senior management's expertise in the
      17
            airline/aviation business, and aggressively sought them out to bolster and promote the Thales IFE
      18
            system. With the help of Wamar senior management, Thales was confident it could finally break
      19
            into valuable airline markets in the Middle East and other areas in the world.
      20
                      34.   Wamar senior management, through the Wamar and TABA companies, agreed to
      21
            help Thales, and entered into agreements with several of Thales' operating companies. As will be
      22
            detailed below, each of the agreements with Thales followed a similar pattern: (1) Wamar senior
      23
            management agreed to assist in obtaining specific contracts for the installation of IFE systems for
      24
            Thales with specific airline companies, and (2) Thales agreed to award local work and pay Wamar
      25
            and TABA when the contract was awarded to Thales. As it turned out, Wamar senior
      26
            management was astonishingly successful in obtaining IFE systems contracts for Thales,
      27
             increasing Thales' market share of IFE systems for Middle Eastern airlines from zero percent (0%)
      28
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           11 to sixty percent (60%), and thereby earned substantial fees and royalties for its work as

           2   documented. As described herein more completely, Thales did not pay. Instead, after it had the

           3   contracts in hand, Thales would contrive excuses and devise intricate schemes to dodge its

           4   payment obligations to Wamar.

           5            35.   It has now become apparent that Thales' world-wide scheme to defraud Wamar

           6   was a well-orchestrated and meticulously-executed conspiracy. Thales is a monstrous international

           7 behemoth, and it used its size, wealth, and legal resources to manipulate Wamar's senior

           8 management.

           9            36.   Thales and Budin refused to pay Wamar and TABA what was owed in order to (1)

          10 reap the windfall of successful contracts without paying what they promised, and (2) cover up the

-         11 fact that by retaining TABA as a business advisor and Wamar as a KIP Thales was knowingly and

          12 intentionally violating U.S. and French laws and regulations.

          13            37.   Over the span of l years, Wamar senior management and Wamar have secured over

          14 $213 in contracts on behalf of the Defendants with large airline and transport companies in the

          15 Middle Eastern region. Instead of paying outstanding agreed-upon consulting fees to Wamar, the

          16 Defendants have conspired to induce Wamar's continued performance with no intention of ever

          17 paying what is owed.

          18            38.   The process used by Defendants (whether Thales Avionics, Thales SAL, Thales

          19 S.A. or other Thales Group companies and Budin acting on behalf of Thales) has been consistent

          20 to the point of being a conspiracy:

          21            a.    Seek out Wamar's help on lucrative contracts that Thales could never secure on its

          22                  own;

          23            b.    Induce Wamar's performance with promises of consulting fees, subcontract work

          24                  and spare parts distribution throughout the area if Wamar was successful in

          25                  delivering the contracts;

          26            C.    Wait patiently for Wamar to deliver the contracts;

          27            d.    Fabricate an excuse not to pay Wamar; and

          28            e.    Reap the rewards of Wamar's efforts.
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       1            39.    Finally, when Wamar senior management pressed Thales for payment of the fees

       2 due to Wamar and TABA, Thales refused, necessitating this Complaint.
       3            40.    Thales' agreements with Wamar and TABA involve a number of Thales

       4 companies, covering activities with several airline transport companies (and one rail company), in
       5 different Gulf State countries, and provide for dispute resolution venues around the world. This

       6, complaint addresses only those claims and those agreements which are subject to this Court's

       7 I jurisdiction.

       8 The Emirates Airline Proiects

       9            41.    Wamar, its principal and senior executives, have a significant presence and

      10 influence and are well known and respected for their experience, practice and expertise in the
           global aviation and transport business, particularly in Middle Eastern countries. Wamar and its

      12 principal own and operate manufacturing and development facilities in the Middle East, Europe

      13' and the United States.
      14            42.    Prior to 2011, Thales Avionics had for many years labored to grow its airline IFE

      15 systems business in the Middle East but was wholly unsuccessful. Thales Avionics had utterly

      16 failed in securing business with Turkish Airlines, Kuwait Airways, Emirates Airlines and Qatar

      17 Airways, among other airline companies.

      18            43.    Thales Avionics' inability to get airline business in the Middle East continued into

      19 2011 when Thales Avionics unsuccessfully attempted to secure a large IFE systems contract with

      20 several airlines, such as Emirates. Thales Avionics pursued, but on its own could not win

      21 Emirates business. Indeed, Thales Avionics had little chance of ever acquiring any Emirates IFE

      22 systems business on its own, as Emirates had used Panasonic as its IFE systems supplier for over

      23 30 years and had indicated its intention to stay with Panasonic into the future. After years of
      24 failure, Thales Avionics knew it needed professional assistance and guidance if it were to oust
      25 Panasonic and achieve success in the aviation industry, particularly in the Middle East.
      26            44.    Therefore, Thales Avionics approached Wamar to seek its advice and assistance in

      27 finally winning an Emirates opportunity. Thales knew that Wamar senior management had
      28 extensive personal relationships with senior executives at several airline companies, particularly in
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       1 I the Middle Eastern region. It was because of this reputation and expertise in the airline industry,
       2 I that Thales targeted Wamar and its senior management as the experts who could turn Thales'
       3 I Middle East failures into successes. In furtherance of that effort, on December 21, 2012, Wamar
       4 I and Thales Avionics entered into a binding contract (hereinafter referred to as the "Emirates 2012

       5 I MOU") regarding the pursuit of business with Emirates.

       6            45.   At this particular time, Emirates was actively in the process of selecting a company

       7 I to: (1) supply, deliver and install a large number of IFE systems on its fleet of Airbus 380

       8 (hereinafter referred to as "A380") and Boeing 777X (hereinafter referred to as "B777X") aircraft;

       9 and (2) establish and operate an IFE systems repair and parts distribution facility, as well as a high
      10 tech Discovery Innovation Center in Dubai to develop and market IFE systems technology for

      11 Thales (hereinafter collectively referred to as "The Project").

      12            46.   Thales Avionics desperately wanted to win The Project but did not have a facility

      13 in Dubai that satisfied the requirements of Emirates and had no idea how it could finally replace

      14 i the well-entrenched Panasonic IFE system. Accordingly, aware of Wamar's experience and its
      15 principal's personal connections with decision-level executives in the Middle East in particular,

      16 Thales Avionics sought out Wamar and its senior management for assistance with (1) pursuing the

      17 IFE systems business with Emirates, and (2) developing the Dubai facility.

      18            47.   In the Emirates 2012 MOU, Thales Avionics promised that if Wamar secured The

      19 I Project for Thales Avionics, then Thales Avionics would subcontract operation of the IFE systems

      20 repair, logistics, installment and parts distribution facility, and the Discovery Innovation Center in

      21 Dubai (hereinafter referred collectively as the "The Dubai Centers") to Wamar. Thales S.A.
      22 represented that operating The Dubai Centers over a 26-year period would be worth more than

      23 $150M plus, over and above the normal profit to Wamar if Emirates awarded Thales Avionics a
      24 contract for (150) aircraft. In addition, Wamar could potentially earn a much greater profit because
      25 The Dubai Centers would service other airline customers of Thales and service other types of
      26 aircrafts such as A380, A350, A330, A320, A319, B737, B787 among other types.
      27            48.   The Emirates 2012 MOU set forth the terms and conditions under which Thales

      28 II Avionics and Wamar would execute a subcontract for The Dubai Centers when: 1) Thales
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       1' I Avionics was awarded the contract by Emirates for The Project; and 2) Wamar was formally
       2 I approved as a Key Industrial Partner (hereinafter referred to as "KIP") by Thales S.A.
       3            49.   The Emirates 2012 MOU provided that it would subcontract the "work share" (as

       4 I defined therein) to Wamar after The Project was awarded to Thales Avionics. The work share

       5 I included, among other things, establishing and operating The Dubai Centers, repair of IFE systems

       6 I equipment, logistical services, delivering spare parts and consumables to Thales Avionics'

       7 I customers, and developing and marketing advanced IFE systems and related technology at The

       8 Dubai Centers.

       9            50.   Due to minor changes in The Project, after entering into the Emirates 2012 MOU,

      10 Wamar and Thales Avionics discussed entering into a second agreement to confirm Thales

      11 Avionics' intent to select Wamar as the sole subcontractor for The Project.

      12     -      51.   Accordingly, on January 14, 2013, Wamar and Thales Avionics entered into a

      13 binding Letter of Intent (hereinafter referred to as the "January 2013 LOI") confirming that Thales
      14 Avionics would select Wamar as the sole subcontractor for The Project as initially expressed in
      15 the Emirates 2012 MOU. A true and correct copy is attached hereto as Exhibit 1.

      16            52.   Thales knew that Wamar and its senior management had the resources, expertise,

      17 personnel and personal relationships to obtain business with Emirates and other airlines and to

      18 establish and operate The Dubai Centers. Therefore, Thales Avionics and Thales S.A. induced

      19 and used Wamar and its senior managemerit to establish The Dubai Centers using Wamar's money

      20 and resources. Wamar was willing to spend the time and money necessary to establish The Dubai

      21 Centers in reliance upon representations from Thales Avionics, Thales S.A. that Wamar would be

      22 qualified as a KIP and operation of The Dubai Centers would be subcontracted to Wamar. Those

      23 representations turned out to be false.
      24            53.   The January 2013 LOI was a binding agreement subject to only two conditions

      25 II subsequent: 1) that Emirates select Thales Avionics as sole supplier for IFE systems, support
      26 services and connectivity technology for (50) B777X aircraft and/or (32) A380 aircraft; and 2) that
      27 Wamar and Thales Avionics reach mutual written agreement on subcontracting terms and
      28 conditions, in accordance with the principles set out in the Emirates 2012 MOU. If Emirates were
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       1 I to select Thales Avionics for only one fleet of aircraft, then the subcontract agreement would be
       2 I adjusted accordingly. As more thoroughly described below, both conditions subsequent were fully
       3 I performed by Wamar and/or excused from further performance by virtue of Thales Avionics' and
       4 I Thales S.A.'s arbitrary and bad faith determination that Wamar did not satisfy Thales' arbitrary

       5 I and illusory internal KIP requirements. This determination was done in bad faith by Thales S.A.

       6 I with the sole objective to deprive Wamar of the benefits of the contract, keeping the benefits for

       7 I Thales.

       8             54.   In late 2016, while Wamar was aggressively working with Thales around the clock

       9 I to obtain the Emirates aircraft contract, the parties continued negotiating their mutual written
      10 agreement which would memorialize the terms and conditions set out in the January 2013 LOI and

      11 the Emirates 2012 MOU. This mutual written agreement was stylized as the Service Level
      12 Agreement (hereinafter referred to as "SLA"). The SLA further confirmed the relationship

      13 between Thales Avionics and Wamar as contractor and subcontractor for The Dubai Centers. At

      14 the same time, on September 21, 2016, Thales, as a result of Wamar's efforts, had won the award

      15 for installation of IFE systems and connectivity technology services on (150) B777X aircraft from

      16 Emirates, valued at approximately $975M plus, with actual delivery of the aircraft to Emirates
      17 scheduled to begin in December 2019 or early 2020, and is positioned to win the A380 aircraft

      18' contract (up to 65 aircraft) within the next couple of months. The work on the A380 IFE systems

      19 campaign with Emirates has been ongoing non-stop for the past five years and is expected to be

      20 awarded by the end of 2019 due to landing right issues being worked out between the U.A.E. and

      21 the French DGA (civil aviation).

      22             55.   Although Wamar has secured the award for all (150) B777X aircraft, Thales must

      23 I still perform to Emirates expectations. Currently, the contract awarded to Thales is for (50)

      24 B777X aircraft, of which (20) are firm and (30) are options. In the aviation industry this is a
      25 standard practice. Unless Thales fails to perform as promised, Emirates has, in effect with this
      26 contract, awarded all (150) B777X aircraft to Thales.

      27             56.   Making an award with only (50) aircraft with (20) aircraft firm is to ensure that

      28 I Thales makes the necessary developments specified in the statement of work and uses a$19.5M
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       1 I upfront payment from Emirates in that regard. Upon delivery of the proposed IFE system per
       2 I agreed specifications on December 19, 2018 and after Emirates approves the proposed new
       3 I innovation IFE system, the next (30) B777X aircraft will then be confirmed as firm orders. The
       4 I commitment for the next (30) "option" B777X aircraft will actually be made and must be made

       5 I before delivery of the first B777X with the new Thales IFE system to Boeing for installation.

       6 I With the delivery sequence given by Boeing, the first aircraft delivery to Emirates is currently

       7 I targeted for end of 2019 or early 2020.

       8              57.   The next (100) B777X aircraft will automatically be awarded to Thales as Boeing

            I needs at least 37 months advance notice to change any IFE systems supplier. The work behind

            integration and certification of an IFE system is incredibly complex, extensive and expensive. It

            basically requires re-wiring an aircraft to implement the IFE system, which is a major undertaking.

            With this in mind, the contract for the first (50) B777X aircraft is essentially the contract for the

      13 whole fleet of (150) B777X aircraft awarded ... unless of course, Thales bungles the project
      14 completely and Emirates is forced to pull the plug on Thales.

      15'             58.   Accordingly, Wamar has fully performed its obligation to deliver an award to

      16 I Thales for IFE system installation on (150) B777X Emirates aircraft and has earned its fees.

      17              59.   Among other things, The Dubai Centers will be used to install and repair IFE

      18 I systems, provide logistics services, deliver spare parts and consumables to multiple airline

      19 coinpanies, and develop and market advanced IFE systems and related technology. Although the
      20 Emirates 2012 MOU provides that Thales Avionics would subcontract the work share to Wamar

      21 after it was awarded The Project, Thales Avionics and Thales S.A. demanded that Wamar perform

      22 some of the work share prior to the award of The Project, even though the parties were still
      23 finalizing the SLA and Thales was still withholding KIP approval from Wamar. In this regard,
      24 Wamar was required by Thales to prepare, arrange and facilitate everything so that immediately

      25 upon receipt of the KIP award, it could open a dedicated repair and innovation center with turn-
      26 key facility services located next to Emirates' Erigineering Headquarters in Dubai, while
      27 accommodating a full IFE system and connectivity lab as well as a media processing workshop.
      28 Further, Thales required Wamar to hire and develop an operations organization, obtain

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       1 certification from the appropriate Civil Aviation Authorities, secure all required governmental
       2 permits, and build out office space to host Thales Avionics' employees. Wamar was induced to,

       3 and in fact, spent millions of dollars to set up The Dubai Centers by virtue of Thales S.A.'s, Thales
       4 Avionics' continual fraudulent misrepresentations that Wamar would soon be approved as a KIP.

       5 At the same time that Thales Avionics and Thales S.A. were demanding expedited work from

       6 Wamar, behind the scenes Thales S.A. was actively manipulating the approval process of Wamar

       7 as a KIP. Thales S.A.'s machinations assured that the sham KIP re-qualification process was
       8 dragged out until after Wamar had won The Project and had secured the space for The Dubai

       G] Centers for Thales Avionics, thus inducing Wamar to continue performing and continue spending

     .10 its own money.

      -11             60.   As will be discussed fully below, Thales S.A. not only intentionally delayed

      12 Wamar's KIP approval process to assure The Project was awarded before the promised impending

      13 KIP approval, but later, after Wamar had secured several valuable contracts for Thales Avionics,

      14 Thales S.A. unreasonably, in bad faith and without notice, explanation, or good cause, executed its

      15 plan and refused to approve Wamar as a KIP, which. became the excuse for Thales Avionics not to

      16 sign the SLA, or pay Wamar for the contracts Wamar had already delivered, or subcontract

      17 operation of The Dubai Centers to Wamar.

      18              61.   The SLA set out the compensation Wamar would earn for operating The Dubai

      19 Centers, and a process for selling the facility to Thales Avionics sooner. Thales showed Wamar
      20 senior management a model demonstrating the profits Wamar could expect to earn over 26 years,

      21 promising that either Wamar would operate The Dubai Centers for that time period or that any

      22 possible and actually intended earlier purchase of the facility by Thales from Wamar would

      23 provide equivalent value.
      24              62.   Wamar and Thales Avionics agreed that Wamar was also to be paid a 6.4% royalty

      25 (hereinafter referred to as the "KIP Royalty") fee of the total value of contracts for installation of
      26 IFE systems on Emirates aircraft that Wamar delivered for Thales Avionics (and showed Wamar

      27 senior management the calculations of the royalty). However, for reasons described in the
      28 paragraphs below, Thales Avionics refused to put the KIP Royalty obligation into the SLA

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       1 I directly, or into any written document for that matter. Nevertheless, Wamar has documentary
       2 I proof of the 6.4% royalty.
       3            63.   Wamar's principal is also the sole owner of TABA, a company that consults and

       4 operates as a Business Advisor in the aviation industry. Several of Thales Group's Middle Eastern

       5 companies contract with TABA to have Wamar senior management operate as a Business Advisor
       6 through TABA, providing consulting services regarding obtaining airline contracts for Thales

       7 Avionics. Of particular interest, TABA has multiple consultancy agreements with Thales
       8 AMEWA, an operating company in the Thales Group. Under these agreements, Wamar senior

       9 management operates as a Business Advisor to Thales AMEWA and is to be compensated by (1)

      10 consulting fees that are outlined in the consultancy agreements, and (2) a KIP Royalty that Thales

      11 S.A. will not allow to be put into a written document. For example, in addition to any fees

      12 I described in the consultancy agreements regarding Turkish Airlines, Qatar Airways and Kuwait

      13 Airways, TABA is entitled to a 5% KIP Royalty fee on the value of IFE systems contracts TABA
      14 procures for Thales AMEWA with those particular airlines.

      15            64.   Unknown to Wamar senior management until recently, but known to Thales and

      16 I Budin at all times, hiring TABA as a business advisor and Wamar for its services is a violation of

      17 French and US laws. In fact, the violations of law are so serious that Thales' head of compliance

      18 resigned rather than be made a scapegoat for the violations.

      19            65.   Although Wamar and TABA are separate companies, and they perform different

      20 I services for their respective clients, Thales Avionics, Thales and Budin did not want to show in

      21 writing that in connection with pursuing business from Emirates, a company owned by Wamar
      22 senior management (Wamar) would receive a 6.4% KIP Royalty fee from Thales Avionics, while

      23 another company owned by Wamar senior management (TABA) would receive a separate
      24 consultant fee from Thales AMEWA as a Business Advisor. Similarly, with respect to The

      25 Project, Thales Avionics and Thales S.A. wanted to conceal that Wamar was entitled to profit
      26 from operating The Dubai Centers and also entitled to 6.4% KIP Royalty fee of the value of IFE
      27 systems contracts it was awarded from Emirates.

      28            66.   The obligation for the KIP Royalty is part of the January 2013 LOI and SLA terms

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       1 and, although the KIP Royalty is not a term expressed in the SLA because Thales wanted to keep
       2 the arrangement below the radar of any governmental regulatory agencies, there is documentary
       3 evidence that the KIP Royalty is a mutual written agreement between Thales and Wamar. Relying
       4 on the executed January 2013 LOI agreement, terms in the SLA and the KIP Royalty obligation,
       5 Wamar engaged in significant activity at Thales' insistence and expended substantial resources

       6 I working with Emirates, U.A.E. governmental agencies, and other third parties for the exclusive

       7 I benefit of Thales and Thales Avionics. As a direct result of Wamar's efforts, including Wamar

       8 senior management's personal relationships with executives of Emirates, on September 21, 2016,

       9 Thales Avionics was awarded a$975M contract for the installation of IFE systems on (150)

      10 B777X aircraft, in addition to fees related to IFE connectivity services and Big Data estimated at

      11 approximately $70M, ordered by Thales for the Emirates projects, upon delivery as set forth

      12 above. Accordingly, the first condition of the January 2013 LOI was satisfied.

      13            67.    As will be discussed below in Paragraphs 72 to 74 of this Complaint, by August

      14 12017, Thales Avionics and Wamar had reached mutual written agreement when they finalized the

      15 language of the SLA. Accordingly, the second and final condition of the January 2013 LOI was
      16 also satisfied.

      17            68.    Wamar, Thales Avionics and Thales S.A. are all sophisticated parties. When

      18 I Thales S.A. and Thales Avionics demanded that The Dubai Centers and the Wamar branch in

      19 Dubai be established by Wamar, the parties understood that Wamar was required to start the

      20 process immediately without waiting for final KIP re-qualification approval, which was supposed

      21 to be a merely ministerial process, and which both Thales entities had already assured Wamar
      22 would be approved. Accordingly, in reliance upon those false representations, Wamar

      23 immediately commenced performance of the work share that was to be subcontracted pursuant to
      24 the SLA after the award of The Project and upon execution of the SLA. Wamar kept Thales
      25 informed of its activities and Thales insisted upon Wamar completing certain tasks prior to the
      26 promised KIP award. Wamar established a branch office space and committed to a long-term lease
      27 for The Dubai Centers. As set out in the SLA and demanded by Thales, Wamar established and
      28 prepared a space for fully functional turn-key The Dubai Centers in the Dubai Airport Free Zone

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       1 I for the benefit of Thales Avionics. By September 1, 2017, a lease agreement for The Dubai
       2 I Centers was in place.
       3            69.   The SLA also provided that Thales Avionics would pay Wamar a non-recurring fee

       4 I of $5.75M as partial compensation for the costs incurred by Wamar, including the first year's rent

       5 I for The Dubai Centers. Of that amount, $1.1 would be due upon signature of the SLA and

       6 I commencement of operations would institute payments of the additional $4.65M. Instead, as

       7 I discussed below, Thales S.A. manipulated and delayed the KIP re-qualification process until after
       8 Wamar had secured The Project, while all along continuing to assure Wamar that approval was on

       9 its way. Suddenly, and without any notice or cause, Thales S.A. consummated its plan and

           refused, in bad faith, to re-designate Wamar as a KIP, and as a result Thales Avionics used that as

           an excuse to refuse to sign the SLA and subcontract The Dubai Centers to Wamar. Thus, Thales

           Avionics misappropriated The Dubai Centers opportunity for itsel£ As a direct result, Wamar has

      13 incurred more than $15M over seven years in out-of-pocket expenses.

      14            70.   On November 30, 2017, Thales Avionics sent a letter to Wamar executives

      15 confirming, once again, its intention to select Wamar to establish and operate The Dubai Centers.

      16 Thales Avionics also reiterated its intention to solely sub-contract Wamar to operate the facility to

      17 support Thales Avionics' performance under its current and/or future agreements with airline

      18 companies in the Middle East region, including Emirates.

      19            71.   The SLA was negotiated between Wamar and Thales Avionics, starting in mid-

      20 1 2016, with the final version completed in 2017. Thales S.A. personnel participated directly and

      21 extensively in the negotiations. Even while the SLA terms were being finalized, in reliance upon
      22 Thales S.A.'s representations that it intended to approve Wamar as a KIP and pay the KIP Royalty

      23 on the secured contracts, Wamar was expending considerable resources to set up The Dubai
      24 Centers in accordance with plans developed by Wamar and Thales.
      25            72.   In August 2017, the SLA final terms were agreed upon. Harald Zirngibl, Contract

      26 I I Manager for Wamar and Geraldine Gros, Contract Manager, for Thales Avionics met face to face
      27 in Laguna Beach, California to finalize the last trivial remaining items still being discussed in the
      28 SLA.
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       1            73.   By November 2017, the SLA was ready for final signature. On December 5, 6, and
       2 17, 2017, Wamar senior management, together with Wamar and TABA staff from Germany,

       3 I Jordan, the U.A.E and the U.S., met in Los Angeles with Jean-Christophe Rohard, Legal Manager

       4 I for Thales AMEWA, and George Ermenidis from Thales' Dubai office who were ostensibly

       5 I managing the KIP re-qualification process for Thales. Wamar was led to believe that the purpose

       6 I of the meeting was to clarify the reason for Thales' constant requests for additional documents

       7 I required to finalize the KIP re-qualification process. Although Mr. Ermenidis referenced ongoing

       8   review by Thales senior management in Dubai and in Paris, both he and Mr. Rohard encouraged

       9   Wamar to continue working, stating that they believed Wamar was approved as a KIP.

      10            74.   By December 2017, even though Thales S.A. kept changing and increasing its

      11 document demands, (a) Wamar had provided all documents required to be re-qualified as a KIP,

      12 (b) The Dubai Centers had been established, (c) the premises for the facility was secured for

      13 Thales, (d) Emirates had awarded Thales Avionics a$975M plus contract for the installation of
      14 IFE systems on (150) B777X aircraft, plus additional technology services, and (e) Wamar had

      15 fully performed its obligations under the January 2013 LOI. Thales Avionics, however, refused to

      16 perform its part of the contract.

      17            75.   Although the SLA had not yet been executed, in November 2017, Emirates

      18 I announced the purchase of a fleet of (40) Boeing 787 ("B787") aircraft. Immediately thereafter,

      19 Roger Daix, the Vice President of Thales S.A., asked Wamar to mobilize all of its resources to

      20 work on having Emirates select Thales Avionics to be the IFE system provider for those aircraft.

      21 In December 2017, Jean-Pierre Pourre, Project Manager for Thales, informed Wamar senior

      22 management that it had been arranged internally for Wamar to receive the agreed-upon KIP

      23 Royalty fee of 6.4% on the value of the contract, to be paid upon the award of (40) B787 aircraft.

      24 Furthermore, Roger Daix verbally informed Wamar senior management that Thales would arrange
      25 for TABA to receive compensation of $3M for its consulting services upon the award of the (40)
      26 B787 aircraft, in addition to the 6.4% KIP Royalty for Wamar.
      27            76.   After working for a month without a contract, Wamar senior management inquired
      28 I about the agreement and was told that it would be finalized by the end of December 2017 and
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       1 I Wamar should continue pursuing the award of the forty (40) B787 aircraft. In reliance upon
       2 I Thales' representations, Wamar continued to work. To Wamar senior management's surprise,
       3 I however, on January 29, 2018, Roger Daix and Budin, informed Wamar that they had decided not

       4 I to add the (40) B787 aircraft to Wamar's agreement. Nevertheless, Mr. Daix continued to assure

       5 I Wamar senior management that Thales Avionics would honor the agreement and encouraged it to

       6 I continue working. Further, he instructed Wamar senior management to hire staff ASAP to start

       7 I the Dubai operation. Wamar senior management assured Thales that a few staff positions had been

       8 filled with high caliber individuals who would meet and far exceed Thales' expectations. Actually,

       9 Wamar has hired a Director of Media and Communication for five years (Dana Khalili), who met

      10 with Thales executives on several occasions and they have approved and were impressed with her

      11 appointment, as well as the hiring of the Head of Administration and Human Resources (Rola

      12 Megdadi).                                                -

      13            77.   Even as of the date this Complaint was filed, Thales continues to seek Wamar's

      14 I help in procuring the contract for the (40) B787 aircraft and Wamar continues to work to procure

      15 the contract for Thales Avionics. The total expected value of the (40) B787 contract is $200M. If

      16 the contract is awarded, Wamar's KIP Royalty of 6.4% will be approximately $12.8M for this

      17 additional work, as well as $3M in consulting service fees for TABA, and further fees to Wamar if

      18 Emirates orders additional technology services. Given the Thales Group's history of breaching its

      19 agreements and not paying Wamar what it has earned, Wamar respectfully requests that the Court

      20 grant declaratory relief and an order that if the contract is awarded to a Thales Group company,

      21 Thales Avionics must pay Wamar's KIP Royalty and TABA's consulting service fees.

      22            78.   Wamar had been qualified by Thales Avionics as a world-wide KIP since 2012, but

      23 I the KIP qualification expires every 3 years and therefore every KIP needs to be re-qualified on a
      24 periodic basis. As a worldwide KIP for Thales, Wamar and its senior management had increasing
      25 demands made by various Thales Group companies, eventually dominating the time and resources
      26 of Wamar senior management and that of Wamar's staff. Thal'es Group companies used Wamar in
      27 several countries where Wamar senior management had personal relationships with the
      28 international Heads-of-State as a result of Wamar supplying IFE systems for their personal aircraft
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       1 and other related military, defense and aerospace projects. The exorbitant demands by Thales
       2 consumed almost all of the time of Wamar and its senior management to the detriment of Wamar's
       3 I 6ther business.

       4            79.      As the SLA required Wamar to be a KIP in order to operate The Dubai Centers and

       5 Wamar's KIP certification approval had naturally expired in 2015, Wamar needed to be re-

       6 qualified. This re-qualification process is typically an administrative-level process to update

       7 documents and paperwork on the company. As such, Thales Avionics requested several

       8 documents from Wamar to update its file and Wamar timely provided every document as

       9 requested. Even though Thales frequently demanded new documents, Wamar consistently and in

      10 good faith completed all requirements to fulfill and meet the KIP qualifications.

      11            80.      The KIP re-qualification process, however, was a sham. Thales S.A. continued to

      12 postpone Wamar's KIP re-qualification, constantly increasing the requirements and the need for

      13 more documentation. Each time Wamar supplied the documents requested by Thales S.A., more
      14 documents were requested.

      15            81.      During the second week of January 2018, Wamar senior management met with the

      16 CEO of Thales Middle East (Roger Daix) and was assured that the KIP process was approved, the

      17 SLA would be executed, and implementation of work at The Dubai Centers would begin by no

      18 later than February 28, 2018. Mr. Daix also requested Wamar senior management to accelerate

      19 the appointment of senior staff and be ready to move to Dubai to start the operation of both

      20 centers.

      21            82.      Near the end of January, 2018, Jean Pierre Pourre assured Harald Zirngibl of

      22 Wamar that the SLA would be signed, and the only reason it had not already been signed was

      23 because of facility audits Thales wanted to conduct in Wamar's offices. The audits were in fact
      24 conducted in the Simi Valley, CA and San Diego, CA offices.

      25            83.      However, after Thales S.A. refused to certify Wamar's KIP status, Thales Avionics
      26 used that as its excuse for refusing to execute the SLA. Instead, in January, Wamar senior
      27 management was summoned by Roger Daix for a private meeting in Paris. This request for a
      28 private meeting was unusual and unexpected because although Thales S.A. personnel had

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       1 participated in negotiating the SLA, Wamar senior management had been advised the SLA was
       2 already approved as agreed between Wamar and Thales Avionics.
       3            84.   On January 29, 2018, Roger Daix and Budin met with Wamar senior management

       4 informing them that Thales S.A. would never approve Wamar as a KIP for The Dubai Centers.

       5 They further informed Wamar senior management that as a result of an external audit, Thales

       6, Avionics would never execute the SLA and that although Thales agreed compensation was due to

       7 Wamar, they (Thales) needed to devise a way to pay.

       8            85.   Wamar was unaware that Thales had violated U.S. and French laws and was

       9 attempting to cover up those violations by refusing to sign the SLA (but only after extracting the

      10 full benefit of Wamar's efforts).

                    86.   On information and belief, Budin is a principal architect of the schemes to (a) have

      12 Wamar represent foreign Thales entities in negotiations for contracts that would ultimately be

      13 signed by and benefit Thales Avionics, a California corporation, and (b) engage in a money-
      14 laundering spare parts distributorship ploy to conceal payment obligations to Wamar. The

      15 purpose of these schemes was to conceal Thales' violations of internal Thales policies and

      16 potential violations of U.S. and French laws.

      17            87.   Mr. Daix expressed a fatal concern that TABA was already a Business Advisor for

      18 Thales AMEWA regarding Emirates and that accordingly, Thales S.A. would never approve

      19 Wamar as a KIP. Even though Wamar and TABA performed separate contractual obligations,

      20 Wamar's principal was an owner of both entities and Thales S.A. did not want to make

      21 extensively large payments to a single person, or entities owned by the same person. Such an

      22 arrangement, they claimed, could subject Thales S.A. and Thales Avionics to uncomfortable

      23 scrutiny by various government oversight authorities. Accordingly, Thales S.A. would not allow
      24 Wamar or its principal to be a KIP, to enter into the already finalized SLA, or to be compensated
      25 for the valuable work Wamar had already performed for Thales Avionics.
      26            88.   In this way, by the end of January 2018, Thales had verbally ended its relationship

      27 with Wamar. But Thales still required Wamar's services, so Thales continued to engage with
      28 Wamar's senior management to secure even more contracts. Indeed, Thales continued to seek out
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       1 I Wamar senior management's advice and influence, and continues to do so even up to the time of

       2 I filing this Complaint. However, Thales executives demanded that Wamar senior management

       3 I operate "under the radar" to avoid Thales' internal legal department's scrutiny and possible

       4 I scrutiny by agencies of the U.S. and other governments. To avoid that unwanted scrutiny, Thales

       5 ~ executives instructed Wamar senior management not to contact them using Wamar's (a U.S.

       6 I company) e-mail address. To further obscure Thales' ongoing business relations Wamar and its

       7 I senior management, Thales required Wamar's principal to use a special phone with unknown

       8   caller ID when he needs to give updates on the contracts Wamar is working on. The phone in

       9   question could not show any caller ID that could be traced back to Wamar's principal, as the

      10 Thales executives did not want their phone system capturing any evidence that they continued to

     -11 use the services of Wamar.

      12            89.   Mr. Daix's contrived excuse for pulling out of its obligations to Wamar was that

      13 I Panasonic had recently been charged by the U.S. Department of Justice with violations of the

      14 Foreign Corrupt Practices Act and by other governments for similar violations under their
      15 respective laws. Mr. Daix asserted that approving a Wamar KIP Royalty transaction would be

      16 risky in light of the Panasonic case because one person earning substantial amounts of money was

      17 apparently a red flag to governmental agencies on the lookout for corruption and bribery. If

      18 Thales is found in violation of such laws, it could be sanctioned, potentially costing it billions in

      19 fines and lost business.

      20            90.   But Thales knows that all the transactions with TABA, Wamar, and its senior

      21 I management are legitimate on Wamar's and TABA's end, and that Wamar and TABA have fully

      22 performed. So this excuse is just a transparent ruse to bolster Thales' profits without being kicked

      23 out of the IFE systems market in the Middle East and hopefully avoiding governmental scrutiny.
      24 Thales acknowledges it owes substantial fees to Wamar, but Thales refuses to pay, leaving Wamar
      25 with no choice but to sue Thales for its fees in a court of law. Wamar senior management assured
      26 both Mr. Roger Daix, Head of Thales Middle East, and Mr. Bernard Roux, President of Thales
      27 UAE, that Wamar has worked in good faith, never violated and will never violate US law or any
      28 domestic laws of any jurisdiction and/or international law, abides by good business practices and
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       1 I is in conformity with all US and international laws pertaining to anti-corruption acts. In addition,

       2 I Wamar is TRACE certified, so there is nothing to be concerned with.

       3            91.   In fact, all of the business terms agreed to between Thales/Wamar and

       4 I Thales/TABA, in the various contracts referred to herein, were performed by Wamar and TABA

       5 I in full compliance with all laws. Accordingly, any "concerns" expressed by Thales are either pure

       6 I fiction, or are related back to Thales' own malfeasance, and are being used in bad faith to avoid

       7 I paying Wamar and TABA for their services, which have greatly benefitted Thales by securing

       8   contracts and business opportunities in excess of $213 in contracts that Thales could not secure on

       9 its own.

      10            92.   Furthermore, even though Wamar had (a) fully satisfied its obligations under the

      11 Emirates 2012 MOU and the January 2013 LOI, (b) agreed to final terms on the SLA, and (c)

      12 secured valuable contracts for Thales Avionics worth in excess of $213, Thales S.A. interfered with

      13 Wamar's contract with Thales Avionics by refusing to qualify Wamar as a KIP. As a direct result

      14 of Thales S.A.'s interference, Thales Avionics refuses to execute the SLA with Wamar and refuses

      15 to pay Wamar the fees it has already earned. Additionally, had (1) Thales S.A. not wrongly

      16 refused to confirm Wamar's KIP status, and (2) Thales Avionics not used that as an excuse not to

      17 sign the SLA, operation of The Dubai Centers would have been subcontracted to Wamar

      18 generating over $150M in profit to Wamar.

      19            93.   The initial term of the SLA was 10 years with a 2-year option, but Thales assured

      20 I I Wamar senior management that the true term of the SLA would be 26 years. It is the business

      21 practice in Dubai that you cannot secure a lease longer than 10 years, but Thales explained that it

      22 would renew that lease for up to a period of 26 years by showing Wamar senior management a

      23 financial projection with a 26-year term and represented that Thales would honor that
      24 commitment. Wamar and Thales Avionics contemplated that either Wamar would continue to
      25 I I operate The Dubai Centers for the entire term or Thales Avionics would purchase the facility after
      26 a period of 5-6 years, for a mutually agreed upon amount but not less than the amount of profit
      27 Wamar would have earned from the date of purchase through the end of the 26-year term, which
      28 was $150M plus, and potentially much more as The Dubai Centers would service other airline
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       1 I customers of Thales as well.

       2            94.   Under the January 2013 LOI and the terms as set out in the SLA, Thales Avionics

       3   will owe Wamar a KIP Royalty fee in the amount of approximately $25.6M plus, aside from the

       4   subcontract work, for negotiating the (65) A380 IFE systems, upon award and delivery as set forth

       5   above. The total contract value iri negotiations for the IFE systems alone, exclusive of additional

       6   technology services, is approximately $400M. In addition, Wamar will be entitled to fees obtained

       7   by technology services ordered on this fleet of aircraft, resulting in a fee subject to proof.

       8            95.   Under the January 2013 LOI and the terms as set out in the SLA, Thales Avionics

       9   owes Wamar a KIP Royalty fee in the amount of approximately $70M plus, aside from

      10 subcontract work, for the award of (150) B777X aircraft to install IFE systems and additional
           technology services ordered by Thales upon award and delivery as set forth above. The total

      12 contract value is approximately $975M plus, plus the added fees for technology services ordered

      13, by Thales.

      14            96.   Finally, under the SLA, Thales Avionics was obligated to pay Wamar a non-

      15 recurring fee of $5.75M upon the setup of specific events. Of that amount, $1.1 would be due

      16 upon signature of the SLA and commencement of operations would institute payments of the

      17 additional $4.65M

      18            97.    Consistent with the directives and interference of Thales S.A., Thales Avionics has

      19 I continued to refuse to execute the finalized SLA.

      20            98.    Consistent with the directives and interference of Thales S.A., Thales Avionics has

      21 refused to pay any compensation to Wamar for work it has completed for the benefit of Thales
      22 Avionics under the Emirates 2012 MOU, the January 2013 LOI and the terms of the SLA,

      23 including the payment of the KIP Royalty.
      24            99.    Wamar senior management, senior executive staff of Wamar and regional

      25 managers across the globe have invested 7 years and millions of dollars in developing relations
      26 with large and well-known airline companies to build up a credible reputation for the Thales
      27 Group. Wamar senior management and many of Wamar's staff traveled to Dubai on a bi-weekly
      28 basis to advise Emirates officials to select Thales Group and contract over $113 of IFE systems
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       1 business for Thales Group, with another $113 to be awarded on additional aircraft contracts.
       2 Further, in reliance upon representations by Thales Avionics and Thales S.A., Wamar senior
       3 management has focused on procuring business for Thales Group rather than pursuing other

       4 opportunities, resulting in lost income and lost opportunities elsewhere.

       5            100.   As a direct result of Wamar's efforts, Thales Avionics has finally procured valuable

       6 contracts with Emirates worth over $1B, with another $ 1 B to be awarded, plus over hundreds of

       7 millions of dollars with other clients in the area, but now Thales refuses to pay Wamar the fees it

       8 has earned.

       9 The Etihad Railroad Proiect
                    101. ,In 2011, Thales SAL approached Wamar to assist Thales SAL on acquiring a
           lucrative contract for the Etihad Railroad project. The railway network was intended to link freight

           facilities and passenger stations and would form a vital link to the GCC railway network.

                    102.   In February 2014, Thales SAL and Wamar entered into a binding Memorandum of

           Understanding (hereinafter referred to as "Etihad Rail MOU") regarding Etihad Rail Company's

           (hereinafter referred to as "Etihad") intention to select a company for the design, build-out and

      16 support systems for the Etihad Rail Project.

      17            103.   The Etihad Rail MOU states that if Thales Transportation System is awarded the

      18 Etihad Rail Project contract, Thales SAL will act as prime contractor and Wamar will act as

      19 subcontractor for their respective work described in the Etihad Rail MOU. Wamar agreed to form

      20 a working group with Thales SAL to provide a best and final offer before April 1, 2014.

      21            104.   The Etihad Rail MOU sets forth the scope of work (and source of income) of the

      22 subcontractor, Wamar, once the Etihad Rail Project was won:

      23            a.     Open four temporary facilities;

      24            b.     Supply 79 rail vehicles;

      25            C.     Open GSM-R towers including supply, transportation, and installation;

      26            d.     Open three telecom and signaling shelters including supply, transporta.tion and

      27                   installation; and

      28            e.     Provide security for the temporary facilities and the signaling shelters.

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       1            105. Subject to these provisions outlined in the Etihad Rail MOU, Thales SAL induced

       2 I Wamar to perform under the Etihad Rail MOU and as a direct result thereof, Wamar spent
       3 I approximately $4M performing the specified requirements at Thales' request, including opening
       4 I an office space in the Meydan Hotel and Resort in Dubai and hiring experts to assist in the

       5 I technological aspects of the rail project, which was estimated at a total contract value of $434M

       6 I for Thales SAL.

       7            106. The Etihad Rail Project was divided into three stages. For the first stage, Thales

       8 I SAL made an offer on its own in 2012 but, not surprisingly, unsuccessful in obtaining the coiitract

       9 and therefore Stage 1 is not a subject of this Complaint. The second stage was planned to connect
           Qatar, Kuwait, and Saudi Arabia on one side and„Oman on the other. Thales SAL planned to bid

           on the contract to provide a rail signaling and integration system for the second stage. The third

           stage would connect Dubai and Northern Emirates. Thales SAL wrongly terminated Wamar

           services prior to award so the third stage is not a subject of this complaint. .

      14            107. -- -Not long after Thales failed in getting the Stage 1 project, Thales SAL and Wamar

      15 entered into a Consultancy Services Agreement dated June 22, 2014 (hereinafter, referred to as the

      16 "Etihad Rail agreement") regarding Phase 2 of the rail project. Under this agreement, Thales SAL

      17 I contracted Wamar to promote Thales SAL as prime contractor for the Etihad Rail Project. Indeed,

      18 I due to Wamar's efforts, Thales was placed to be the number one shortlisted company to be

      19 I awarded the contract for this project: Upon award of the $434M contract to Thales SAL, Wamar

      20 I was to be entitled to approximately $4.65M as its consultant fee. Thales also owed Wamar its KIP

      21 Royalty of 6%, which would be about $26M on the total value of the contract which was
      22 approximately $434M.

      23            108. At Thales' urging, Wamar expended substantial time and considerable amounts of

      24 II its own money to fulfill its responsibilities set out in the Etihad Rail agreement. After months     __
      25 preparing and presenting several iterations of rail proposals for Thales SAL, a revised and final bid
      26 proposal was sent to Thales SAL on September 8, 2014. The proposal was detailed into seven

      27 packages, which included a supply of vehicles, shelters, communication towers and life support
      28 for all stations along the length of the rail project. Wamar was induced to perform these
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       1 responsibilities by Thales SAL in order to receive its KIP Royalty.
       2            109.   Due to Wamar's extensive efforts, Thales SAL was announced as the number one

       3 bidder for the Etihad Rail Project. Despite this, on June 30, 2015 (six months prior to the
       4 expiration of the Etihad Rail agreement), for no reason, Thales SAL terminated Wamar's contract

       5 to work on the rail project.

       6            110.   Rather than have Thales SAL pay Wamar what Wamar had earned, Thales S.A.

       7 took advantage of the fact that Wamar and TABA had short-term agreements with other Thales

       8 Group entities and threatened Wamar senior management that if Wamar did not walk away from

       9 the Etihad Rail Agreement, then none of Wamar's or TABA's other agreements with Thales
           Group entities would be renewed and Wamar and TABA would lose those deals. In particular,

           Thales S.A. threatened to terniinate Wamar from the Emirates Project if it did not forego all

           payments due under the Etihad Rail agreement if and when awarded.
              _. 111. -Thales SAL handed Wamar senior management a termination notice at Thales'

           offices on June 30, 2015 on the Etihad Rail agreement effective immediately. Notice was served

           by Mr. Marc Duflot, President of Thales Middle East at the time. The letter noted that the

      16 termination was "for convenience."

      17            112.   Wamar could not afford to lose its other contracts and in particular, the Emirates

      18 Project. Based on the belief that Thales SAL would cause Wamar severe fmancial difficulty if

      19 Wamar-sought to be paid for its work it had performed on the Etihad Rail agreement and on the

      20 representation that other contracts would be honored if Wamar walked away from Etihad, Wamar

      21 had no choice but to acknowledge and submit to the termination.

      22            113.   Wamar fully performed its obligations under the Etihad Rail agreement and was

      23 then wrongfully terminated on June 30, 2015. As a direct result, Thales SAL owes Wamar:
      24            a.     $4M USD out of pocket costs;

      25            b.     $4.65M consultancy fee; and

      26            C.     $26M KIP Royalty.
      27 Of which, none have been paid to Wamar.
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       1 TABA'SAirline ConsultancvAQreements
       2               A. Qatar Airways A320 Consultancy Services Agreement
       3            114. In 2014, Qatar Airways was soliciting proposals to provide IFE systems for (50)

       4 A320 aircraft, an opportunity Thales SAL wanted to win. Recognizing Wamar's value and

       5 expertise, Thales SAL asked Wamar senior management to help it obtain the Qatar Airways

       6 business. Wamar originally agreed that it would be contracted to consult with executives from

       7 Qatar Airways to obtain the IFE systems contract for the (50) A320 aircraft. Upon award, Wamar

       8 was owed a KIP Royalty of 5% of the total contract. However in an effort to avoid scrutiny by the

       9 United States and other regulatory agencies, Thales advised Wamar senior management to consult

      10 through TABA (a Jordanian Company) and enter into contractual obligations with Thales SAL (a

      11 Lebanese company). Although Thales Avionics, not Thales SAL, would enter into the agreements

      12 with Qatar Airways, Thales S.A. required TABA to sign the Consultancy Services Agreements

      13 with Thales SAL in an effort to evade US scrutiny and to be able to deny that Thales Avionics had

      14 ever made that commitment to TABA.                        --      --

      15            115. TABA was successful in obtaining the notice of award for Thales Avionics, which

      16 I in fact was signed by Thales Avionics.

      17            116. After Thales-delivered approximately (7-10) ship sets of IFE system for the A320

      18 aircraft, Qatar refused to accept all (50) A320 aircraft due to engine issues. However, these aircraft

      19 i with Thales IFE system were delivered to customers such as Lufthansa and others. Wamar's

      20 contract fees for the Qatar selection of (50) A320 aircraft was agreed as $3.8M; therefore, the total

      21 KIP Royalty fees on the actual delivered aircraft are approximately $0.8M. Although, Wamar fully
      22 performed under the agreement, neither Thales SAL nor Thales Avionics have paid TABA and/or

      23 Wamar.
      24               B. Qatar Airways A350 Consultancy Services Agreement

      25            117. Thales Avionics had independently managed to obtain a contract with Qatar
      26 Airways for (80) A350 aircraft but Thales was not sophisticated enough to properly perform to
      27 Qatar Airways' expectations on such a large contract. Qatar Airways quickly became dissatisfied
      28 with Thales' performance and cancelled the contract after delivery of (17) A350 aircraft.
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       1 Desperate to salvage the lucrative Qatar Airways A350 business, Thales SAL contacted Wamar
       2 senior management and asked Wamar to help Thales Avionics in reinstating the contract with
       3 Qatar Airways. Wamar senior management, operating through Wamar and TABA, agreed to

       4 assist Thales yet again under the condition that TABA and Thales enter into a consultancy
       5 I agreement.

       6            118. Wamar senior management agreed to assist Thales Avionics on the Qatar A350

       7 project, which was valued at a total value of approximately $297M. As compensation for

       8 consulting services, a total fee of $16M was earned, of which $ l OM was to be paid outright to
       9 TABA while the remaining $6M was to be paid to Wamar pursuant to a KIP Royalty. The $16M

      10 in compensation was divided into separate payments for each of four (4) contracts expected to be

      11 signed between Thales and Qatar Airways (wherein described as projects 5, 6, 7& 8).

      12            119. Wamar senior management; operating through Wamar and TABA immediately

      13 engaged Qatar Airways as a,Business Advisor for Thales. Wamar senior management succeeded

      14 in salvaging the deal for (80) A350 aircraft that Thales Avionics had lost. In the meantime,
      15 without notice, Thales Avionics changed its proposal structure with Qatar Airways. Instead of

      16 presenting four (4) separate proposals as it had discussed with Wamar senior management, it

      17 aggregated the aircraft and presented one (1) proposal encompassing all of projects 5, 6, 7& 8.

      18            120. Even though Wamar senior management reinstated the contract for (80) A350

      19 aircraft, Thales' response to TABA's exceptional performance deceivingly manipulated the
      20 proposal system so it could use a technical and undisclosed loophole to avoid its obligations,

      21 instead of paying what it promised TABA. Wamar senior management objected that Thales

      22 would submit one contract instead of four (4), but Mr. Marc Duflot President of Thales Middle

      23 East at the time, assured Wamar senior management that even though Thales would submit one
      24 contract, TABA would receive the full amount of $ l OM as a consulting fee plus $6M plus as KIP
      25 Royalty for Wamar.
      26            121. On March 16, 2017, Roger Daix informed Wamar senior management that Thales

      27 SAL would only pay €4M ($4.6M) of the $lOM fee, plus a promise to pay $6M pursuant to a KIP
      28 Royalty to Wamar, an arrangement similar to the Kuwait distributorship arrangement discussed

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       1 I I below. The distributorship arrangement was a money-laundering scheme employed by Thales in
       2 I I an attempt to avoid governmental scrutiny of its potential violations of law.

       3            122.   Eventually, Thales SAL even backed out of the KIP Royalty arrangement and
       4 I required TABA to sign a settlement agreement accepting only €4M ($4.6M). Once again, Thales

       5 I executives took advantage of the fact that Wamar and TABA had short-term agreements with

       6 I other Thales Group entities and threatened Wamar senior management that if TABA did not

       7 ( immediately sign the settlement agreement, then none of TABA's or Wamar's other agreements

       8 with Thales Group entities would be renewed and therefore those deals would be lost.

       9            123.   Roger Daix justified reducing Wamar's and TABA's fee by pointing out that Thales

           SAL had manipulated the contracting process with Qatar Airways to sign a single contract rather

           than four (4) contracts for the four (4) separate Qatar Airways projects. By consolidating the bids,

           even though the total contract value was still the same $297M, Thales SAL contends it had the
      13 right to reduce Wamar's and TABA's fees.                                            :
      14            124.   On July 19, 2017, Thales' executives Roger Daix, Pierre-Marie Durand (VP, COO,
      15 Thales AMEWA) and Bernard Roux, President of Thal.es AMEWA, traveled to the US and met

      16 with Wamar senior management at Wamar's facility in San Diego, CA. The Thales executives put

      17 before Wamar-'s senior management three (3) consultancy services agreements between Thales. -

      18 AMEWA and TABA covering new campaigns for Kuwait Airways, Qatar Airways and Emirates.

      19 Those three agreements were a trap. They also handed Wamar senior management a settleinent

      20 agreement for the just-concluded Qatar Airways deal which provided for a settlement payment of

      21 €4M ($4.6M), of which €2M ($2.3M) was to be paid immediately, while the other €2M ($2.3M)

      22 would not be paid until delivery of the aircraft. The consultancy agreements were contingent upon

      23 , Wamar senior management signing the settlement agreement. Thales paid the first €2M ($2.3M),
      24' but even though aircraft have been delivered, Thales has refused to pay any part of the remaining
      25 €2M ($2.3M).
      26            125.   Wamar senior management was handed fully drafted contracts on a"take it or leave
      27 I it" basis. The message from Thales was clear: sign on the dotted line right now or TABA's
      28 current contracts with Thales regarding Kuwait, Qatar and Emirates would not be renewed. The
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             1 I Thales executives knew that renewal of TABA's agreements for its various projects with Thales

             2 was crucial to TABA and Wamar. Thales having knowledge that negotiating and finalizing
             3   aviation contracts is a lengthy process, they intentionally offered TABA agreements with only

             4   short term duration. Thales then used that timing disconnect to extort TABA, which risked losing

             5 its fee if a contract was not signed during the term of the agreement, even if TABA had negotiated

             6   a fmal agreement subject only to signatures. With no other option, Wamar senior management

             7 signed the settlement agreement and the three consultancy services agreements in hopes of saving

             8   its business opportunities with Thales Group and recouping the huge losses TABA/Wamar had

             9   incurred during the previous six (6) years.

            10                 C. Emirates Consultancy ServicesAgreement
            11     -      126. On July 19, 2017, after Wamar signed the Qatar settlement agreement, Thales

            12 AMEWA and TABA entered into a Consultancy Services Agreement regarding several Emirates

- -         13 projects (the "Emirates-Agreement"). The Emirates Agreement is between TABA (Jordanian
            14 company) and Thales AMEWA (Lebanese company). However, it provides that the contracts

            15 with Emirates will be entered into-by Thales Avionics. Even though Thales Avionics, a U.S.

            16 company will be the beneficiary of the contracts, Thales S.A. required the consultancy services

            17 agreements to be entered into between non-U.S. companies out of a desire to avoid scrutiny of its

            18 consultancy services agreements by U.S. and other governmental agencies, and be able to deny

            19 that it had ever lnade a KIP Royalty commitlrient to Wamar.

            20            127. The Eriiirates Agreement is between Thales AMEWA and TABA for TABA to

            21 promote Thales Avionics to Emirates as the provider for several Emirates requests for proposals in

            22 2017 and 2018. The identified projects are:

            23            a.      Emirates Connectivity B777X (20 A/C)

            24            b.      Emirates Connectivity B777X (30 A/C)
            25            C.      Emirates IFE B777X batch 2(100 A/C)
            26            d.      Emirates Connectivity B777X batch 2(100 A/C)
            27            e.      Emirates Airlines IFE A380 (25 A/C)

            28            f.      Emirates Connectivity IFE A380 (25 A/C)
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       1              g.     Big Data

       2              h.     Etihad Airways IFE B777X (25 A/C)

       3              i.     Etihad Airways Connectivity B777X (25 A/C)

       4              128. By the time the Emirates Agreement was signed, however, Wamar senior

       5 management had, at the request of Roger Daix and Thales Avionics, already been working to
       6 secure those projects for Thales Avionics, and in fact, had tentatively secured projects (a) and (b)

       7 I with a total contract value of $325M, subject to final signatures.

       8              129. The Emirates Agreement sets out a specific Professional Fee that is earned by

       9 TABA for each project upon TABA successfully securing a contract for Thales Avionics.

      10 l            130. On September 21, 2016, contracts for projects (a) and (b) for installation of IFE

      11 systems on (50) B777X aircraft were provisionally awarded to Thales Avionics with the Emirates
      12 Agreement requiring Thales AMEWA to pay TABA a total consulting fee of approximately $3M

      13 for that contract. TABA has been paid a single progress payment of $0.21M.

      14              131. What the Emirates Agreement does not show however, is that Wamar was entitled —

      15 to a KIP Royalty fee equal to 6.4% of the contract value of those projects which is valued at

      16 $325M, or approximately $20.8M, with additional options of connectivity and technology services

      17 ordered by Emirates in an amount of approximately $80M plus, on which a KIP Royalty fee is

      18 also owed to Wamar. Once again, in an effort to avoid governmental scrutiny, and be able to deny

      19 that it had ever made that commitment to Wamar, Thales S.A. would not put that fee in writing,
      20 but had disclosed the fee calculation that would be paid when earned. Although Thales has

      21 attempted to make its contractual relations convoluted and opaque to avoid scrutiny and to be able

      22 to deny liability, Wamar has documentary evidence of the KIP Royalty obligation and its
      23 calculation on the agreements.

      24              132. Wamar has also been assured that as soon as December 2019 but not later than
      25 I 12020, assuming Thales performs competently on the first batch of (20) aircraft, Emirates will

      26 deliver project (c) to Thales Avionics. The total contract value for installation of IFE systems on
      27 an additional (100) B777X aircraft, exclusive of additional technology services, is approximately
      28 $650M. In addition Wamar will be entitled to fees obtained by technology services ordered by
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       1 Emirates on this fleet of aircraft, generating fees in an amount of approximately $70M, subject to
       2 proof. Upon delivery of the written contracts, Wamar will be entitled to a KIP Royalty equal to
       3 6.4% of the contract value of that project, or approximately $41.6M, in addition to the technology
       4 I services fees.

       5            133.    Additionally, Wamar has been working on delivering projects (e) and (f) to Thales

       6 Avionics. The total contract value for installation of IFE systems on (65) A380 aircraft is

       7 I approximately $400M. If awarded, Wamar is entitled to a 6.4% KIP Royalty fee of the total

       8 contract value, or approximately $25.6M and any fees generating from technology services

       9 ordered by Emirates, in addition to TABA's $3M consultant fee.

      10            134.    Although, Wamar has fully performed under the Emirates Agreement, Thales SAL

           has not paid Wamar the KIP Royalty, and Mr. Daix has informed Wamar senior management that

           it never will because he believes Thales has successfully hidden the evidence of their agreements

           and the calculation of what-is owed. Despite this mistaken belief, Wamar has documentary

           evidence of Thales' obligation to pay the 6.4% KIP Royalty calculation.

      15               D. 8uwait Airways Consultancy Services Agreement

      16            135.    Recognizing Wamar senior management's successful history and extensive

      17 contacts in the Middle East, Thales approached Wamar in 2013 to assist with another airline

      18 company it could not achieve business with, Kuwait Airways. On February 5, 2014, Wamar and

      19 Thales Avionics entered into an agreement (hereinafter referred to as the "Kuwait 2014 LOI")

      20 pursuant to which Thales Avionics agreed to select Wamar as a subcontractor on the "Kuwait

      21 Project," subject to two conditions: (1) that Thales is selected as sole supplier of IFE system
      22 products and support services for Kuwait Airways' fleet of (7) Airbus 320 ("A320") and (9)

      23 Airbus 330 ("A330") aircraft; and (2) Thales Avionics and Wamar reach a mutual written
      24 agreement on the terms and conditions of the subcontract. Wamar's efforts secured a contract for
      25 the installation of IFE systems of (5) A330 with (4) "optional" aircraft. As compensation, Thales
      26 Avionics agreed to pay Wamar a KIP Royalty fee of 5% of the total contract value. The contract
      27 value to Thales Avionics is approximately $18.5M, thus Wamar's fee is $0.925M.
      28            136.    On March 28, 2014, in line with the global January 2013 LOI, Wamar and Thales

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       1 I Avionics entered into a Distributorship Agreement wherein Thales Avionics appointed Wamar, on
       2 I a case-by-case basis, as the sole distributor of Thales Avionics' products and services in support of
       3 I the IFE systems installed on customers' aircraft in Kuwait. As contracts were awarded to Thales
       4 I Avionics by airlines, Wamar would be appointed as the sole distributor for Thales Avionics for

       5 I such customer via an addendum to the Distributorship Agreement setting forth the terms and

       6 I conditions of Wamar's distributorship for that customer.

       7            137. Thales Avionics was aware that other companies, including companies in the

       8 I aviation business such as Panasonic, Rolls Royce, and Airbus, were the subject of investigations

       9 by U.S., British and other governments regarding violations of various anti-bribery and anti-

      10 corruption laws. Thales Avionics and Thales S.A. were concerned that paying a high fee to

      11 Wamar might attract the interest of governmental investigators. Accordingly, instead of directly
      12 paying Wamar the $0.925M fee it had earned securing the Kuwait Airways contracts, Thales

      13 Avionics preferred to disguise the source of its payment obligation (Wamar's activities as a
      14 Business Advisor), and required Wamar to enter into an Addendum to the Distributorship

      15 Agreement. Pursuant to the Addendum, Wamar purchased $1.85M of products from Thales
      16 Avionics at a fifty percent (50%) discount ($0.925M) for sale to Kuwait Airways at full price,

      17 with the idea that Wamar would earn its $0.925M fee from the margin and Thales Avionics would

      18 conceal that it was paying a Business Advisor. Thus, Thales Avionics used a money-laundering
      19 scheme to pay Wamar and hide its payments from both its senior management in Paris and from

      20 governmental investigators. On repeated occasions, Wamar, its principal and associated

      21 companies have advised Thales that there was no need to divert payments through channels other
      22 than the intended as Wamar, being in the spare parts business for a long time, has performed all of

      23 its business transparently and flawlessly. Nevertheless, Thales decided to carry the payment out its
      24 own way to avoid scrutiny of US and other international authorities.
      25            138. Thales Avionics had the money. Thales Avionics also had all the power. Wamar

      26 I I had fully performed its obligations under the Kuwait 2014 LOI and was owed $0.925M. Thales
      27 Avionics refused to simply pay what was owed. Instead, it forced Wamar into a convoluted
      28 money-laundering distributorship scheme to mask Thales Avionic's own potential violations of

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       1 I law It was not Wamar's idea to have to re-earn its fee by selling parts for Thales Avionics. Thales
       2 Avionics ruthlessly took advantage of its power to impose the parts sales scheme on Wamar, and

       3 even then, Wamar did not get paid.
       4             139. Kuwait Airways ordered only half of the products Wamar had to purchase, leaving

       5 Wamar with a shortfall of approximately $0.4M. That money was earned by Wamar as a result of

       6 its actions as a Business Advisor. While Thales Avionics may prefer to hide the reason it owes

       7 Wamar the money, it cannot escape its liability by requiring Wamar to purchase more Thales

       8 Avionics products than the customer needed and furthermore, telling Wamar "tough luck" when

       9 the customer doesn't order the parts Thales Avionics required Wamar to purchase.

      10             140. Following TABA'-s success with Kuwait Airways, Thales asked Wamar senior

      11 management to secure another Kuwait project of (10) B777X aircraft. Marc Duflot;-President of

      12 Thales Middle East, promised Wamar senior management that a written agreement was being

      i3- prepared by its legal department. That promise was false. With Thales SAL's urging and consent, -

     -14 Wamar senior management engaged in significant, protracted and difficult negotiations with
      15 Kuwait Airways and as a result, it was near-certain that Thales Avionics would be awarded the

      16 contract.

      17    -.      - 141.- - By then, Wamar senior management finally realized that Thales SAL, in

      18 conjunction with Thales S.A., was not acting in good faith and grew concerned that Thales SAL

      19 intended to take advantage of Wamar's efforts and then refused to present it with a written

      20 agreement memorializing the agreed-upon compensation for Wamar's work. Accordingly, prior to

      21 the award announcement, Wamar senior management asked Mr. Duflot to provide Wamar with

      22 the agreement the parties had agreed upon and Mr. Duflot had promised.

      23             142. Mr. Duflot shockingly responded that he and Thales SAL had no intention of

      24 giving Wamar an agreement for this deal because this was now an "easy win" for Thales SAL
      25 since Wamar had already won the A330 contract previously for Thales. Wamar put Thales SAL
      26 into position to win this contract but Thales SAL refused to provide a written contract for the
      27 parties. Thales SAL believed it could receive the (10) B777X contract and avoid paying Wamar by
      28 refusing to give Wamar a written contract, and accordingly, instructed Wamar senior management
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       1 I to stop work, preventing further performance by Wamar. Without Wamar's continued assistance
       2 I and promotion, again not surprisingly, Thales SAL lost this deal to its competitor. If not for
       3 I Thales SAL's and Thales S.A.'s greed and bad faith, Thales Avionics would have been awarded
       4 I the contract. Thales Avionics cannot use this embarrassing failure caused by its own bad faith act

       5 I as an excuse not to pay Wamar the fees it earned. Accordingly, Wamar, having fully performed its

       6 I obligations to Thales SAL, is entitled to the full value of its work.

       7          143. After Thales SAL failed on the Second Kuwait Campaign, Thales executives again

       8 I asked Wamar senior management for more help. In July 2017, a Third Kuwait Campaign was

       9 presented to Wamar senior management via TABA. Kuwait announced the purchase of (15)
      10 A320/A321 aircraft and Thales wanted to win this deal. This time, another Thales Group

      11 company, Thales AMEWA, contracted with TABA to secure this campaign. Wamar's team

      12 worked very hard on this project and incurred related costs in excess of $1M. Thales' competitors

      13 fought hard and put up a massive campaign with Kuwait in order to win this contract. Once again,

      14 because of Wamar senior management's work and relationships built over decades, Thales
      15 AMEWA was in the lead to win this contract.

      16          144. Thales AMEWA was well aware of Wamar senior management's success and

      17 I equally aware that it was positioned to win the contract. Consistent with the Thales Group's

      18 pattern of evading its obligations to pay Wamar and TABA the fees they earned, near the end of
      19 the Third Kuwait Campaign, Thales executives instructed Wamar senior mariagement to stop

      20 working on the campaign because they had found a"real influential senior businessman in

      21 Kuwait" who would absolutely deliver the deal to Thales AMEWA. Wamar senior management
      22 protested against the last minute diversion but, as instructed, suspended Wamar's activities on the

      23 Third Kuwait Campaign. Once again, Thales could not secure the contract without Wamar's
      24 assistance, and a competitor won the award instead.
      25          145. As before, but for Thales AMEWA's bad faith last-minute instruction to Wamar

      26 I senior management to suspend work, Thales AMEWA would have won the contract. And as
      27 before, in contrast to Thales AMEWA, TABA acted in good faith and fully executed its
      28 obligations in connection with the Third Kuwait Campaign. Accordingly, TABA again earned its

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            1    $0.5M fee. In addition, with Thales AMEWA's urging and consent, TABA incurred
            2    approximately $ 1 M in out-of-pocket costs pursuing the Third Kuwait Campaign and is entitled to

            3    reimbursement of those costs, subject to proof.

            4                E. TuYkish Airlines Consultancy Services Agreement
            5             146. Consistent with its track record of failure in the Middle East, Thales was also

            6    unsuccessful in obtaining contracts with Turkish Airlines because Turkish Airlines has purchased

            7 its IFE systems from Panasonic and other suppliers for over 40 years. Thales wanted

            8 Wamar/TABA to assist it in its efforts to obtain contracts from Turkish Airlines as well. Thales

_          _9 contacted Wamar to lead the negotiations with Turkish Airlines and agreed to compensate Wamar

           10 a 5% fee on the total value of the contract, if awarded. Thales was so pessimistic that when

           11    Wamar executives asked Thales executives what chance they thought they had of getting a deal,--

           12 with Turkish Airlines; the response from Thales was "zero."

           13    -- - 147. The first Turkish Airlines campaign began in 2014. On June 24, 2014, TABA and

--       - -14   -Thint WECO-entered in a Consultancy Services Agreement wherein TABA contracted with Thint

           15 I WECO as a Business Advisor-to negotiate with Turkish Airlines to award a commercial contract

           16 I to Thint WECO to install IFE systems on its fleet of aircraft (hereinafter referred to as "The First

           17 Turkish Campaign").

          _18             148. - In this contract, a fee structure set forth in Appendix 2 provides for a consultancy
           19 fee of €150,000 ($0.17M) for consulting services, as well as a bonus fee for each project.

           20             149.   Against all odds, Wamar successfully obtained an award for forty-five (45) A321

           21    and B737 aircraft at a price of approximateiy $61M, thus securing for Thales its first-ever contract

           22 with Turkish Airlines. Wamar's compensation is approximately $2.8M, subject to proof.

           23             150.   Again, instead of paying Wamar its earned fee of the total contract, Thint WECO

           24 chose to conceal the payment to Wamar as a business advisor, and instead required Wamar to

           25 recoup its fee using Thales Group's spare parts sales scheme. Thint WECO instructed Wamar to

           26 invoice Turkish Airlines for a total of $6M for spare parts when and as delivered. Wamar's

           27 accumulated margin for the total invoicing would equate to the $2.8M fee it had earned. However,

           28 Turkish Airlines abruptly stopped ordering these parts leaving Wamar short on fees owed. On

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            1 information and belief, Thales has been selling parts directly to Turkish Airlines, circumventing

            2 and violating its obligations to Wamar. On July 24, 2018, a courtesy copy of this complaint was

            3 sent to Thales, with an invitation to engage in discussions with Wamar. Shortly thereafter,

            4 unexpectedly, Turkish airlines requested and placed an order with Wamar for additional spare

            5 parts of approximately $0.7M. When Wamar passed the order to Thales in Irvine, CA, the answer

            6 was that the discount is no longer applicable and that prices have increased more than 20%, thus

            7 cheating Wamar once again out of the profit margin it was to receive by winning the contract.

            8            151. Thales also agreed with Wamar that Wamar would earn a fee equal to 5% of the

-- - 9 total deal, or approximately $3M. One of conditions which was required by Turkish Airlines and
                actively encouraged and verbally agreed to by Thales was for Wamar to establish an off-set

                program by creating a company in Turkey to create jobs and add value to the local economy. That

                concept was supported by Thales, and Thales told Wamar to "do whatever it takes" to win Turkish

    -    - -- 13 Airlines as a client. TABA and Wamar fully performed all of their obligations under the First

           14 I Turkish campaign and are entitled to its earned fees.

           15            152. In addition to successfully securing the contract between Turkish Airlines and

           16 I Thint WECO, Wamar was able to secure another contract between Thint WECO and Turkish

           17 I Airlines in 2016.

           18            153. On September 1, 2016, TABA and Thint WECO entered into a Consultancy

           19 Services Agreement to supply IFE systems to (167) aircraft for Turkish Airlines (hereinafter

           20 referred to as "the Second Turkish campaign"). In order to avoid governmental scrutiny, Thint

           21 WECO insisted that the contract be solely with TABA, rather than have any written agreement

           22 with Wamar. Nevertheless, upon Thint WECO's instructions, Wamar continued to set up the off-

           23 set program. Wamar opened up the off-set program facility in Mercin, Turkey and hired

           24 employees to satisfy this requirement to win the Turkish airlines business in general and this

           25 contract in particular. Even though Thales encouraged Wamar to open the facility at a cost of

           26 about $2.5M to Wamar, Thales created problems and drove up the cost getting it established.

           27            154. In or around September/October of 2016, Wamar was advised by Turkish Airlines

           28 executives that the Turkish contract would be awarded to Thint WECO. To finalize the deal,

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       1 I I Turkish Airlines asked Thint WECO to travel to Turkey and sign the contract with Turkish

       2 I I Airlines. Thint WECO, however, let weeks go by before responding to the request. During that

       3 I I time, the CEO of Turkish Airlines retired, and with a new CEO in place and no response from

       4 I Thint WECO, Turkish Airlines instead awarded the contract to a competitor.

       5            155. TABA and Wamar fully performed all of their obligations under the Second

       6 I Turkish campaign as required by Thint WECO, and secured the contract for Thint WECO. But for

       7 I Thint WECO's inexcusably negligent failure to sign the contract with Turkish Airlines when

       8 requested, this deal would have closed. Accordingly, TABA earned its fees under the Second

       9 Turkish campaign. In addition, Wamar is entitled to reimbursement for the costs of establishing

      10 the Mercin, Turkey facility, as well as the costs it will incur in closing this now unnecessary

      11 facility. The sum of the commercial contracts for the Turkish Airlines fleet was estimated to be

      12 $235M for the installation of IFE systems. TABA is contractually entitled to approximately $12M,

      13 subject to proof. The "offset program" facility Wamar set up in Mercin, Turkey which now needs

      14 to be closed down along with the termination of 18 Turkish employees (additional victims of Thint

      15 WECO's failure to perform). Wamar continues to pay rent and closing of the off-set program will

      16 not take place prior to the end of 2019. The costs incurred to set up the facility are approximately

      17 $2.5M and the-costs to shut-down this facility are approximately $0.7M-$0.9M. Had Thint

      18 WECO simply signed the contract when instructed, the deal would have been closed and the offset

      19 facility would be operating. Wamar is entitled to reimbursement for the costs it incurred in

      20 establishing and closing the offset facility. In addition, Wamar was asked on different occasions

      21 to provide consulting services and market intelligence on different Turkish industries. For

      22 example, on July 11, 2016, Thales requested Wamar senior management to arrange a meeting with

      23 the Turkish top military and airline decision makers to be held on July 19th in Ankara and

      24 Istanbul. Wamar worked extremely hard with very short notice and arranged the meetings as

      25 requested. On July 13th, Thales executives abruptly informed Wamar to cancel the meetings as

      26 they had been advised not to travel to Turkey for security reasons. The Thales executives would

      27 not divulge the security issue that caused them to cancel the meetings.

      28

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           1 I Thales Implemented a Coordinated Plan to Exploit Wamar and TABA
           2            156. Thales has several operating companies that contract with Wamar, TABA and their

           3 I senior managements. These operating companies approach Wamar or TABA, desperately seeking
           4 I help in getting valuable new contracts, or to fix a problem they created. Wamar and/or TABA

           5 I proceeds to engage with the Thales operating company(s), and they agree on a compensation plan

           6 I that is pursuant to Wamar's or TABA's success. TABA and/or Wamar expend efforts, at their

           7 I own expense, for months and in many cases years, to get the contracts for Thales Avionics. Once
           8 Thales has the contract in hand, or believe they are positioned so well they can't lose it, they

           9 fabricate an excuse to terminate Wamar and/or TABA, without paying the agreed-upon
          10 compensation. Using this scheme against Wamar and TABA, combined, Thales owes

-         11 Wamar/TABA and their principals over $400M for fees that have been earned in delivering

          12 multiple contracts to Thales.

          13            157.   Although the damages numbers are not included in any cause of action, the portion

          14 I in this Complaint regarding The Etihad Railroad Project is indicative of how Thales operates. It is

          15 known that Thales operating companies have been unsuccessful in obtaining IFE business in

          16 major areas in the Middle East region. In order to obtain these lucrative contracts, Thales entices
               TABA-and/or-Wamar-to-engage-with them. Thales tried to get Phase 1 of the rail project, but

          18 failed. Accordingly, it engaged Wamar to get them the Phase 2 contract. Thales agreed to pay a

          19 fee to Wamar upon award of the contract. Wamar successfully shortlisted Thales as a number one

          20 lead bidder. Then, without any cause, Thales told Wamar to forego its fee, or Thales would

          21 terminate both Wamar and TABA on other projects with Thales companies. Wamar had no choice
          22 but to submit to the extortion, and walk away from over $30M in fees it had earned. Wamar will

          23 seek those fees in a separate action.
          24            158.   The Section of this Complaint on TABA's Airline Consultancy Agreements is also

          25 I I consistent with Thales' exploitation plan against TABA and Wamar. This Section describes five
          26 (5) different agreements, all of which have Thales operating companies benefiting from Wamar
          27 and TABA's efforts, and then refusing to pay fees that Wamar and TABA had earned. Although
          28 the damage numbers from this Section are not included in any Causes of Action in this complaint,
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      1 II Thales' actions under the consultancy agreements demonstrate its venality. TABA will be seeking
      211 those fees in a separate action. Each Agreement is briefly summarized below:

      3'             a.     Qatar Airways A320 Consultancy Services Agreement

      4              159.   TABA successfully secured (9) IFE systems ship sets for installation on aircraft,

       5 even though these aircraft were sold to other airlines; the fact that TABA succeeded in providing

       6 Thales IFE systems on these aircraft, it should be compensated pro-rata for these aircraft. Thales

       711 has never paid TABA and has not even attempted to provide a reason why not. TABA will be

       8 seeking those fees in a separate action.

       9             b.     Qatar Airways A350 Consultancy Services Agreement

      10    --- 160.--Thales operating companies had a lucrative contract with-Qatar Airways, but not

      11 long after the delivery of (17) aircraft, Qatar Airways cancelled the remaining (63) aircraft due to

      12 Thales' inept performance. Wamar and TABA was successfully able to reinstate the remaining

      13 (63) aircraft contract. Thales had agreed to pay TABA and Wamar $16M, of which $l OM outright
           to TABA and $6M to Wamar's KIP Royalty. Instead of paying the mutually agreed fees that it

           owed, Thales operating companies manipulated the contracts to avoid paying Wamar and TABA,

           then forced settlement agreement into place for only €4M ($4.6M), under threat of terminating

           other TABA and Wamar contracts with Thales. TABA-will be seeking those fees in a separate -

      18 action.

      19             C.     Emirates Consultancy Agreement

      20             161. Thales operating companies were unable to secure a contract with Emirates, and so

      21 they approached Wamar. Wamar, through four (4) campaigns on separate projects, has (1)

      22 successfully secured contracts for Thales valued at approximately $975M for installation of IFE

      23 systems on (150) B777X aircraft, (2) has been assured that Emirates will award Thales a contract
      24 valued at approximately $400M for installation of IFE systems on (65) A380 aircraft, and (3)
      25 continues to represent Thales in an effort to obtain a contract for (40) B787 aircraft. Thales
      26 operating companies agreed to pay Wamar $70M plus for the B777X contracts, $25.6M plus for
      27 the A380 aircraft, and $12.8M plus for the B787 aircraft. To date, Thales owes Wamar, at the
      28 very least $240.75M, but has paid a scant $0.21M and denies its obligation to pay the 6.4% KIP
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       1   Royalty Wamar had earned. These fees are all subject to the Causes of Action in this Complaint.

       2            d.     %uwait Airways Consultancy Services Agreement
       3            162. Thales sought out Wamar, its principal and associated companies for assistance

       4   with getting contracts with Kuwait Airways. Wamar first successfully got a contract for five (5)

       5   aircraft. Wamar's fee was to be $0.925M. To avoid paying, Thales forced TABA to enter into a

       6   distributorship agreement scheme pursuant to which Wamar would buy parts from Thales at a

       7   50% discount and sell them at full price to the customer until its fee was paid. But Kuwait

       8   Airways has stopped buying parts from Wamar and thus, only half of the fee has been paid.

       9   Thales twice more sought out Wamar and TABA for help with Kuwait Airways, first to pursue

           (10) B777-X-aircraft, and then to pursue A320 aircrafts.-- With the (10) B777X, once Thales

           believed Wamar and TABA had it in position to win the contract, they told Wamar/TABA to stop

           working (that way Thales planned to get the contract on their own, but to avoid paying).

           Wamar/TABA stopped as requested, and Thales blew the deal, losing to its competitor. Not

           learning from its previous (10) B777X mistake, Thales repeated it with the A320/A350 aircraft

           deal. Once again, TABA had Thales positioned to win the contract, in turn, Thales told

           Wamar/TABA senior management to stop working, because they located another local business

           advisor;who-could deliver-the-winning contract, and that the-new advisor was to share the fees -

      18 with TABA. Again, Thales blew the deal. In both cases, Wamar and TABA had put Thales in a
      19 position to win the contracts, and in both cases, Thales tried to cheat Wamar/TABA out of its fees.
      20 Thales lost the contracts due to greed and incompetence; however, Wamar/TABA had already
      21 incurred marketing expenses that exceeded $0.5M. Thales owes Wamar/TABA its KIP Royalty in
      22 I I addition to the amounts already expended over the campaigns. TABA will be seeking those fees in
      23 I I a separate action.
      24            e.      Turkish Airlines Consultancy Services Agreement
      25            163. Thales could not win a contract with Turkish Airlines, and wanted to engage

      26 Wamar. Wamar successfully secured a large IFE systems contract (approximately $61M) for
      27 Thales, and Thales agreed to pay Wamar $2.8M. Again, instead of paying Wamar, Thales
      28 concocted a plan whereby Wamar was to get its money through a spare parts scheme. Wamar
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               1 remains entirely unpaid. Further, TABA secured a second much larger contract for Thales, valued

               2 at $235M but Thales failed to respond in due time, finalize the contract and fulfill its promises to

               3 work with Wamar in establishing the off-set program. Moreover, part-way through the process,

               4I Thales insisted that the agreement be transferred to TABA (a non-U.S. company), and when the

               5 contract was won, refused to act expediently to sign the approved contract due to summer holidays

               6 in France. Thus, Wamar/TABA was left with a huge loss after over 3 years of marketing, sales and

               7 extensive travel in addition to the losses incurred from the off-set program that Wamar has

               8 established for spare parts distribution for Thales and other related issues. Thales had agreed to

               9 pay TABA $12M, but consistent with its exploitation plan, refuses to compensate TABA/Wamar

- - -         10 for their losses. TABA will be seeking those fees in a separate-action. -------      --              --- ----

                       -                                  IV. CAUSES OF ACTION

                                                         FIIdST CAUSE OFACTION

                             (Breach of Contract against Thales Avionics Regarding the January 2013 LOI)

 -   ---- -   14   -        - 164.- - Plaintiff incorporates the allegations set forth in paragraphs 1 through 163.

              15             165.    Plaintiff Wamar and Defendant Thales Avionics entered into the January 2013

              16 Letter of Intent, regarding the Emirates Airlines project, which is binding upon the parties.

              17 Wamar has performed all of its obligations under the contract;-and the conditions precedent,

              18 I except those which are excused as a result of Defendant's breach.

              19             166.    The January 2013 LOI was subject to only two conditions subsequent: 1) that

              20 Emirates select Thales Avionics as sole supplier for IFE system products, support services, and

              21 connectivity for certain aircraft; and 2) that Wamar and Thales Avionics reach mutual written

              22 agreement on subcontracting terms and conditions, in accordance with the principles set out in the

              23 Emirates 2012 MOU.

              24             167.    As a result of work done by Wamar, in September 2016, Emirates awarded Thales

              25 Avionics a$975M contract for the installation of IFE systems on (150) B777X aircraft, in addition

              26 to technology services ordered by Thales, thus satisfying the first condition of the January 2013

              27 LOI.

              28             168.    Defendant Thales Avionics and Wamar reached mutual written agreement when

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       1 they finalized the language of the SLA. Accordingly, the second condition of the January 2013
       2' LOI was also satisfied.
       3            169.   Under the January 2013 LOI, Wamar was to perform by: (a) securing contracts

       4 with Emirates for the installation and maintenance of IFE systems on certain B777X and/or A380

       5 aircraft; and (b) securing a contract for Thales Avionics to establish and operate The Dubai

       6 Centers. Thales Avionics agreed to subcontract the operation of The Dubai Centers to Plaintiff in
           accordance with the terms of the SLA and to pay Wamar a$5.75M non-recurring fee in

           connection therewith.

                    170.   As a direct result of Wamar's efforts, Thales Avionics has been awarded Emirates

           contracts for-the-installation and maintenance of IFE systems and technology services for (150)

           B777X aircraft. These contracts are valued at approximately $975M plus. Thales Avionics and

           Wamar agreed that Plaintiff would be compensated in an amount equal to 6.4% of the total value

           of the awarded contracts plus the technology services, or approximately $70M plus, subject to

           proof.

                    171. - In addition, as instructed by Thales, Plaintiff Wamar, for the benefit of Thales

      16 Avionics, secured the right to establish and operate The Dubai Centers. The original term of the

      17 SLA is 10 yeafs, plus a 2-year option, however Plaintiff and Defendant discussed that Defendant

      18 might purchase the facility in 5-6 years at a mutually agreeable price, but no less than what

      19 Plaintiff would have earned during the 26 -year term of the SLA for its management fee.

      20            172. Notwithstanding that the final terms of the SLA were agreed-upon, and that Wamar

      21 secured the space to operate The Dubai Centers, Thales Avionics has unilaterally decided not to
      22 subcontract operation of The Dubai Centers to Wamar, or to pay Wamar any management fee in

      23 total and complete breach of its contractual obligations, representations and promises to Wamar
      24 and its senior management.
      25            173.   Plaintiff Wamar spent approximately $15M plus over seven years in out-of-pocket

      26 costs to perform under the January 2013 LOI and to establish the space to operate The Dubai
      27 Centers for Thales Avionics.
      28            174.   For having delivered contracts to Thales Avionics for (150) B777X aircraft for

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       1 installation of IFE systems Wamar reasonably expected to earn at minimum $150M over the 26-
       2 year term of The Dubai Centers, promised by Thales.

       3            175. Under the January 2013 LOI, Thales Avionics owes Wamar not less than

       4 $240.75M as follows:
       5            a.     $5.75M non-recurring fee;

       6            b.     $70M with respect to securing the IFE system contracts;

       7            C.      $15M in out-of-pocket fees; and

       8            d.     $150M for operating The Dubai Centers.

       9            176. Defendant Thales Avionics has paid only a single payment of $0.21M to Wamar

      10 against the $240.75M it owes.

 -    11            177. As a result of Defendant Thales Avionics' breach of contract, Wamar has been

      12 damaged in an amount of not less than $240M, the exact amount of which will be proven at trial.

      13                                     SECOND CAIISE OFACTION

      14                  (Intentional Misrepresentation Against Thales Avionics and Budin

      15                                   Regarding the January 2013 LOI)

      16            178. Plaintiff incorporates the allegations set forth in paragraphs 1 through 177.

      17            179. Plaintiff Wamar and Defendant Thales Avionics entered into the January 2013

      18 Letter of Intent, regarding the Emirates Airlines project, which is binding upon the parties.

      19            180. The January 2013 LOI was subject to only two conditions subsequent: 1) that

      20 Emirates select Thales Avionics as sole supplier for IFE systems products, support services, and

      21 connectivity technology for certain aircraft; and 2) that Wamar and Thales Avionics reach mutual

      22 written agreement on subcontracting terms and conditions, in accordance with the principles set

      23 out in the Emirates 2012 MOU.
      24            181. Defendant Thales Avionics intentionally made false representations (hereinafter

      25 collectively referred to as the "False Representations") to Plaintiff Wamar as set forth below:
      26            a.     Defendant Thales Avionics represented that it would execute the SLA and perform

      27                   its obligations thereunder, as set forth in the January 2013 LOI;

      28            b.     Defendants Thales Avionics and Budin made representations to Wamar that Thales

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           1                   Avionics intended to pay Wamar KIP Royalty fees equal to 6.4% of the total value

           2                   of contracts that Wamar secured from Emirates for Thales Avionics for the

           3                   installation of IFE systems and technology services on Emirates aircraft;

           4            C.     Defendants Thales Avionics and Budin made further representations to Wamar that

           5                   Wamar would be approved as a KIP as set forth in the final draft of the SLA in

           6                   order to induce Wamar to continue to perform and expend millions of dollars to

           7                   benefit Thales Avionics and Thales S.A.;

           8            d.     Defendant Thales Avionics and Budin made further representations to Wamar that

           9                   Thales Avionics would subcontract to Wamar the operation of The Dubai Centers.

         -10            182.   Defendants Thales Avionics and Budin made the False Representations to Wamar

          11   intentionally and without regard for their truth and did not intend to perform as represented.

          12            183.   Defendants Thales Avionics and Budin intended that Wamar rely on the False

          13 Representations in- order to secure valuable contracts from Emirates regarding its IFE system

          14 proposals.

          15            184.   Using the False Representations, Defendants Thales Avionics and Budin induced

          16 Wamar to continue to perform its obligations under the January 2013 LOI and the SLA, while at
-      - 17 the same time having no intention of paying Wamar for its efforts.

          18            185.   Plairitiff Wamar reasonably relied on Thales Avionics' and Budin's False

          19 Representations in believing it would be paid for delivering valuable IFE system contracts from

          20 Emirates to Thales Avionics.

          21            186.   Due to Defendants Thales Avionics' and Budin's False Representations, Plaintiff

          22 Wamar was in fact harmed and continues to be harmed.

          23            187.   Plaintiff Wamar's reliance on Thales Avionics' and Budin's False Representations

          24 was a substantial factor in causing Wamar's harm.

          25            188.   As a direct result of Defendants Thales Avionics' and Budin's False

          26 Representations, Thales Avionics and Budin induced Wamar to spend years of effort and millions

          27 of dollars acting for the benefit of Thales Avionics. In that regard, in reliance upon the False

          28 Representations, Plaintiff Wamar secured over $213 worth of valuable contracts (for already won

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           1 contracts and additional contracts being negotiated) with Emirates for the Defendant Thales
           2 Avionics.
           3            189. Due to Defendant Thales Avionics' and Budin's False Representations, Thales

           4 Avionics owes Plaintiff Wamar not less than $240.75M as follows:

           5            a.     $5.75M non-recurring fee;

           6            b.     $70M with respect to securing the IFE systems contracts;

           7            C.     $15M in out-of-pocket fees; and

           8            d.     $150M for operating The Dubai Centers.

           9            190. Defendant Thales Avionics has paid only a single payment of $0.21M to Wamar

          10 against the $240.75M it owes:

          11            191. As a result of Defendants Thales Avionics' and Budin's intentional

          12 misrepresentations, Wamar has been damaged in an amount of not less than $240M, the exact

          13 amount of which will be proven at trial.

          14            192. The False Representations were willfully made by Defendants Thales Avionics and

          15 Budin to induce Plaintiff Wamar's continued efforts to secure contracts for the benefit of Thales

          16 Avionics.

-         17            193. The False Representations were willfully made by Defendants Thales Avionics and

          18 Budin in order to avoid scrutiny by government authorities regarding its use of Business Advisors,

          19 and to be able to deny that Thales Avionics had ever made KIP Royalty commitments to Plaintiff

          20 Wamar.

          21            194. The False Representations of Defendants Thales Avionics and Budin were

          22 malicious and highly prejudicial to the financial health of Wamar. Thales Avionics and Budin

          23 induced Wamar to act while Thales Avionics received substantial revenues and profits due to
          24 Wamar's efforts, but yet paid Wamar less than 0.1% of what it is owed.
          25            195. By cause of the fraudulent, willful and malicious conduct of Defendants Thales

          26 Avionics and Budin, Plaintiff Wamar is entitled to exemplary and punitive damages against
          27 Thales Avionics in an amount to be determined at trial but believed to be in excess of $720M.
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               1                                      THIRD CAUSE OFACTION
               2     (Negligent Misrepresentation Against Thales Avionics and Budin Regarding the January

               3                                                2013 LOI)

               4            196. Plaintiff incorporates the allegations set forth in paragraphs 1 through 195.

               5            197. Plaintiff Wamar and Defendant Thales Avionics entered into the January 2013

               6 Letter of Intent, regarding the Emirates Airlines project, which is binding upon the parties.

               7            198. The January 2013 LOI was subject to only two conditions subsequent: 1) that

               8 Emirates select Thales Avionics as sole supplier for IFE system products, support services, and

               9 connectivity technology for certain aircraft; and 2) that Wamar and Thales Avionics reach mutual

              10 written agreement on subcontracting terms and conditions, in accordance with the principles set

    =         11 out in the Emirates 2012 MOU.

              12            199. Defendants Thales Avionics and Budin negligently made false representations

-             13 (hereinafter collectively referred to as the "False Representations") to Wamar as set forth below:

              14            a.     Defendants Thales Avionics and Budin represented that Thales Avionics would

              15                   execute the SLA and perform its obligations thereunder, as set forth in the January

              16                   2013 LOI;

              17            b.     Defendant Thales-Avionics and Budin made representations to Wamar that Thales

              18                   Avionics intended to pay Wamar KIP Royalty fees equal to 6.4% of the total value

              19                   of contracts that Wamar secured for the installation of IFE systems and technology

              20                   services on Emirates aircraft;

              21            C.     Defendant Thales Avionics and Budin made further representations to Wamar that

              22                   Wamar would be approved as a KIP as set forth in the final draft of the SLA;

              23            d.     Defendant Thales Avionics and Budin made further representations to Wamar that

              24                   it would subcontract to Wamar the operation of The Dubai Centers.

              25            200. Although Defendants Thales Avionics and Budin may have honestly believed that

              26 some or all of the False Representations were true, Thales Avionics and Budin had no reasonable
              27 grounds for believing the False Representations were true when they were made.
              28            201. Defendants Thales Avionics and Budin intended that Wamar rely on the False
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        1 Representations in order to secure valuable contracts from Emirates regarding its IFE systems
        2 aircraft proposals.
        3            202.   Using its False Representations, Defendants Thales Avionics and Budin induced

        4 Wamar to continue to perform its obligations under the January 2013 LOI with no reasonable
        5 expectation that Thales Avionics would pay Wamar.

        6            203.   Plaintiff Wamar reasonably relied on Thales Avionics' and Budin's False

        7 Representations in believing Wamar would be paid for delivering valuable Emirates IFE systems

        8 contracts to Thales Avionics.

        9            204.   Due to Defendants Thales Avionics' and Budin's False Representations, Plaintiff

       10 Wamar was in fact harmed and continues to be harmed.

                     205.   Plaintiff Wamar's reliance on Thales Avionics' and Budin's False Representations

       12 was a substantial factor in causing Wamar's harm.

   -   13            206.   As a direct result of Defendants Thales Avionics' and Budin's False

       14 Representations, Thales Avionics and Budin induced Plaintiff Wamar to spend years of effort and

       15 millions of dollars acting for the benefit of Thales Avionics. In that regard, in reliance upon the

       16 False Representations, Plaintiff Wamar secured over $2B worth of valuable contracts (for already

       17 won contracts and additional contracts being negotiated) with Emirates for the Defendant Thales

       18 I Avionics.

       19            207. Due to Defendants Thales Avionics' and Budin's False Representations, Thales

       20 Avionics owes Plaintiff Wamar not less than $240.75M as follows:

       21            a.     $5.75M non-recurring fee;

       22            b.     $70M with respect to securing the IFE systems contracts;

       23            C.     $15M in out-of-pocket fees; and
       24            d.     $1501VI for operating The Dubai Centers.
       25            208. Defendant Thales Avionics has paid only a single payment of $0.21M to Wamar
       26 against the $240.75M it owes.
       27            209. As a result of Defendant Thales Avionics' and Budin's misrepresentations, Wamar
       28 has been damaged in an amount of not less than $240M, the exact amount of which will be proven
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       1 I at trial.
       2               210. The False Representations were negligently made by Defendants Thales Avionics

       3 and Budin to induce Wamar's continued efforts to secure contracts for the benefit of Thales
       4 Avionics.

       5               211. The False Representations were negligently made by Defendants Thales Avionics

       6 and Budin in order to avoid scrutiny by government authorities regarding Thales Avionic's use of

       7 Business Advisors, and to be able to deny that Thales Avionics had ever made KIP Royalty

       8 commitments to Wamar.

       9               212. Defendants Thales Avionics and Budin induced Wamar to act while Thales

      10 Avionics received substantial revenues and profits due to Wamar's efforts, but Thales Avionics

      11 has paid Wamar less than 0.1% of what it.is owed.                                 =

      12               213. As a direct result of the fraudulent and negligent conduct of Defendants Thales

      13 Avionics and Budin, Plaintiff Wamar is entitled to exemplary and punitive damages against

      14 Thales Avionics in an amount to be determined at trial but believed to be in excess of $720M.
      15 -                                      FOURTH CAUSE OFACTION

      16                       (Intentional Misrepresentation Against Thales S.A. and Budin)

      17               214. Plaintiff incorporates the allegations set forth in paragraphs 1 through 213.

      18               215. Plaintiff Wamar and Defendant Thales Avionics entered into the Emirates 2012

      19 MOU and January 2013 LOI, regarding the Emirates Airlines project (collectively, "The Emirates

      20 Agreements"), which are binding upon the parties.

      21               216. The January 2013 LOI was subject to only two conditions subsequent: 1) that

      22 Emirates select Thales Avionics as sole supplier for IFE system products, support services, and

      23 connectivity for certain aircraft; and 2) that Wamar and Thales Avionics reach mutual written
      24 agreement on subcontracting terms and conditions, in accordance with the principles set out in the

      25 Emirates 2012 MOU.
      26               217. Pursuant to the Emirates Agreements, Plaintiff Wamar and Defendant Thales

      27 Avionics agreed to enter into the SLA upon agreement of the terms thereof, consistent with the
      28 principles of the Emirates 2012 MOU.
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       1             218. Defendant Thales S.A. was aware of the Emirates Agreements and the obligation of
       2 Thales Avionics to execute the SLA.

       3I            219. Defendants Thales S.A. and Budin intentionally made false representations
       4' (collectively the "False Representations") to Plaintiff Wamar as set forth below:

       5             a.     Defendants Thales S.A. and Budin represented to Wamar that Thales Avionics

       6                    would execute the SLA and perform its obligations thereunder, as set forth in the

       7                    January 2013 LOI;

       8             b.     Thales S.A. and Budin made representations to Wamar that Thales Avionics

       9                    intended to pay Wamar KIP Royalty fees equal to 6.4% of the total value of

      10                    contracts that Wamar secured from Emirates for Thales Avionics for the

      11         -          installation of IFE systems and technology services on Emirates aircraft;

      12             c.     Defendants Thales S.A. and Budin made further representations to Wamar that

      13    --              Wamar would be approved as a KIP as set forth in the final draft of the SLA in

      14                    order to induce Wamar to continue to perform and expend millions of dollars to

      15                    benefit Thales Avionics and Thales S.A.

      16             d.     Defendants Thales S.A. and Budin made further representations to Wamar that

      17                    Thales Avionics would subcontract to Wamar the operation of The Dubai Centers.

      18             220. In support of Defendant Thales S.A.'s and Budin's False Representations, Wamar

      19 has documentary evidence confirming that Thales S.A. and Budin understood that Thales

      20 Avionics would expect to pay Wamar approximately $150M plus for Wamar operating The Dubai

      21 Centers during the 26-year term of the SLA, thus inducing Wamar to continue working.

      22             221. In support of Defendants Thales S.A.'s and Budin's False Representations, Wamar

      23 has documentary evidence confirming that Thales Avionics would compensate Wamar in an

      24 amount equal to 6.4% of the total value of contracts awarded to Emirates for IFE systems and
      25 technology services, in addition to normal profit to be earned from operating both repair The
      26 Dubai Centers.
      27             222. Contrary to the False Representations, Defendants Thales S.A. and Budin did not

      28 intend to qualify Wamar as a KIP, but instead actively worked against Wamar being qualified as a
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       1 I KIP.

       2              223.   Contrary to the False Representations, Defendants Thales S.A. and Budin conspired

       3 with Thales Avionics to refuse to sign the SLA.

       4              224.   Contrary to the False Representations, Defendants Thales S.A. and Budin conspired

       5    with Thales Avionics to refuse to subcontract operation of The Dubai Centers to Wamar, actively

       6 working to deny qualifying Wamar as a KIP so Thales Avionics would not have to award the

       7 subcontract to Wamar.

       8              225.   For years, Defendants Thales S.A. and Budin actively induced Wamar to negotiate

       9    and secure a position for a long-term lease, as well as establish an office space, and hire staff for

           The- Dubai -Centers. However, when it came time to pay Wamar for all its efforts, Thales S.A.

            denied Wamar KIP approval, and Thales Avionics used that denial as a fabricated excuse to avoid

            paying Wamar. In this way, Thales S.A. could reap the benefit of years of Wamar's efforts and

            expenditures for free.
                  . 226. --- Defendants Thales S.A. and Budin made the False Representations intentionally

            and without regard for their truth, and did not intend to perform as represented.

      16              227.   Defendants Thales S.A. and Budin intended that Wamar rely on the False

      17 Representations in order that Thales Avionics could secure valuable contracts from Emirates -

      18 regarding its IFE system proposals.

      19              228.   Using the False Representations, Defendants Thales S.A. and Budin induced

      20 Wamar to continue to perform its obligations to Thales Avionics under the January 2013 LOI and

      21    the SLA, while at the same time having no intention of paying Wamar for its efforts, or having

      22 Thales Avionics to pay for those efforts.

      23              229.   Plaintiff Wamar reasonably relied on Thales S.A.'s and Budin's False

      24 Representations in believing Thales Avionics would pay Wamar for delivering valuable IFE

      25 systems contracts from Emirates to Thales Avionics.

      26              230.   Due to Defendant Thales S.A.'s and Budin's False Representations, Wamar was in

      27 fact harmed and continues to be harmed.

      28              231.   Plaintiff Wamar's reliance on Thales S.A.'s and Budin's False Representations was

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       1 a substantial factor in causing Wamar's harm.
       2            232. As a direct result of Defendant Thales S.A.'s and Budin's False Representations,

       3 Thales S.A. and Budin induced Wamar to spend years of effort and millions of dollars acting for
       4 the benefit of Thales Avionics. In that regard, as a result of the False Representations, Wamar

       5 secured approximately $2B worth of valuable contracts (for already won contracts and additional

       6 contracts being negotiated) with Emirates for Defendant Thales Avionics.

       7            233. Due to Defendants Thales S.A.'s and Budin's False Representations, Thales S.A.

       8 owes Wamar not less than $240.75M as follows:

       9            a.      $5.75M non-recurring fee;

      10            b. -    $70M with respect to securing the IFE systems contracts; --- .--                  -- -

 -    11            C.      $15M in out-of-pocket fees; and                        =.                         _

      12            d.      $150M for operating The Dubai Centers.

      13            234. -Defendant Thales Avionics has paid only a single payment of $0.21M to Wamar

      14 against the $240.75M owed.

     -15            235. As a_result of Defendant Thales'S.A.'s and Budin's intentional misrepresentations,

      16 Wamar has been damaged in an amount of not less than $240M, the exact amount of which will be

      17 proven at trial.

      18            236. The False Representations were willfully made by Defendants Thales S.A. and

      19 Budin to induce Warnar's continued efforts to secure contracts for the benefit of Thales Avionics.

      20            237. The False Representations were willfully made by Defendants Thales S.A. and

      21 Budin in order to avoid scrutiny by government authorities regarding Thales' use of Business

      2211 Advisors, and to be able to deny that Thales S.A. had ever made KIP Royalty commitments to

      23 Wamar.
      24            238. The False Representations of Defendants Thales S.A. and Budin were malicious

      25 and highly prejudicial to the fmancial health of Wamar. Thales S.A. and Budin induced Wamar to
      26 act while Thales S.A.- received substantial revenues and profits due to Wamar's efforts, but yet
      27 Thales Avionics paid Wamar less than 0.1 % of what it is owed.
      28            239. By cause of the fraudulent, willful and malicious conduct of Defendants Thales
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                          1   S.A. and Budin, Plaintiff Wamar is entitled to exemplary and punitive damages against Thales

                         2    S.A. in an amount to be determined at trial but believed to be in excess of $720M.

                         3                                        FIFTH CAUSE OFACTION

                          4            (Breach of Implied Covenant of Good Faith and Fair Dealing by Thales Avionics

                          5                                    Regarding the January 2013 LOI)

                         .6            240.    Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 239.

                         7,            241.    Plaintiff Wamar and Defendant Thales Avionics entered into the January 2013
-- - - -- ~--     :_      8 Letter of Intent, regarding the Emirates Airlines project, which is binding upon the parties.

                          9            242.    The January 2013 LOI was subject to only two conditions subsequent: 1) that

                         10   Emirates select Thales Avionics as sole supplier for IFE system products, support services, and

                         11   connectivity for certain aircraft; and 2) that Wamar and Thales Avionics reach mutual written

  -                    - 12   agreement on subcontracting terms and conditions; in accordance with the principles set out in the

                         13   Emirates 2012 MOU.

                         14            243.- Under the January 2013 LOI, Thales Avionics had an obligation to work with              -
     -                   15   Wamar in good faith. Thales-Avionics knew Wamar was aggressively spending effort and money

                         16   pursuing the objectives set out in the Emirates 2012 MOU and the January 2013 LOI. Thales
 _       - - --
                        _17   Avionics encouraged Wamar-to (a) continue pursuing the IFE systems and technology services

                       - 18   contracts with Emirates, (b) continue establishing The Dubai Centers, and (c) secure a space for

                         19   The Dubai Centers. Wamar, in reliarice upon Thales Avionics' representations and promises of

                         20   performance, did so.

                         21            244. It is well settled that, in California, the law implies in every contract a covenant of -

                         22   good faith and fair dealing. That covenant requires that neither party do anything which will

                         23   deprive the other of the benefits of the agreement and not to act in bad faith toward the other

                         24   contracting party by misleading the other party or by concealing important information from the

                         25   other party.
                         26   -         245. In violation of that covenant, Defendant Thales Avionics, with Thales S.A. acting

                         27   as the puppet master, engaged in a bad faith scheme to misappropriate Wamar's efforts. Their

                         28   plan was simple and easily repeated: (1) Induce Wamar to perform; (2) Wait for Wamar to
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                                                                            COMPLAINT
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                1 produce a valuable result; (3) Fabricate an excuse to deny paying Wamar or threaten another

                2 aspect of Wamar's business; and (4) Reap the benefit of Wamar's efforts free of charge. Thales

                3 Avionics applied this bad faith scheme at least twice in just the January 2013 LOI when (1)

                4 Wamar secured a$975M contract for Thales Avionics and (2) when Wamar secured a space for

                5 I The Dubai Centers.

                6             246. In a first example, Defendant Thales Avionics acted in bad faith regarding its

                71 refusal to pay Wamar for securing a$975M contract for Thales Avionics. As described above,

-- --- - -- --- -8 I Thales Avionics executed its bad faith scheme in four steps:

                9             A.     Induce Wamar

              10              247. Defendant Thales Avionics and Plaintiff Wamar agreed that Wamar.would earn a

              11 KIP Royalty fee equal to 6.4% of the total value of the Emirates IFE systems and technology

              12 services contracts but Thales Avionics refused to put the KIP Royalty fee in writing to conceal

        -- -- - 13 those payment obligations from-governmental scrutiny, and be able to deny that it had ever made

              14 I that commitment to Wamar.

              15''            B.     Wait for Wamar to Perform

              16              248. Plaintiff Wamar, induced by the expectation of a 6.4% KIP Royalty fee, worked

              17 diligently to secure a$975M plus contract for Thales Avionics for Emirates IFE systems and

              18 technology services.

              19              C.     Fahricate an Excuse not to Pay.

              20              249. Showing an astonishing level of bad faith, Thales Avionics claimed it did not have

              21 any written documentation showing it owed Wamar a 6.4% KIP Royalty fee. But it was Thales

              22 Avionics that agreed to the 6.4% calculation, but refused to put it in writing for regulatory and bad

              23 faith purposes.

              24              D.     Reap the Benefit of Wamar's Efforts
              25              250. Defendant Thales Avionics refused to pay Wamar the fees it had earned by the

              26 awarded contracts to install IFE systems and technology services on Emirates (150) B777X fleet

              27 of aircraft. By doing so, Thales Avionics could reap an additional $70M profit on the deal, all at

              28 the expense of Wamar.

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       1            251. In a second example, Thales Avionics acted in bad faith regarding its refusal to pay
       2 Wamar for its obtaining the valuable The Dubai Centers. As described above, Thales Avionics

       3 again executed its bad faith scheme in four steps:

       4            A.     Induce Wamar

       5            252. The SLA set out the compensation Wamar would earn for operating The Dubai

       6 Centers, which, at a minimum, would be the aggregated management fees expected for the 26-year

       7 term of the SLA. If Wamar were to get contracts for (150) aircraft, the compensation to Wamar

       8 would be in excess of $150M.                              -                                            -

       9            B.     Wait for Wamar to Perform

      10            253. It took years of effort, and over $15M dollars in of out-of-pocket expenses, but

      11 Plaintiff Wamar successfully established a space for The Dubai Centers, staffed it, and prepared it

      12 for operation. Due to its performance under the contract, Wamar expected to begin receiving its
      13 management fees.

      14            C.     Fahricate an Excuse not to Pay

   - 15             254. However, Defendant Thales Avionics had a different plan. Instead of paying

      16 Wamar, Thales Avionics, under the direction of Thales S.A., began manipulating and changing the

      17 requirements for-Wamar to be re-qualified as a KIP. And if Wamar was not a KIP, then Thales
      18 Avionics had an excuse not to pay Wamar. Not surprisingly, Thales S.A. and Thales Avionics

      19 disingenuously denied Wamar's KIP re-qualification, and refused to pay Wamar for work it did to

      20 establish The Dubai Centers. Further detail as to how Thales schemed to deny KIP re-qualification

      21 II follows.

      22            D.     Reap the Benefit of Wamar's Efforts

      23            255. By refusing to pay Plaintiff Wamar, Defendant Thales Avionics not only has access

      24 to a state-of-the art turnkey IFE Repair and the Discovery Dubai Innovation Center, but added at

      25 least $150M plus to its bottom line.
      26            E. KIPRe-gualification
      27            256. Defendant Thales had an obligation to evaluate Wamar fairly and in good faith

      28 during the KIP qualification process. Defendant Thales establishes and controls the qualification
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                                                        COMPLAINT
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                    1    criteria for KIP, performs the evaluation, and is the sole and final arbiter of who gets to be a KIP

                   2     and who does not. Thus, it has complete power over the process. As late as January 9, 2018,

                    3    Thales Group executives personally told Wamar senior management that Wamar was approved as
         -        -4 a KIP and that Walnar should keep performing under the Emirates 2012 MOU, and the January

                    5    2013 LOI and the SLA. In reliance upon those representations, Wamar did so at considerable

                    6    expense. Then, without warning, on January 29, 2018, Roger Daix and Budin met with Wamar

                   7     senior management and informed them that due to Panasonic's issue with the Justice Department

                    8    in Dubai, Thales would not approve Wamar as a KIP, would not sign the SLA, and as a

                    9    consequence, Wamar would receive nothing for its efforts even though agreed upon compensation

                  10 was due.
             -    11              257.   Wamar senior management. objected to Thales S.A.'s and Thales Avionics' bad ^

             ~    12 faith. In response, in a letter dated March 9, 2018, Dominique Giannoni, CEO of Thales InFlyt '
---- --- - -- . ---13-   -Experience,-fell back on the excuse that Wamar failed to re-qualify as a KIP and that the SLA had

                  1_4    not been "signed. Eacli of those events, however, was the result of bad faith manipulation of the

-                 15 process by Thales S.A. and Thales Avionics.                                       -

                  16              258.   Mr. Giannoni's assertion that Wamar "does not meet the criteria to perform the

                         project as normally expected-from an industrial partner" was made in bad faith because Thales

                  18 S.A. and Thales Avionics know that Wamar has been a KIP for Thales Group in previous years,
                  19 that Wamar provided all of the documents requested, and that Wamar was fully qualified to
                  20 operate The Dubai Centers.
                  2t              -259. Furthermore, Thales S.A.'s and Thales Avionics' denial of Wamar's KIP re- -             -

                  22 qualification was a blatantly bad faith act designed to pass the entire risk and cost of establishing
                  23 The Dubai Centers to Wamar with the intent to deny the KIP re-qualification once everything was
                  24 in place and Thales Avionics could step in and take over the operations without the cost of paying
                  25 Wamar what it had earned, and what it would earn operating The Dubai Centers during the 26-
                  26 year term of the SLA.
                  27              260. Had Wamar known of Thales S.A.'s and Thales Avionics' bad faith in denying
                  28 Wamar the KIP re-qualification, Wamar would have taken action to protect itself against such bad
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                                                                      COMPLAINT
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       1 faith. Wamar could have, for example, worked with Thales Group's competitors, or ceased

       2 spending money until Thales S.A. and Thales Avionics accepted Wamar as a KIP in writing and

       3    executed the SLA.
       4             261. Instead, Plaintiff Wamar acted in reliance upon Thales S.A.'s and Thales Avionics'
       5    representations that Wamar would be a KIP and would operate The Dubai Centers as
       6    contemplated by the Emirates 2012 MOU and January 2013 LOI and the SLA. As a direct result

       7    thereof, Plaintiff has incurred significant damages including out-of-pocket expenses, and lost

       8    profits from opportunities passed on while it worked on behalf of Thales Avionics.

       7             262. As a result of Defendant Thales Avionics' bad faith breach of the implied covenant

      10 of good faith and fair dealing, Plaintiff Wamar has been damaged in an amount of not less than

      11 $240.75M as follows:

      12                    a.     $5.75M non-recurring fee;

      13                    b.     $70M with respect to securing the IFE systems contracts;
      14                    C.     $15M in out-of-pocket fees; and
      15                    d.     $150M for operating The Dubai Centers.

      16             263. Defendant Thales Avionics has paid only a single payment of $0.21M to Wamar
      17 against the $240.75M plus it owes.                             - --

      18             264. As a result of Defendant Thales Avionics' intentional misrepresentations, Plaintiff

      19 Wamar has been damaged in an amount of not less than $240M, the exact amount of whicli will be

      20 proven at trial.

      21                                       SIXTH CAUSE OFACTION
      22                                (Restitution; Unjust Enrichment against
      23                          Thales Avionics Regarding the Emirates Agreements)
      24I            265. Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 264.
      25             266. Plaintiff Wamar and Defendant Thales Avionics entered into the January 2013
      26 Letter of Intent, regarding the Emirates Airlines project, which is binding upon the parties.
      27             267. The January 2013 LOI was subject to only two conditions subsequent: 1) that
      28 Emirates select Thales Avionics as sole supplier for IFE system products, support services, and
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                                                        COMPLAINT
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       1 I connectivity for certain aircraft; and 2) that Wamar and Thales Avionics reach mutual written

       2 agreement on subcontracting terms and conditions, known as the SLA. As set out in the SLA,

       3 Plaintiff Wamar was to also establish a The Dubai Centers.

       4            268. Plaintiff Wamar worked aggressively to promote Thales Avionics to Emirates for

       5 the installation of Thales' IFE systems and technology services on multiple aircraft projects and

       6 for Thales Avionics to be selected as the operator of The Dubai Centers. Wamar worked for

       7 years, and spent millions of its own dollars promoting Thales Avionics. Wamar was successful

       8 both in (a) securing contracts for Thales Avionics valued at approximately $975M plus for the

       9 installation of IFE systems and technology services on Emirates aircraft, and (b) winning approval

      10 from Emirates for Thales Avionics to operate the new The Dubai Centers.

      11            269. Defendant Thales Avionics should have paid Wamar $70M plus for it having

      12I secured the $975M contract for them.

      13            270. Plaintiff Wamar incurred over $15M in out-of-pocket costs performing its

      14 obligations under the January 2013 LOI and the SLA to establish The Dubai Centers.

      15            271. Pursuant to the January 2013 LOI, Defendant Thales Avionics and Plaintiff Wamar

      16 were obligated to negotiate the terms of the SLA in good faith, pursuant to which Thales Avionics

      17 would subcontract operating -The Dubai Centers to Wamar. After Wamar obtained approval for

      18 The Dubai Centers, however, Defendant Thales Avionics refused to sign the SLA. Instead, -

      19 Defendant Thales Avionics elected to keep The Dubai Centers opportunity for itself.

      20            272. Plaintiff Wamar reasonably expected to earn $150M plus operating the new The

      21 Dubai Centers during the 26-year term of the SLA.

      22            273. Defendant Thales Avionics seeks to unjustly enrich itself by acting in bad faith to

      23 keep The Dubai Centers opportunity for itself rather than subcontract it to Wamar as agreed, thus

      24 misappropriating money Wamar expected to earn operating the facility.

      25            274. Defendant is to earn more than $213 on the total amount of all the Emirates Airlines

      26 contracts that Wamar has worked so hard to win.

      27            275. Plaintiff seeks disgorgement of all of the ill-gotten profits the Thales Group will

      28 I I earn by operating The Dubai Centers, the exact amount of which will be proven at trial.

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       1                                    SEVENTH CAIISE OFACTION

       2                     (Intentional Interference with Contractual Relations against

       3                           Thales S.A. regarding the Emirates Agreements)

       4            276. Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 275.

       5            277. Plaintiff Wamar and Defendant Thales Avionics entered into the Emirates 2012

       6 MOU and the January 2013 LOI, both of which are binding agreements (collectively the

       7 "Emirates Agreements").

       8            278. Pursuant to the Emirates Agreements, Plaintiff Wamar and Defendant Thales

       9 Avionics agreed to enter into the SLA upon agreement of the terms thereof, consistent with the

      10 principles of the Emirates 2012 MOU.

      11            279. Defendant Thales S.A. was aware of the Emirates Agreements for The Dubai

      12 Centers as both were part of the contract between Thales and Emirates.

      13            280. Defendant Thales S.A. was aware that the bulk of the fees and compensation that
      14 -Thales Avionics would owe Wamar under the Emirates Agreements were contingent on Wamar

      15 being approved as a KIP.

      16            281. Defendant Thales S.A. had already approved Wamar as a KIP in 2012 for a three

      17 year term. Thales S.A. knew that Wamar was to be re-qualified as a KIP by 2015.

      18            282. Defendant Thales establishes and controls the qualification criteria for KIP,

      19 performs the evaluation, and is the sole and final arbiter of who gets to be KIP and who does not.

      20 Thus, it has complete power over the process.

      21            283. As late as January 9, 2018, Thales Group executives personally falsely told Wamar

      22 senior management that Wamar was approved as a KIP and Wamar should continue performing

      23 under the Emirates Agreements with Thales.

      24            284. Plaintiff Wamar performed all its obligations under the Emirates Agreements by:
      25 (a) securing for Thales Avionics contracts valued at approximately $975M for the installation of
      26 IFE systems and technology services on Emirates aircraft; (b) establishing approval for Thales
      27 Avionics to operate The Dubai Centers; and (c) reaching written mutual agreement with Thales

      28 Avionics regarding terms of the SLA.
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       1            285. Defendant Thales S.A. intentionally manipulated the KIP re-qualification standard

       2 and process, and disingenuously refused to re-qualify Wamar as a KIP.

       3            286. On January 29, 2018, Roger Daix and Budin met with Wamar senior management

       4 and informed them that Thales would not approve Wamar as a KIP, would not sign the SLA, and

       5 as a consequence, Wamar would receive nothing for its efforts even though agreed-upon
       6 compensation was due.

       7            287. Wamar senior management objected to Thales S.A.'s bad faith. In response, in a

       8 letter dated March 9, 2018, Dominique Giannoni, CEO of Thales InFlyt Experience, fell back on

       9 the excuse that Wamar failed to re-qualify as a KIP and that the SLA had not been signed. Each

      10 of those events, however, was the result of bad faith manipulation of the process by Thales S.A.

      11            288. Mr. Giannoni's assertion that Wamar "does not meet the criteria to perform the --

      12 project as normally expected from an industrial partner" was made in bad faith because Thales

      13 S.A. knows that Wamar has been a KIP for Thales Group in previous years, that Wamar provided

      14 all of the documents requested, and that Wamar was fully qualified to operate The Dubai Centers.

      15        - 289. Furthermore, Defendant Thales S.A.'s denial of Wamar's KIP re-qualification was a

      16 blatantly bad faith act designed to pass the entire risk and cost of establishing The Dubai Centers
      17 to Wamar with the intent to deny the KIP re-qualification once everything was in place and Thales

      18 Avionics could step in and take over the operations without the cost of paying Wamar what it had

      19 earried, and what it would earn operating The Dubai Centers during the 26-year terni of the SLA.

      20            290. As a direct result of Defendant Thales S.A.'s interference and refusal to re-qualify

      21 I Wamar as a KIP, Thales Avionics refused to perform under the Emirates Agreements by refusing

      22 I to execute the SLA.

      23            291. As a direct result of Defendant Thales S.A.'s interference and refusal to re-qualify

      24 I Wamar as a KIP, Thales Avionics refused to pay Wamar what it was owed under the Emirates
      25 Agreements.

      26            292. As a direct result of Defendant Thales S.A.'s interference and refusal to re-qualify
      27 Wamar as a KIP, Thales Avionics refused to subcontract the new The Dubai Centers to Wamar:

      28            293. Defendant Thales S.A.'s conduct was a substantial factor in causing Wamar harm.

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       1 If Thales S.A. had not interfered and manipulated the KIP re-qualification process in bad faith,
       2 providing Thales Avionics with a convenient excuse to refuse to sign the SLA, Wamar would
       3 have executed the SLA, received payment for the $975M (150) B777X aircraft contract, and been
       4 selected as the subcontractor for The Dubai Centers.

       5          294. As a result of Defendant Thales S.A.'s intentional interference with Wamar's

       6 contractual relations, Plaintiff Wamar has been damaged in an amount of not less than:

       7          (a)    $70M with respect to securing the IFE systems contracts, and;

       8          (b)    $150M with respect to establishing The Dubai Centers contract, of which the exact

       9          amount will be proven at trial.

      10                                    EIGHTH CAIISE OFACTION

      11       =(Intentional Interference with Prospective Economic Relations against Thales S.A.

      12                                Regarding the Emirates Agreements)

      13    ----- 295. -- Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 294.-- -

      14          296. Plaintiff Wamar and Defendant Thales Avionics entered into the Emirates 2012

      15 MOU and the January 2013 LOI, both of which are binding agreements upon the parties.

      16 (Collectively the "Emirates Agreements"). _
 -    17         - 297. Pursuant to the Emirates Agreements, Pla'intiff Wamar and Defendant Thales
      18 Avionics agreed to enter into the SLA upon agreement of the terms thereof, consistent with the

      19 principles of the Emirates 2012 MOU.

      20          298. -- Defendant Thales S.A. was aware of the Emirates Agreements and the obligation of

      21 Thales Avionics to execute the SLA.

      22          299.   Defendant Thales S.A. was aware that the SLA included a provision that Wamar

      23 was required to be approved as a KIP.
      24          300.   Defendant Thales S.A. was aware that Thales Avionics could refuse to execute the

      25 SLA if Wamar was not re-qualified as a KIP.
      26          301.   Defendant Thales S.A. had already approved Wamar as a worldwide KIP in 2012
      27 for a three year term. Thales S.A. knew that Wamar was to be re-qualified as a KIP by 2015.
      28          302.   Defendant Thales establishes and controls the qualification criteria for KIP,

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           performs the evaluation, and is the sole and final arbiter of who gets to be KIP and who does not.
           Thus, it has complete power over the process.

                     303.   As late as January 9, 2018, Thales Group executives personally and falsely told
           Wamar senior management that Wamar was approved as a KIP and Wamar should continue

           I performing under the Emirates Agreements.

                     304.   Plaintiff Wamar performed all its obligations under the Emirates Agreements by:

           (a) securing for Thales Avionics contracts valued at approximately $975M plus for the installation

           of IFE systems and technology services on Emirates aircraft; (b) establishing approval for Thales

           Avionics to operate The Dubai Centers; and (c) reaching written mutual agreement with Thales

           Avionics regarding terms of the SLA. :

                     305.- Defendant Thales S.A. misrepresented to Wamar that Wamar would be re-qualified

           as a KIP, thus inducing Wamar to continue performing under the January 2013 LOI.

                     306.   Defendant Thales-S.-A. intentionally manipulated the KIP re-qualification standard

      14 and process, and disingenuously refused to re-qualify Wamar as a KIP.
      15             307.   On January 29, 2018, Roger Daix and Budin met with Wamar senior management

      16 and informed them that Thales would not approve Wamar as a KIP, would not sign the SLA, and

      17 as a consequence, Wamar would receive nothing for its efforts even though agreed-upon

      18 compensation was due.

      19             308.   Wamar seriior management objected to Thales S.A.'s bad faith. In response, in a

      20 letter dated March 9, 2018, Dominique Giannoni, CEO of Thales InFlyt Experience, fell back on

      21 the excuse that Wamar failed to re-qualify as a KIP and that the SLA had not been signed. Each

      22 of those events, however, was the result of bad faith manipulation of the process by Thales S.A.

      23             309.   Mr. Giannoni's assertion that Wamar "does not meet the criteria to perform the

      24 project as normally expected from an industrial partner" was made in bad faith because Thales
      25 S.A. knows that Wamar has been a world-wide KIP for Thales Group in previous years, that
      26 Wamar provided all of the documents requested, and that Wamar was fully qualified to operate
      27 The Dubai Centers.
      28             310.   Defendant Thales S.A. created the excuse for Thales Avionics to refuse to execute

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                           the SLA by controlling and manipulating the KIP re-qualification process, and arbitrarily refusing
                           to re-qualify Wamar.

      -               31            311.    As a direct result of Defendant Thales S.A.'s interference and refusal to re-qualify

                      4 Wamar as a KIP, Thales Avionics refused to perform under the Emirates Agreements by refusing

                      5 to execute the SLA.

                      6             312.    As a direct result of Defendant Thales S.A.'s interference and refusal to re-qualify

                      7 Wamar as a KIP, Thales Avionics refused to pay Wamar what it was owed under the Emirates

                      8 Agreements.

                                    313_ _ -- As a direct_result of Defendant Thales S.A.'-s interference and refusal to re-qualify__ _

                     10 Wamar as a KIP, Thales Avionics refused to subcontract the new The Dubai Centers to Wamar.

                -    11             314. Defendant Thales S.A.'s conduct was a substantial factor in causing Wamar harm.

                     12 If Thales S.A. had not interfered and manipulated the KIP qualification process in bad faith,

                     13 providing Thales Avionics with a convenient excuse to refuse to sign the SLA, Wamar would

 ---       --        14 have-executed the SLA, received payment for the $975M plus IFE systems contract on Emirates

                     15 aircraft, and been selected as the subcontractor for The Dubai Centers.

                     16             315. As a result of Defendant Thales S.A.'s intentional interference with Wamar's

--   --             - 17 prospective economic relations, Plaintiff Wamar has been damaged in an amount of not less than:

                     18             (a)     $70M with respect to securing the IFE systems installation contracts, and;

                     19             (b)     150M with respect to establishing The Dubai Centers contract, of which the exact

                     20             amount will be proven at trial.

                     21                                         NINTH CA IISE OFACTION

                     22             (Conspiracy to Commit Fraud against Thales S.A., Thales Avionics and Budin

                     23                                    Regarding the Emirates Agreements)

                     24             316. Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 315.

                     25             317. Plaintiff Wamar and Defendant Thales Avionics entered into the Emirates 2012

                     26 MOU and the January 2013 LOI, both of which are binding agreements upon the parties.
                     27 ,(Collectively the "Emirates Agreements").
                     28             318. Pursuant to the Emirates Agreements, Plaintiff Wamar and Defendant Thales
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       1 Avionics agreed to enter into the SLA upon agreement of the terms thereof, consistent with the
       2 principles of the Emirates 2012 MOU.
       3            319.   Pursuant to the January 2013 LOI, Wamar was required to re-qualify as a KIP.

       4 Thales establishes and controls the qualification criteria for KIP, performs the evaluation, and is

       5 the sole and final arbiter of who gets to be KIP and who does not. Thus, it has complete power

       6 over the process.

       7            320.   Defendants Thales Avionics and Thales S.A. had a duty to Wamar to act in good

       8 faith in establishing the KIP requirements and applying them to Wamar, particularly in the context
           of the January 2013 LOI, the work and expenses they required Wamar_to undertake, and the fact

           that Wamar had recently been qualified as a world-wide KIP.

                    321.   Defendant Thales Avionics and Thales S.A., however, conspired to manipulate the

      12 KIP re-qualification process. Together, they and Budin repeatedly advised Wamar that it would

      13 be re-qualified as a KIP, thus inducing Wamar to continue performing, to continue spending its

     - 14 own money and resources until it had secured The Dubai Centers with the intent that once Wamar
      15 had secured The Dubai Centers, Thales S.A. would deny Wamar its KIP status and keep The

      16 Dubai Centers opportunity for itself.

      17            -322. Defendants Thales Avionics, Thales S.A. and Budin knew, agreed, and worked in

      18 concert to drag out the re-qualification process, to give encouragement to Wamar that it would be

      19 qualified as a KIP, and to then deny KIP status with the intent to cheat Wamar out of operating

      20 The Dubai Centers.

      21        - 323. As a result of Defendants Thales S.A.'s, Thales Avionics' and Budin's conspiracy

      22 to act in bad faith defraud Wamar out of the opportunity to be the sole subcontractor of The Dubai

      23 Centers, Plaintiff Wamar has been damaged in an amount of not less than:
      24            (a)    $70M with respect to securing the IFE systems contracts, and;

      25            (b)    $150M with respect to establishing The Dubai Centers contract, of which the exact

      26            amount will be proven at trial.

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                                                       COMPLAINT
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       1                                        TENTH CAUSE OFACTION
       2             (Aiding and Abetting Intentional Misrepresentation against Thales S.A. and Budin

       3                                    Regarding the Emirates Agreements)

       4              324.    Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 323.

       5              325.    Plaintiff Wamar and Defendant Thales Avionics entered into the Emirates 2012

       6 I MOU and the January 2013 LOI, both of which are binding agreements upon the parties.

       7 I (Collectively the "Emirates Agreements").

       8               326.   Pursuant to the Emirates Agreements, Plaintiff Wamar and Defendant Thales

           I Avionics agreed to enter into the SLA upon agreement of the terms-thereof, consistent with the

           principles of the Emirates 2012 MOU.

                       327.   Defendant Thales Avionics was required to pay Wamar a KIP Royalty equal to

            6.4% of the value of the contracts Wamar secured for the installation of Thales IFE systems and

      13 technology services on Emirates aircraft. Thales Avionics and Thales S.A., however, cooperated

      14 in intentionally misleading Wamar by promising to pay the 6.4% KIP Royalty, but refusing to put

      15 the promise into a written document, intending to, and actually denying the obligation.

      16               328.   Defendant Thales S.A. knew that the representations were false when made, yet

      17 provided substantial assistance to Thales Avionics by showing Wamar senior management the

      18' calculations and assuring them that Wamar would be paid accordingly, thus inducing Wamar to

      19 continue performing at its own cost and to its detriment.

      20               329.   Furthermore, pursuant to the January 2013 LOI, Wamar was required to re-qualify

      21 as a KIP.-- Wamar's re-qualification as a KIP was a condition to the SLA. Thales establishes and

      22 controls the qualification criteria for KIP, performs the evaluation, and is the sole and final arbiter

      23 of who gets to be KIP and who does not. Thus, it has complete power over the process.

      24               330.   From and after the execution of the January 2013 LOI, Thales Avionics, Thales

      25    S.A., and Budin peddled false representations regarding Wamar's pending re-qualification as a

      26 KIP. Early in the process, Thales Avionics assured Wamar and Wamar senior management that

      27 Wamar would be re-qualified. Later in the process, Thales S.A. assured Wamar that KIP re-

      28 qualification was complete. Thales S.A. knew that Thales Avionics was engaged in false

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          1     representations. Even though Thales S.A. knew the representations were false, Thales S.A.

          2     provided substantial assistance to Thales Avionics by, among other things, dragging out the

          3     process to keep Wamar engaged and performing at its own cost, and by assuring Wamar that the

          4     decision was finalized and the KIP would be renewed.

          5              331. In addition, Defendant Thales Avionics made representations to Wamar that it

          6     would sign the SLA and subcontract operations of the Dubai IFE Repair and the Discovery

          7     Innovation Dubai Centers to Wamar. Thales S.A. and Budin knew those representations were

          8     false. Nevertheless, Thales S.A. and Budin provided substantial assistance to Thales Avionics by

          9     (a) dragging out the process to keep Wamar engaged and performing at its own cost, (b) assuring

         10 Wamar that the decision was finalized and the KIP would be renewed, and (c) refusing to certify

         11 Wamar as a KIP, giving Thales Avionics and excuse to refuse to sign the SLA and thereby refuse

         12 to subcontract operation of The Dubai Centers to Wamar.

         13              -332. As a result of Defendant Thales S.A.'s acts to aid and abet Thales Avionics' false

 -   -   14 I   representations to Wamar, Plaintiff Wamar has been damaged in an amount of not less than:

         15              (a)    $70M with respect to securing the IFE systems contracts, and;

         16              (b)    $150M with respect to establishing The Dubai Centers contract, of which the exact

         17              amount will be proven at trial.

         18     - -                              ELEVENTHCAZTSE OFACTION

         19         (Aiding and Abetting Breach of the Implied Covenant of Good Faith and Fair Dealing
         ►
         Z~7                         against Thales S.A. Regarding the Emirates Agreements)

         21              333.   Plaintiff Wamar iricorporates the allegations set forth in paragraphs 1 through 332.

         22              334.   Plaintiff Wamar and Defendant Thales Avionics entered into the Emirates 2012

         23 MOU and the January 2013 LOI, both of which are binding agreements upon the parties.
         24 (Collectively the "Emirates Agreements").
         25              335.    Pursuant to the Emirates Agreements, Plaintiff Wamar and Defendant Thales

         26 Avionics agreed to enter into the SLA upon agreement of the terms thereof, consistent with the
         27 principles of the Emirates 2012 MOU.
         28              336.   In California, the law implies in every contract a covenant of good faith and fair
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       1 dealing. That covenant requires that neither party do anything which will deprive the other of the
       2 benefits of the agreement and not to act in bad faith toward the other contracting party by

       3 misleading the other party or by concealing important information from the other party.
       4            337.   Pursuant to the January 2013 LOI, Wamar was required to re-qualify as a KIP.

       5 Thales establishes and controls the qualification criteria for KIP, performs the evaluation, and is

       6 the sole and fmal arbiter of who gets to be KIP and who does not. Thus, it has complete power

       7 over the process.

       8            338.   Defendant Thales Avionics had a duty to Wamar to act in good faith in establishing

       9 the KIP requirements and applying them to Wamar, particularly in the context of the January 2013
           LOI, the work and expenses they required Wamar to undertake, and the fact that Wamar had

           already been qualified as a world-wide KIP previously.                  -

                    339.   Defendants Thales S.A. and Budin knew Thales Avionics had a duty to act in good

      13 faith, but elected to assist Thales Avionics in violating its covenant. Together, they repeatedly

      14 advised Wamar-that it would be re-qualified as a KIP, thus inducing Wamar to continue -             -

      15 performing, to continue spending its own money and resources until it had secured The Dubai

      16 Centers with the intent that once Wamar had secured The Dubai Centers, Thales S.A. would deny

      17 Wamar its KIP status and keep The Dubai Centers opportunity for itself.

      18            340.   Defendants Thales Avionics, Thales S.A. and Budin knew, agreed, and worked in

      19 concert to drag out the re-qualification process, to give encouragement to Warnar that it would be

      20 re-qualified as a KIP, and to then deny KIP status with the intent to cheat Wamar out of operating

      21 The Dubai Centers.                                                              -

      22            341.   In addition, Thales Avionics was required to pay Wamar a KIP Royalty equal to

      23 6.4% of the value of the contracts Wamar senior management and Wamar secured for the
      24 installation of Thales IFE systems and technology services on Emirates aircraft. Thales Avionics
      25 and Thales S.A., however, cooperated in intentionally misleading Wamar by promising to pay the
      26 6.4%, but refusing to put the promise into a written document, intending to, and actually denying
      27 the obligation.
      28            342.   Defendant Thales S.A. knew that the representations were false when made, yet

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               1 provided substantial assistance to Thales Avionics by showing Wamar senior management the
               2 calculations and falsely assuring that Wamar would be paid accordingly, thus inducing Wamar to
               3 continue performing at its own cost and to its detriment.

               4                343. As a result of Defendant Thales S.A.'s and Budin's aiding and abetting Thales

               5 Avionics' violation of its covenant to act in good faith, Plaintiff Wamar has been damaged in an

               6 amount of not less than:

               7               -(a) -$70M with respect to securing the IFE systems contracts, and;

               8                (b)     $150M with respect to establishing The Dubai Centers contract, the exact amount

               9                of which will be proven at trial.

                                                            TWELFTH CA USE OF ACTION
-         -   10 I
              11                                                    (Quantum Meruit)

                                344. Plaintiff Wamar incorporates the allegations set forth- in paragraphs 1 through 343.

                                345.- Before Thales hired Wamar to assist it in securing IFE system business in the
                     Middle East,-Thales was floundering. Thales had a zero percent (0%) market share of the Middle
                      East IFE system business and nothing to show for its efforts but failure. Today, as a result of

              16 Wamar's efforts, Thales has a sixty percent (60%) Middle East market share.
                        ---::__ 346.- __ -As   `discussed above, Wamar and Thales entered into a series of consultancy

              18 agreements pursuant to which Thales agreed to pay Wamar if Wamar's efforts resulted in Thales

              19 obtaining IFE system contracts with Middle East airlines. Wamar's efforts have resulted in Thales

              "I booking over $700M confirmed contracts with options for another $1.13B for A3 80 (40+ AC),
    -         21 B777X (100) and B787 (40) at Emirates alone, plus connectivity and service that are worth over

              22 $100M. Plus, Kuwait Airlines ($16.5M) and Turkish Airlines ($61M).

              23                347.    In addition, Wamar established The Dubai Centers worth at least $150M to Wamar,

              24 and substantially more to Thales. The value of The Dubai Centers was so great that Thales
              25 fraudulently stole that opportunity from Wamar to keep it for itself.
              26                348.    Waniar has contracts establishing its right to payment. To the extent, however, that

              27 the Court believes there is any doubt about the validity of any of the contracts, Wamar has shown
              28 that its services were rendered under an understanding and expectation by both parties that
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                1 compensation for Wamar's efforts was to be made - at least that was the case until Thales decided
                2 it would simply rather not pay anything for the sixty percent (60%) Middle East IFE business

                3 market share Wamar helped it secure.
                4                349.   At all times, Wamar was acting in accordance with instructions from Thales.

                5 Thales instructed Wamar to perform the services, was kept informed of Wamar's activities and

                6 enjoyed the benefit of Wamar's services as its Middle East IFE system market share rose from

                7 zero percent to sixty percent. The services Wamar provided were intended solely to benefit

                8 Thales, and in fact have greatly benefitted Thales. Wamar provided valuable services and Thales

                9 retained their benefit with full appreciation of the facts. Under these circumstances, it would be

               10 inequitable for Thales to retain the benefit without payment to Wamar of its reasonable value.

--             11                350.   Wamar senior management has seven (7) years' of text messages and "What's App"

               12I messages documenting the instructions from Thales and acknowledgements of the value of the

     -         13 services performed by Wamar. - Wamar has documentary proof of the agreed=upon value of its
                    I

                                                                                                         ..
               14 services, including a 6.4% KIP Royalty.

               15                351.- Accordingly, at a minimum, Wamar is entitled to recover the reasonable value of

               16 the services rendered in an amount of not less than:

               17                (a)    $5.75M for Wamar's non-recurring fee regarding the January 2013 LOI with

               18                Emirates;

               19                (b)    $15M for Wamar's out-of-pocket costs to obtain the Emirates contracts;

               20                (c)    $70M with respect to securing the IFE systems contracts, and

               21                (d)    $150M with respect to establishing The Dubai Centers contract, the exact amount

               22                of which will be proven at trial.

               23                                       THIRTEENTH CA USE OFACTION

               24                                          (RICO Against All Defendants)

               25                352.   Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 351.

               26                353.   The Racketeer Influenced and Corrupt Organizations Act (18 U.S.C. §1961 et seq.)

               27 ("RICO") declares it unlawful to use or invest income from "a pattern of racketeering activity"
               28 and the establishment, operation or acquisition of an interest in any enterprise engaged in or
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                                                                     COMPLAINT
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       1 I I affecting interstate or foreign commerce, "through a pattern of racketeering activity. ..." The

       2 racketeering activity engaged in by defendants, and each of them, includes, but is not limited to

       3   mail and wire fraud, extortion, and money laundering.

       4            A.     Wire and Mail Fraud 18 U.S.C. §§ 1341 & 1343
       5            354.   Defendants, and each of them, through the use of mail and wire services, including

       6 the United States mail, and through electronic wire transmissions (telephone) and electronic mail

       7 (e-mail) used false and misleading statements to fraudulently induce Wamar to pursue contracts on

       8   behalf of the defendants, causing significant financial damage to Wamar because the defendants

       9 did not intend to pay, and in fact have not paid, the amounts earned under the contracts.

      10            355. - The defendants engaged in further wire fraud and mail fraud in connection with
           false and fraudulent promises made regarding qualifying Wamar as a KIP.                         -:

                    356. : On May 15, 2017, Phillippe Desclaudure falsely advised Harald Zirngibl by phone

           that "the decision was finalized to continue with Wamar and that the KIP will soon be renewed."

                    35-7. -. --On August 8,--2017, Shagha Thuruthiyil of Thales Group e-mailed Wamar to advise

           that "in order to complete and finalize the KIP process, we need the below mentioned docs..."

           Wamar provided all six of the requested documents, but KIP approval was denied.

                    358. -Thales continued its fraudulent scheme to drag out the KIP process while Wamar

      18 expended its money preparing The Dubai Centers before denying the KIP and stealing the

      19 opportunity to itself. On September 13, 2017, George Ermenidis e-mailed Wamar stating that

      20 I I "We've assessed the documents you've sent us and consider that the qualification of Wamar

      21 International LLC is in a good way for our final approval." However, notwithstanding the prior
      22 communication from Thales identifying the 6 specific documents needed to finalize the KIP

      23 process, Mr. Ermenidis demanded eight (8) additional documents.
      24            359. Wamar provided all of the requested documents (except the audited financials, for

      25 which Thales accepted non-audited fmancials).
      26            360. On October 25, 2017, Harald Zirngibl sent a"Non Objection Confirmation" letter

      27 to George Ermenidis to confirm Thales support for the Dubai Branch. George Ermenidis
      28 confirmed the receipt of this email on the same day. However, George Ermenidis did not update
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       1 Wamar on the progress of approval as noted in emails sent by Wamar to George Ermenidis on
       2 November 2, 2017, and November 6, 2017. Jean-Pierre Pourre sent an email to Wamar on
       3 November 7, 2017, to inform Wamar George Ermenidis had been out of town and that there are
       4 been an issue with the "Non Objection Confirmation" letter.

       5            361.   On November 9, 2017, Jean-Pierre Pourre sent an email to Wamar providing

       6 Wamar with the latest version of the Service Level Agreement resulting from the intensive

       7 discussions and negotiations held between Wamar and Thales Avionics, and requested that Wamar

       8 provide a Best and Final Proposal detailing the pricing and associated terms and conditions under

       9 which Wamar would agree to deliver the proposed services to Thales.

                    362.   On November 20, 2017, Jean-Pierre Pourre an email detailing that the meeting

           regarding the KIP and the SLA "actions" about key subjects. In that email, Jean-Pierre Pourre

      12 stated that the number one priority of Thales was to complete "Wamar KIP Qualification".

 =    13 Furthermore, Jean-Pierre Pourre stated that regarding the letter to complete the UAE Branch

      14 I creation, "the action is now on my side".

      15            363.   On November 21, 2017, Jean-Pierre Pourre sent an email to Wamar that Jean-Pierre

      16 I Pourre would again "take care of the letter", and informing Wamar that the letter must be provided

      17 I by Thales Inflyt, not Thales Middle East.

      18            364.   On November 29, 2017, Jean-Pierre Pourre sent an email to Wamar stating that the

      19 "Letter is progressing", and I hope to get it to you by end of this week or latest early next week.

      20            365.   On February 6, 2018 Wamar emailed Thales Inflyt Head of Operations Philippe

      21 Desclaudure to confirm that Thales Management had decided to operate the Dubai IFE Repair

      22 Center themselves, and refused to reward it to Wamar as promised previously. Philippe

      23 Desclaudure acknowledged that this was "disappointing", in a response email, and also stated that
      24 it "should not overshadow the very good relationship and trust between us."
      25            366.   By March 2018, Wamar had obtained all necessary permits for The Dubai Centers,
      26 hired staff, secured a lease for The Dubai Centers premises and worked with Thales to design the
      27 space. The project was ready to go. Accordingly, on March 9, 2018, Thales completed its
      28 fraudulent scheme. Dominique Giannoni, Thales InFlyt Experience's CEO, e-mailed and mailed a
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         1 I letter to Wamar asserting that "WAMAR does not meet the criteria to perform the project as

         2 normally expected from an industrial partner in charge of such a project. This is the reason why

         3 we made the strategic decision not to continue with WAMAR for the said project and to have it

         4 achieved by Thales (sic) own means."

         5            367.   Thus, Thales used wire and mail (in addition to phone and in-person meetings) to

         6 string Wamar along, telling Wamar KIP approval was forthcoming, while in fact Thales was

         7 fraudulently inducing Wamar to establish The Dubai Centers at Wamar's own cost until The Dubai

         8 Centers were ready and Thales could execute its plan and steal a$150M opportunity from Wamar.

         9            B.     Money Laundering 18 U.S.C. § 1956

        10               In addition, as described above in paragraphs 121, 122, 136-139 and 162, the
                      368.
                                    --                          -...                     _.
        11 defendants engaged in racketeering activity by forcing Wamar into a money-laundering scheme in

        12 violation of 19 U.S.C. § 1956, pursuant to which the defendants required Wamar to engage in a

  _-    131 spare-parts distributorship scheme so that the defendants could conceal or disguise the nature and

       - 14 I source of payment obligations arising from contracts between Thales and Wamar, with the intent

        15 I of hiding such transactions and money transfers from U.S. and French investigators. Thales was

        16 aware that using companies owned by Wamar senior management as both a business advisor and

        17 KIP violated French and potentially U.S. laws. The money paid to Wamar and contracted to be

        18 paid to Wamar under the distributorship arrangements was intentionally diverted from money

        19 earned by Wamar senior management acting as TABA and Wamar. Thales knew that its

        20 arrangements with Wamar senior management violated French and potentially U.S. laws, and

        21 therefore coerced Wamar senior management into the spare-parts distributorship agreement for the

        22 express purpose of hiding its unlawful arrangements.

        23            369. These violations together with defendants' other conduct and acts, both intrastate

        24 and interstate, constitute a continuing pattern of racketeering activity under the meaning of 18

        25 U.S.C. § 1961. Moreover, Wamar has no reason to believe that the defendants have or will cease

        26 in this pattern of alleged activity as herein described.

        27            370. The conduct of the defendants, and each of them, affected interstate commerce by

        28 using wires, mails or other instruments and interstate methods of communications so to aid, abet

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          1 I and assist in this fraudulent conduct and so to commit fraud and to deceive Wamar.
          2              371.   Pursuant to RICO, Wamar is entitled to threefold damages for each offense so

          3 established, and for attorneys' fees and costs as allowed under 18 U.S.C. 1964(c). The conduct of
          4 the defendants, and each of them, has proximately damaged Wamar in an amount that is currently
          5 unknown but believed to exceed $240M, according to proof at time of trial.

          6                                   FOURTEENTH CAUSE OFACTION

          7             (Declaratory Relief against Thales Avionics Regarding the Emirates Agreements)

          8              372.   Plaintiff Wamar incorporates the allegations set forth in paragraphs 1 through 371.

          9'             373.   Plaintiff Wamar has secured over $2B in valuable contracts for Thales Avionics,

        10 yet Thales Avionics refuses to pay Wamar the fees it has earned.

        11               374.   Plaintiff Wamar is entitled to a 6.4% KIP Royalty of the value of contracts Wamar

        12 secure for Thales Avionics for installation of IFE systems arid technology services on Einirates

        13 I aircraft.
-_      14               375: -- Wamar senior management has been assured by Emirates that Thales Avionics (a)

        15 will be selected for the (56) A380 projects described in the Emirates Agreement with a contract

        16 value of approximately $400M plus and (b) will be selected for installation of IFE systems and

        17 technology services on (150) B777X aircraft with a contract value of approximately $975M plus.

        18 Wamar's KIP Royalty fee is approximately $25.6M for the A380 project and $70M plus for the

        19 B777X project, in addition to $3M in consulting fees for each of the preceding contracts ($6M

        20 total). The $70M plus for the B777X project is also included in causes of action one to eleven, so

         21 I this Cause of Action Fourteen seeks only any amount of the $70M plus which is not awarded

         22 under other causes of action.

         23              376.   Further, with the encouragement of Roger Daix in particular, and Thales S.A. and

     - 24 Thales Avionics in general, Wamar continues to work to secure the contract for Thales Avionics to
         25 install IFE systems on (40) B787 aircraft. The total expected value of the (40) B787 contract is
         26 $200M. If the contract is secured, Wamar's 6.4% KIP Royalty fee will be approximately $12.8M,
         27 in addition to $3M in consulting fees per contract
         28              377.   Thales Group companies have an established history of breaching their agreements
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          1 with Plaintiff Wamar and refusing to pay Wamar the fees it has earned. Without relief from the
          2 Court, the Thales Group is likely to continue that behavior. Wamar is entitled to declaratory

          3 judgmerit, that upon delivery of contracts for the B777X aircraft, the A380 aircraft and/or the
          4 B787 aircraft, Thales Avionics is required to pay Wamar its KIP Royalty fee in the amount of

          5 6.4% of the total contract value, or approximately $117.4M (less any amount of the $70M plus

          6 which is awarded under other causes of action).

          7                                                 V. PRAYER

          8              WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them, for

          9 $240.75M in actual damages, subject to proof at the time of trial, $720M in exemplary damages,
         10 and $720M in RICO damages as follows:

         11              1.    $5.75M, subject to proof at the time of trial for Wamar's non-recurring fee

         12                    regarding the January 2013 LOI with Emirates, under the following causes of

         13                    action:

     -   14 I                  a.        First Cause of Action - Breach of Contract by Thales Avionics

         15                     b.       Second Cause of Action - Intentional Misrepresentation by Thales Avionics

         16                     C.       Third Cause of Action - Negligent Misrepresentation by Thales Avionics

         17                     d.       Fourth Cause of Action - Intentional Misrepresentation by Thales S.A.

         18                     e.       Fifth Cause of Action - Breach of Implied Covenant of Good Faith and Fair

         19                              Dealing by Thales Avionics

         20                     £        Sixth Cause of Action - Restitution; Unjust Enrichment by Thales Avionics

         21                     g.       Seventh Cause of Action - Intentional Interference with Contractual

         22                              Relations by Thales S.A.

         23                     h.       Eighth Cause of Action - Intentional Interference with Prospective

         24                              Economic Relations by Thales S.A.

         25                     i.       Ninth Cause of Action - Conspiracy by Thales S.A. and Thales Avionics

         26                     j.       Tenth Cause of Action — Aiding and Abetting Intentional Misrepresentation

         27                              by Thales S.A.

         28                     k.       Eleventh Cause of Action — Aiding and Abetting Breach of the Implied

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      1                                Covenant of Good Faith and Fair Dealing by Thales S.A.

      2                      1.        Twelfth Cause of Action — Quantum Meruit.

      3             2        $70M, subject to proof at the time of trial, for Wamar successfully securing the

      4                      $975M IFE systems contract with Emirates, under the following causes of action:

       5                     a.        First Cause of Action - Breach of Contract by Thales Avionics

      6                      b.        Second Cause of Action - Intentional Misrepresentation by Thales Avionics

       7                     C.        Third Cause of Action - Negligent Misrepresentation by Thales Avionics

       8                     d.        Fourth Cause of Action - Intentional Misrepresentation by Thales S.A.

       9                     e.        Fifth Cause of Action - Breach of Implied Covenant of Good Faith and Fair

      10                               Dealing by Thales Avionics

    = 11                     f.     = Sixth Cause of Action - Restitution; Unjust Enrichment by Thales Avionics

      12            -        g.-       Seventh Cause of Action - Intentional Interference with Contractual

      13                               Relations by Thales S.A.
      14                 -   h. -      Eighth Cause of Action - Intentional Interference with Prospective

      15                               Economic Relations by Thales S.A.

      16                     i.        Ninth Cause of Action - Conspiracy by Thales S.A. and Thales Avionics

      17                     j.        Tenth Cause of Action — Aiding and Abetting Intentional Misrepresentation

      18                               by Thales S.A.

      19                     k.        Eleventh Cause of Action — Aiding and Abetting Breach of the Implied

      20                               Covenant of Good Faith and Fair Dealing by Thales S.A.

      21                     1.        Twelfth Cause of Action — Quantum Meruit.

      22            3.       $15M, subject to proof at the time of trial, for Wamar's out-of-pocket costs to

      23                     obtain the Emirates contracts, under the following causes of action:

      24                     a.        First Cause of Action - Breach of Contract by Thales Avionics

      25                     b.        Second Cause of Action - Intentional Misrepresentation by Thales Avionics

      26                     C.        Third Cause of Action - Negligent Misrepresentation by Thales Avionics

      27                     d.        Fourth Cause of Action - Intentional Misrepresentation by Thales S.A.

      28                     e.        Fifth Cause of Action - Breach of Implied Covenant of Good Faith and Fair

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       1                          Dealing by Thales Avionics

       2                   f.     Sixth Cause of Action - Restitution; Unjust Enrichment by Thales Avionics

       3                   g.     Seventh Cause of Action - Intentional Interference with Contractual

       4                          Relations by Thales S.A.

       5                   h.     Eighth Cause of Action - Intentional Interference with Prospective

       6                          Economic Relations by Thales S.A.

       7                   i.     Ninth Cause of Action - Conspiracy by Thales S.A. and Thales Avionics

       8                   j.     Tenth Cause of Action — Aiding and Abetting Intentional Misrepresentation

       9                          by Thales S.A.

      10                   k.     Eleventh Cause of Action — Aiding and Abetting Breach of the Implied

      11                          Covenant of Good Faith and Fair Dealing by Thales S.A.

      12                   1.     Twelfth Cause of Action — Quantum Meruit.

      13            _ 4.   $150M,-subject to proof at the time of trial, for Wamar establishing and operating

      14                   the new The Dubai Centers during the 26-year term of the SLA, under the

      15                   following causes of action:

      16                   a.     First Cause of Action - Breach of Contract by Thales Avionics

      17                   b.     Second Cause of Action - Intentional Misrepresentation by Thales Avionics

      18                   C.     Third Cause of Action - Negligent Misrepresentation by Thales Avioliics

      19                   d.     Fourth Cause of Action - Intentional Misrepresentation by Thales S.A.

      20                   e.     Fifth Cause of Action - Breach of Implied Covenant of Good Faith and Fair

      21                          Dealing by Thales Avionics

      22                   f.     Sixth Cause of Action - Restitution; Unjust Enrichment by Thales Avionics

      23                   g.     Seventh Cause of Action - Intentional Interference with Contractual

      24                          Relations by Thales S.A.

      25                   h.     Eighth Cause of Action - Intentional Interference with Prospective

      26                          Economic Relations by Thales S.A.

      27                   i.     Ninth Cause of Action - Conspiracy by Thales S.A. and Thales Avionics

      28                   j.     Tenth Cause of Action — Aiding and Abetting Intentional Misrepresentation

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       1                              by Thales S.A.
       2                       k.     Eleventh Cause of Action — Aiding and Abetting Breach of the Implied

       3                              Covenant of Good Faith and Fair Dealing by Thales S.A.
       4                      1.      Twelfth Cause of Action — Quantum Meruit.

       5                5.     $720M minimum punitive damages, under causes of action:

       6                       a.     Second Cause of Action - Intentional Misrepresentation by Thales Avionics

       7                       b.     Third Cause of Action - Negligent Misrepresentation by Thales Avionics

       8                       C.     Fourth Cause of Action - Intentional Misrepresentation by Thales S.A.

       9                       d.     Seventh Cause of Action - Intentional Interference with Contractual

      10                              Relations by Thales S.A.             _

      11            -          e.     Eighth Cause of Action - Intentional Interference with Prospective

      12                              Economic Relations by Thales S.A.

      13                       f.     Ninth Cause of Action - Conspiracy by Thales S.A. and Thales Avionics

      14                       g.     Tenth Cause of Action — Aiding and Abetting Intentional Misrepresentation

      15                              by Thales S.A.

      16                       h.     Eleventh Cause of Action — Aiding and Abetting Breach of the Implied

      17                              Covenant of Good Faith and Fair Dealing by Thales S.A.

      18                6.     $720M minimum damages under cause of action Thirteen for RICO violations.

      19                7.    As set forth above, at a minimum, Wamar is owed $240M in actual damages.

      20                8.     As set forth above, at a minimum, Wamar is owed $720M in punitive and

      21                       exemplary damages.

      22                9.     As set forth above, at a minimum Wamar is owed $720 in RICO damages.

      23                10.    Accordingly, at a minimum Defendant owes Wamar $1.680B.

      24                11. _ On the Fourteenth Cause of Action for Declaratory Judgment that

      25                       a.     Wamar is entitled to its 6.4% KIP Royalty fee upon delivery of the
      26                              contracts described in the Fourteenth Cause of Action in the approximate
      27                              amount of $108M (less any portion of the $70M plus awarded under other
      28                              causes of action), and
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     1                    b.      Wamar is entitled to its consulting fees upon the award of the contracts
     2                            described in the Fourteenth Cause of Action in the approximate amount of

     3                            $9M.
     4             12.    For interest as provided by law and/or in an amount according to proof at trial.

     5             13.    For other foreseeable damages in an amount according to proof at trial.

     6             14.    For costs of suit incurred herein.

     7             15.    For such other and further relief as the Court may deem just and proper.

     8                                      REQUEST FOR JURY TRIAL

     9             Plaintiff Wamar demands a trial by jury on all issues so triable.

   10

   11 DATED: November 8, 2018                         THOMAS WHITELAW & KOLEGRAFF LLP =

   12

   13
                                                      By:              /s/Joseph E. Thomas
   - 14                                                        JOSEPH E. THOMAS
                   -                                           WILLIAM J. KOLEGRAFF
   15                                                          WILLIAM S. SANDERSON
                                                               Attorneys for Plaintiff WAMAR
   16
                                                               INTERNATIONAL, LLC
   17

   18

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                                  #:101




                             EXHIBIT I
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                                                          #:102




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                                  59 Disrnvery
                                  ln+me. Calimta 92618-3105
                                  U5f.
                                  Tef, +1 949-790-25o0
                                  wwvr thtihhsgroup 4mm

                                  Wamar intemationai LLC                                                                           January 14. 2013
                                  Attrt: HabU Barakat, President & CEO
                                  1919 Witliams St Sulte 310
                                  Sfmi Vatlay, CA 93485. USA

                                 5uhject; t,et;er of Intent Regardlnq Seiscfion of V'lamar tnternatios+fl LLC
                                 Dear Mr. Barakat,
                    j              FollowinA tha Memoraradum of Understanding dated December 21. 2012 ("MoU`) between Thaies AvEonics,
                   ~          ---- Inc. (•Thaiesl and Wamar .lntemational LLC ("JVamar"), Thales wouid tike to thank you for Wlamaes
                                   quotation referen4e WAM/TAI/MOUl001/13 dated January 13, 2013 in support of the project (as daflned
                                 hereinafter),
                                 Although this Warnars quotation remains to be discussed between the parties. Thales is pleased to confirm
                                 that.itintends .to select Wamar as a subconVador for the Project, subject to tlte foiiowing eandiHons:
            ~                         +    Emirates Airiine Company PJSC ('Custorner") se{eats Thates as the sole fiuppiier of ail irtifiight
__ __ --• ---- -i-- -- --. -            --entertairunent-products, support setvtces, and connechvity for the Customer's fleei of fifty (50) f3rm
        — 1 --          --         -- - B777 aircraft and thiity-bvo (32) firm A380 aircrmft pursuant to the Customes's request for propasai
                                           dated June 14, 2012 (Ref: EK-A38011!17774FE-2012 016) and Thaies's proposa{ datasd August 7,
  -   --                           == 2912 (Ref- D12-00060) and its subsequent revisions In rosponse ther$to, (collectively, "ProjecY):
               ~                          and
               (                      ~   Thales and Wanrar raach mutual written agreement on the subcontracUng terms and conditionn,
               t                          including but not iimited to scope, pricing and aitocation of risks and respcuTsibilfties in accardance
                                          with the principtes set out in fhe MoU.
                                 In case the Customer seiec.Y Thales for one (1) fleet oniy (B777 or A380) a nevr quotation vrip be agreed
               i                 between Theks an.d Wamar in accordance witfi the principie of fhe MoU but on the bas9s of a revised and
               t                 down sized Statemetrt of Work.
           j                     This ietter of intent shan automatically expire upon the signature of Ute subcontract between Thales and
           !                     Wamar or ninaty (80) days after the date on whtch the Customer'awards fhe Project to Thales or upon
                                 notdication from the Customer ihat Thaaes is nat se{ected for the Pro}ect, whichever occurs eariier.
                                 In a spirrt of goodwip and coopel'aaon, Thaies looka forward to working with Wamar to tneet and exceed the
                                 Customers expectafions for the Pro}ect We kindly iequest that you sign and date this letter as indicated
                                 below,
           1                     ~        Y•                                                     Acknowtedged and Agreed,
                                  '


           '                              HU6             Ct-bt,ND                                        - Nabil'          T
                                Vfce presfdent Global Safes & Marketing                                     Presfdent & CEO
                                GM intemahionat, inter-iationat OperaBons                                   Wamar intemationai LlwC
                                Thaies in-ftight Entettaimm-ent & Connectivity                              Dated:


           t                                               ~                                          ~
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        Case 8:18-cv-02217-DOC-KES Document 1-1 Filed 12/13/18 Page 98 of 100 Page ID
                                          #:103




                                                   THALES
                to-Fltghl Entertainment and connQativity
                Thatas Avionics, Inc.
                5e aLscovery
                Irvine. Ca6rornia 9261 8-3 10 5
                U8A
                l'e!: +1 849-790-250d
                www.thalesgroup.com



                                                            POfNER OF ATTORNEY


                To Whom It May Concern:


                         l, Alan Petlegrini, President, Thales Avlonics, Inc., do hereby duly appoint the following named
                person,"WAltam Huot-Marchand, VP & General Manager, lnternational Operations, to act as my attorney .
                in fact to execute the following document between Wamar internattonal LLC., and Thales Avionics, Inc.: _
                         •    Letter of_~it,e~n_t r_e9 ar,ding selection oP Wamar Intemabional L.L.C. as a
    ;                         subcontractorfor consulUnd services and strategy support to include the Dubai ~
    i                         Discovery Centre as part of Thales Avionics, inc:s In-Flight Entertainment and
    ,                         Connectivity proposal to Emlrates
                         Giving and granting to said attorney full power and authority to do alt and every act and thing

                whatsdever requisite and necessary to be done relative to the above as fully to all intents and purpases

                as 1 might or could do if personaliy present.

                        Alt that said attomey shall lawfully do or cause to be done under the authority of this power of
                attorney is expressly approved.



                Dated: January 14, 2013                Slgned:
                                                                           a Pe!legrtnt
                                                                         President




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          Case 8:18-cv-02217-DOC-KES Document 1-1 Filed 12/13/18 Page 99 of 100 Page ID
                                            #:104
                                    SUPERIOR COURT OF CALIFORNIA
                                                                 COUNTY OF ORANGE




    Superior Court of California, County of Orange

    751 W. Santa Ana Blvd
    Santa Ana, CA 92701


                                                                                                           E-Filing Transaction #: 4906326
                                                                      PAYMENT RECEIPT
                                                                                                                           Receipt #: 12276095
  Clerk ID: gramirez                 Transaction No: 12452403               Transaction Date: 11/14/2018        Transaction Time: 11:42:17 AM

                                                                                            Fee              Balance            Amount             Remaining
 Case Number                      Fee Type                                        Qty                                            Paid               Balance
                                                                                          Amount$             Due

30-2018-01031861-CU-BC-CXC        194 - Complaint or other 1st paper               1           $435.00          $435.00            $435.00                 $0.00

30-2018-01031861-CU-BC-CXC        34 - Complex Case Fee - Plaintiff                1         $1,000.00         $1,000.00         $1,000.00                 $0.00


                                                                                                             Sales Tax:              $0.00
                                                                                                                                           Total
                                                                                                                 Total:          $1,435.00 Rem.            $0.00
                                                                                                                                            Bal:
 E-Filing : - OneLegal




                                                                                                               E-Filing:         $1,435.00



                                                                                                 Total Amount Tendered:          $1,435.00


                                                                                                           Change Due:               $0.00




                                                                                                               Balance:              $0.00




                         A $45 fee may be charged for each returned check, electronic funds transfer or credit card payment.

                                                                         ORIGINAL




                                                                                                                                                 Page: 1
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                                               #:105
                                         SUPERIOR COURT OF CALIFORNIA
                                                                ORANGE
                                                        751 W. Santa Ana Blvd
                                                         Santa Ana , CA 92701
                                                             (657) 622-5300
                                                           www.occourts.org


                                             NOTICE OF CASE ASSIGNMENT

                                             Case Number: 30-2018-01031861-CU-BC-CXC
      Your case has been assigned for all purposes to the judicial officer indicated below. A copy of this information must be
provided with the complaint or petition, and with any cross-complaint that names a new party to the underlying action.

         ASSIGNED JUDGE                              COURT LOCATION                  DEPARTMENT/ROOM                 PHONE
Hon.
        Glenda Sanders                               Civil Complex Center                   CX101                (657) 622-5300

Hearing:                                     Date:                                      Time:

                JUDGE                                COURT LOCATION                  DEPARTMENT/ROOM                 PHONE
Hon.


[   X   ] ADR Information attached.

                                               SCHEDULING INFORMATION
 Judicial Scheduling Calendar Information
        Individual courtroom information and the items listed below may be found at: www.occourts.org.

        Case Information, Court Local Rules, filing fees, forms, Civil Department Calendar Scheduling Chart,
        Department phone numbers, Complex Civil E-filing, and Road Map to Civil Filings and Hearings.

 Ex Parte Matters
        Rules for Ex Parte Applications can be found in the California Rules of Court, rules 3.1200 through 3.1207 at:
        www.courtinfo.ca.gov. Trials that are in progress have priority; therefore, you may be required to wait for your ex
        parte hearing.


 Noticed Motions
    * The following local Orange County Superior Court rules are listed for your convenience:
       - Rule 307 - Telephonic Appearance Litigants - Call CourtCall, LLC at (310) 914-7884 or (888) 88-COURT.
       - Rule 380 - Fax Filing, Rule 450 - Trial Pre-Conference (Unlimited Civil)
    * All Complex Litigation cases are subject to mandatory Electronic Filing, unless excused by the Court.
    * Request to Enter Default and Judgment are strongly encouraged to be filed as a single packet.
 Other Information
    Hearing dates and times can be found on the Civil Department Calendar Scheduling Chart.

        All fees and papers must be filed in the Clerk's Office of the Court Location address listed above.



    Date: 11/14/2018
                                                                            Georgina Ramirez                      , Deputy Clerk
                                                  NOTICE OF CASE ASSIGNMENT
 V3 INIT 100 (June 2004)
